Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 1 of 125

                                                                          1


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                            CASE NO. 17-14047-CR-MIDDLEBROOKS


          UNITED STATES OF AMERICA,

                          Plaintiff,                     DECEMBER 7, 2017
                  vs.
                                                  WEST PALM BEACH, FLORIDA
          SCOTT JOSEPH TRADER,

                        Defendant.                           PAGES 1 - 125
          ____________________________________/




                          TRANSCRIPT OF SENTENCING HEARING
                     BEFORE THE HONORABLE DONALD M. MIDDLEBROOKS
                             UNITED STATES DISTRICT JUDGE




          APPEARANCES:

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Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 2 of 125




                                        I-N-D-E-X

             WITNESSES                                              PAGE

          SPECIAL AGENT BRIAN RAY

                Direct Examination by My Gyires                      9

                Cross-Examination by Mr. Peacock                     41

          DR. MICHAEL BRANNON

                Direct Examination by MR. PEACOCK                    45

                Cross-Examination by Mr. Gyires                      53

                Redirect Examination by Mr. Peacock                  62

          KATRINA VARNER

                Direct Examination by Mr. Gyires                     63



          LEEANN DREW                                                68

          SHELLY TRADER                                              72




                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 3 of 125

                                                                          3


      1                           P-R-O-C-E-E-D-I-N-G-S

      2              THE COURT:    Good morning; please be seated.

      3              This is sentencing in the case of the United States

      4   versus Scott Joseph Trader, case number is 17-14047.

      5              Can we have appearances?

      6              MR. GYIRES:    Good morning, Your Honor; Marton Gyires

      7   for the United States.      Alongside me is the case agent, HSI

      8   Special Agent Brian Ray.

      9              THE COURT:    Good morning.

     10              MR. PEACOCK:     Good morning, Your Honor; Fletcher

     11   Peacock on behalf of Mr. Trader who is also present before the

     12   Court.

     13              THE COURT:    Good morning, Mr. Peacock.

     14              Okay.    First is the report recommendation on the

     15   change of plea.

     16              Any issue as to that, Mr. Peacock?

     17              MR. PEACOCK:     There is not, sir.

     18              THE COURT:    Okay.   I will adopt the report and

     19   adjudge Mr. Trader guilty of the crimes charged.

     20              I have also reviewed the presentence investigation

     21   report; the joint corrections and Defense objections; the plea

     22   agreement which calls for acceptance, reserves Mr. Trader's

     23   right to appeal the motion to suppress, and calls for

     24   forfeiture of the smart phones and computers.         There was a

     25   Government sentencing memorandum in support of a light

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 4 of 125

                                                                          4


      1   sentence, a report of Dr. Brannon, a victim impact statement by

      2   a mother of the victim -- a victim, and there is a motion for

      3   downward departure and letters.

      4              Does that cover the filings?

      5              MR. GYIRES:    Yes, Your Honor.

      6              MR. PEACOCK:     That's correct, Your Honor.      I did not

      7   file Dr. Brannon's report because --

      8              THE COURT:    Well, I read it.     I don't know quite how

      9   I got it then.

     10              MR. PEACOCK:     Well, I sent it to you, Judge; but with

     11   those reports, I didn't know what the Court's pleasure was.             I

     12   can file that, but I think it should be filed under seal.           I

     13   did send a copy to the Government as well.

     14              THE COURT:    All right.

     15              MR. PEACOCK:     I don't -- for my purposes, I don't

     16   think it needs to be an exhibit.       I just want the Court to have

     17   some information ahead of time.

     18              THE COURT:    Well, I read it, so I think it ought to

     19   be filed under seal, since I did look at it.

     20              MR. PEACOCK:     That's fine.

     21              THE COURT:    Apparently, you are calling Brannon, as

     22   I'm told, by phone.

     23              MR. PEACOCK:     That's correct, sir, with the Court's

     24   permission.

     25              THE COURT:    What do you all plan to do in terms of

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 5 of 125

                                                                          5


      1   witnesses or people or --

      2              MR. GYIRES:    Yes, Your Honor.     The Government, we

      3   have prepared a presentation, if you will, in the form of the

      4   testimony of Brian Ray, and a disk that has evidence on it that

      5   we would like to present to the Court.        I think that's probably

      6   -- we practiced it a couple of times so it goes smoothly and

      7   everything.    I'm thinking 20 minutes, and then maybe some

      8   argument from the Government, and I think there is probably two

      9   witnesses who have -- two of the victims' mothers, I think they

     10   plan on saying something to the Court.

     11              Am I missing anything?

     12              I think that's it from the Government.

     13              THE COURT:    All right.    What do you plan to do

     14   besides Dr. Brannon?

     15              MR. PEACOCK:     Your Honor, I anticipate Dr. Brannon

     16   will take about 10 to 15 minutes.       I would also ask the Court

     17   to hear from Mr. Trader's mother.       I will be making an

     18   elocution as well; and then, of course, Mr. Trader has the

     19   opportunity to elocute.

     20              THE COURT:    All right.    Well, let's start.     Is there

     21   some particular time you want to call Brannon, or do you want

     22   to -- normally, we would just hear from the Government first

     23   and then turn to you, unless Brannon is unavailable.

     24              MR. PEACOCK:     If the Government can give me about a

     25   five-minute heads up, I need to text him and tell him to be

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 6 of 125

                                                                          6


      1   ready so we have a smooth transition, so about five minutes

      2   before the Government is done.       That will be great.

      3              THE COURT:    Okay.    All right.   Mr. Gyires, go ahead.

      4              MR. GYIRES:    Okay.    And, Your Honor, the CD is

      5   mostly, if not all, contraband child pornography.          So I don't

      6   know if we can somehow do it, if not sidebar, somehow in a way

      7   where Your Honor can see the computer screen.

      8              THE COURT:    Well, there is one here, if you are going

      9   to use the -- this system.

     10              MR. GYIRES:    Right.    We can try it, but I'm concerned

     11   that it might be projected onto here or something over there.

     12   That's my concern is I don't want these screens to show it.           If

     13   you can accomplish that or the screen -- the laptop screen is

     14   pretty big.

     15              THE COURT:    Apparently, she can do it.       Genny can do

     16   most anything, I guess.

     17              Again, if this is -- if you want me to see it and I

     18   want it available, you are going to have to file it under seal

     19   for the Eleventh Circuit.

     20              MR. GYIRES:    Yes, Your Honor.

     21              THE COURT:    I don't want to be looking at things that

     22   an appellate court can't see.

     23              MR. GYIRES:    Absolutely, Your Honor.      And it's a disk

     24   that I have marked as Government's Exhibit 1.         I have spoken

     25   with Mr. Peacock.     We can either admit it now, or we can admit

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 7 of 125

                                                                          7


      1   it after we show it; however -- we can move it into evidence

      2   now, if that's all right.

      3              MR. PEACOCK:     No objection, Your Honor.

      4              THE COURT:    All right.    What are you calling it?

      5              MR. GYIRES:    Government's Exhibit 1.

      6              THE COURT:    All right, 1 is admitted.

      7              MR. GYIRES:    It is a CD.

      8        (Evidence admitted as Government Exhibit No. 1)

      9              MR. PEACOCK:     May we watch from up there, Judge?

     10              THE COURTROOM DEPUTY:      The only thing that I can do,

     11   as far as it appearing on the monitors, it will not appear in

     12   the jury box.    It will not appear in that.       It may still appear

     13   on your table, counsel table.

     14              MR. PEACOCK:     Thank you.

     15              May I suggest we do it sidebar on the laptop, Your

     16   Honor?

     17              THE COURT:    Why don't you just turn it away from the

     18   audience, yours?     Won't that work?

     19              I mean, sidebar, this screen is here.        I don't know

     20   how I can do it sidebar.

     21              MR. PEACOCK:     I just don't want to break it.       I don't

     22   want to have to pay for it.

     23              THE COURT:    You can probably turn monitors off, can't

     24   you, also, if you wanted to?

     25              If you want to sit in the witness chair, look at it

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 8 of 125

                                                                          8


      1   there.   You obviously could, too, if that's easier for you.

      2       (Break in the proceedings.)

      3              MR. GYIRES:    Also, Your Honor, there is, obviously,

      4   audio as well.    I don't know if that matters.

      5              THE COURTROOM DEPUTY:      It is not showing up there

      6   now.   I think you got it because it's not showing up.         It is on

      7   all of these monitors.

      8              Mr. Peacock, I think you are okay because if it's not

      9   showing up, it should be okay.       You can also wheel it and turn

     10   it around.    It does have wheels.

     11              MR. GYIRES:    Your Honor, can Your Honor see it?

     12              THE COURT:    Yes.

     13              MR. GYIRES:    We are just going to test the sound real

     14   quick, if that's okay.

     15              MR. PEACOCK:     It is not on this one, gentlemen.

     16              THE COURTROOM DEPUTY:      I have it turned off.

     17              THE COURT:    Do you want it there?

     18              MR. PEACOCK:     No, I'll move around.

     19              MR. GYIRES:    Can Your Honor hear that ding in the

     20   audio where he is testing the audio?

     21              THE COURT:    I heard a noise.

     22              MR. GYIRES:    All right.    May I proceed, Your Honor?

     23              THE COURT:    Sure.

     24              MR. GYIRES:    Special Agent Ray, if you can tell us

     25   your name and spell it.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 9 of 125

                                                                          9


      1                THE COURT:    Let's administer the oath to your agent.

      2                  BRIAN RAY, GOVERNMENT WITNESS, SWORN.

      3                               DIRECT EXAMINATION

      4   BY MR. GYIRES:

      5   Q.   Okay.    Sir, can you tell us your name and spell it, please?

      6   A.   Brian Ray, R-A-Y.

      7   Q.   And how are you employed?

      8   A.   As a special agent for Homeland Security Investigations.

      9   Q.   For how long?

     10   A.   Since the department's founding in 2003.        Prior to that, I

     11   was a customs special agent; prior to that, I was a deputy

     12   sheriff.

     13   Q.   Do you have any specialized training or expertise?

     14   A.   Yes, sir.

     15   Q.   What is that?

     16   A.   In 2010, I attended the Treasury Law Enforcement Computer

     17   Forensic Programs basic evidence recovery training -- computer

     18   evidence recovery training.         In 2011, I attended the -- it's

     19   also the Treasury Computer Forensic Programs advanced computer

     20   evidence recovery training, and I have also taken --

     21                MR. PEACOCK:    I'm sorry.   The Defense will stipulate

     22   to Agent Ray's qualifications as a computer forensic expert.

     23                MR. GYIRES:    Okay.   Thank you, Your Honor.

     24   BY MR. GYIRES:

     25   Q.   So moving on, you -- obviously, you investigate child

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 10 of 125

                                                                          10


       1   exploitation cases, correct?

       2   A.   That's correct.

       3   Q.   And you are the case agent on this case?

       4   A.   Yes.

       5   Q.   Now, let's just get right to it.      Did you review electronic

       6   devices that were seized from the defendant?

       7   A.   Yes.

       8   Q.   And those devices were what kind of devices?        Cellphones?

       9   SD cards?   Stuff like that?

      10   A.   Cellphones, SD cards, and some computers, yes, sir.

      11   Q.   And an SD card is what?

      12   A.   Secured digital card, it's a small electronic piece of

      13   media that will hold storage.      You can put them in cellphones.

      14   You can also attach them to computers.

      15   Q.   All right.   So did you -- and you have looked through a lot

      16   of it yourself, correct?

      17   A.   Yes.

      18   Q.   And that's through the use of computer programs as well,

      19   right?

      20   A.   Yes.

      21   Q.   All right.   So did you recover evidence of the defendant

      22   sexually abusing his two daughters?

      23   A.   Yes.

      24   Q.   All right.   If you could go ahead and show the Court some

      25   of those examples.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 11 of 125

                                                                          11


       1                And for the purposes of the record, we are looking at

       2   Government's Exhibit 1, and there is a file -- a folder called

       3   "Encase," E-N-C-A-S-E, Encase report.       Inside of there, if you

       4   could show us file numbers 18, 19, 20, 21 and 22?

       5   A.   All right.    Within the Encase report folder, there is a

       6   file called the "Trader Sentencing."       Double click that, it

       7   opens up the -- these are -- these were files that were

       8   bookmarked using my forensic software, and each individual file

       9   has a number associated with it.       You can see up there

      10   beginning with number one -- and we are looking at which file

      11   numbers?

      12   Q.   Eighteen, 19.

      13   A.   This is file number 18, which is a video.

      14        (Video recording played in open court.)

      15   BY MR. GYIRES:

      16   Q.   Okay.    That's the defendant on there?

      17   A.   Yes, sir.

      18   Q.   And that's the defendant's penis, obviously?

      19   A.   Yes.

      20   Q.   And you viewed a lot of this stuff, and you're comfortable

      21   with making that voice identification and the penis

      22   identification?

      23   A.   Yes.

      24   Q.   And the child in there is the defendant's daughter,

      25   correct?

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 12 of 125

                                                                          12


       1   A.   That's correct.

       2   Q.   All right, go ahead with 19.

       3   A.   Which is also a video file.

       4        (Video recording played in open court.)

       5   BY MR. GYIRES:

       6   Q.   Okay.    And for the purposes of the record, if you could

       7   briefly describe so the transcript -- the transcript reflects

       8   what's on these two videos?

       9   A.   The first video is approximately a 15-second video

      10   depicting Mr. Trader's younger child, RT, masturbating him and

      11   kissing his penis.

      12                The second video is also an approximately 15-second

      13   video with our victim, RT, masturbating Mr. Trader.

      14   Q.   Does she say, "Hi, Ash"?

      15   A.   Yes.

      16   Q.   And what does "Ash" mean in your investigation?

      17   A.   It is a reference to Ashley Maddox, who is a suspect in

      18   California, who has been arrested based on the information we

      19   recovered from Mr. Trader.

      20   Q.   Was the defendant, Mr. Trader, trading child pornography

      21   with that Ash person?

      22   A.   Yes.    He was creating child pornography, which he sent it

      23   to her.     She created some child pornography, which she sent to

      24   him.

      25   Q.   Okay.    If you can go ahead and move on to numbers 21, 22.

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 13 of 125

                                                                          13


       1   A.   Twenty-one or --

       2   Q.   I'm sorry, 20, 21, and 22.

       3   A.   Twenty is also a -- file 20 is also a video.        This is an

       4   approximately 14-second video.

       5   Q.   If you can describe it while it's going on.

       6   A.   Depicting the victim, RT, nuzzling Mr. Trader's penis.

       7        (Video recording played in open court.)

       8   BY MR. GYIRES:

       9   Q.   And her hands are on it as well?

      10   A.   Her hands are on it, her face is touching it, and

      11   Mr. Trader is commenting "good girl."

      12   Q.   Number 21?

      13   A.   Twenty-one is also a video.     It's approximately a 14-second

      14   video with Mr. Trader masturbating himself with victim R-T's

      15   hand above his.     And at this point, the victim is solely

      16   touching Mr. Trader's penis when he comments "good girl."

      17   Q.   She is gripping the penis, correct?

      18   A.   That is correct.

      19   Q.   Okay.    That was 21?

      20   A.   Excuse me?

      21   Q.   Was that 21?

      22   A.   I'm sorry.

      23   Q.   I'm sorry, that was 21.      Go ahead with 22.

      24        (Video recording played in open court.)

      25                THE WITNESS:    This is also a 14-second video.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 14 of 125

                                                                          14


       1   Mr. Trader's hand is on victim R-T's hand, and he is

       2   masturbating his penis using her hand.

       3   BY MR. GYIRES:

       4   Q.   Did the defendant say, "Sam, do you want to touch it too?"

       5                Did you hear him say that?

       6   A.   I didn't.

       7   Q.   One more time.

       8   A.   I was speaking.    I didn't recall if that was on this one.

       9   Q.   Go ahead, play it again.

      10        (Video recording played in open court.)

      11                THE WITNESS:   Yes, which is a reference to his older

      12   daughter, victim ST.

      13   BY MR. GYIRES:

      14   Q.   And again, for the transcript purposes, how old does this

      15   victim here, RT, appear to be in the video, approximately?

      16   A.   Approximately two.

      17   Q.   Okay.    If you could show us file number 52898.

      18                That is located in the separate folder -- or yeah, I

      19   don't know how -- this is how we noted it.

      20   A.   Yes.    I'm now going into a folder on the exhibit disk

      21   called "Select Chats."      There's a separate folder, and it's

      22   marked "Samsung G920T, Pikek chats."

      23   Q.   I'm sorry.    Can you spell that, and let's talk slower.

      24   A.   Pikek is P-I-K-E-K, all one word, which is a reference to a

      25   chat program that was being used in this instance.         Opening

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 15 of 125

                                                                          15


       1   that, there is a chat associated with it, but we are going

       2   directly into the videos which are labeled "Chat Vids."             And

       3   there is a folder labeled "Chat Vids," and we are looking first

       4   at number -- file that begins --

       5   Q.   Five two eight nine eight.     It's the G920 chat?

       6   A.   Yes.    This is an approximately 16-second video that depicts

       7   Mr. Trader performing oral sex on RT.

       8   Q.   You mean -- okay.    And licking what?

       9   A.   Licking R-T's vagina.

      10   Q.   Okay.   And you are comfortable in your identification that

      11   that's the defendant?

      12   A.   Yes.

      13   Q.   Okay.   Go ahead with number 40330.

      14   A.   The file -- both of these files, that's the starting.           They

      15   are very long alphanumeric file names, so these names are just

      16   the starting part which uniquely identifies them.         So this is

      17   40330, and this is another approximately 20-second video

      18   depicting the victim, RT, lying on the bed with Mr. Trader

      19   inserting his penis in the vaginal opening.

      20   Q.   Okay.   What was the -- do you recall the -- or maybe you

      21   can tell me if I'm right or wrong if the earliest date that you

      22   recovered the recording of RT being abused, was that December

      23   23, 2014?    Is that the earliest that your forensic analysis on

      24   the devices -- that's the earliest that you found the video

      25   dated?

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 16 of 125

                                                                          16


       1   A.   Yes.

       2   Q.   And the latest for victim RT, was that May 18, 2017?

       3   A.   That's correct.

       4   Q.   Okay.   Now, if you go ahead to another victim, the

       5   defendant's other daughter, ST.      If you could show us Encase,

       6   E-N-C-A-S-E, Encase report number 12?

       7   A.   We are going back to the Encase folder in the Trader

       8   sentencing file and -- what number?

       9   Q.   Twelve?

      10   A.   Number 12, which is a video.      It is approximately a

      11   14-second video depicting ST asleep, apparently, in her bed

      12   with Mr. Trader masturbating next to her bed.

      13   Q.   All right.   And go ahead with number 13.

      14   A.   Thirteen, also a video, another video of Mr. Trader --

      15   well, at this point, he is ejaculating on her sheets.          It's

      16   approximately a 14-second video with the victim ST lying asleep

      17   in the bed.

      18   Q.   And approximately how old is ST in the video?        How old is

      19   she now?

      20   A.   She is 10, I believe, almost about to turn 11.

      21   Q.   Okay.   Is the earliest that you got videos of ST being

      22   molested or abused, was that in November 21st, 2014?

      23   A.   That's correct.

      24   Q.   And the latest was January 19, 2016?

      25   A.   That's correct.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 17 of 125

                                                                          17


       1   Q.    Okay.    Now, go back.   A couple more videos of that, number

       2   14?

       3   A.    Right.   Number 14 is actually the still shot that's visible

       4   on the screen right now, which is ejaculate on the bed sheets

       5   next to the victim, ST, which is -- appears to be a separate

       6   incident from what we just saw on the video because the

       7   ejaculate is in a different location.

       8   Q.    Did he send these to other people online -- or not these

       9   specific ones necessarily, but videos of ST or photos of ST?

      10   A.    He sent photos and videos of both ST and RT to other

      11   people, yes.

      12   Q.    Go ahead with number 30.

      13   A.    Thirty is also a video.     It's approximately a 14-second

      14   video depicting ST lying, apparently asleep in the bed, on her

      15   stomach with Mr. Trader pulling back her underwear and

      16   inserting his fingers in her vagina or at least manipulating

      17   her vagina.

      18   Q.    All right.   Now, is there something called the, quote,

      19   unquote, "Sammie" folder, S-A-M-M-Y, folder?

      20   A.    It's actually S-A-M-M-I-E.

      21   Q.    Okay.

      22   A.    There was a folder recovered on several of his devices.

      23   One was on an external hard drive.       The copies of this folder

      24   were also on some of the SD cards.

      25   Q.    And who entitled it "Sammie" folder?

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 18 of 125

                                                                          18


       1   A.   It would have been the user, Mr. Trader.

       2   Q.   Go ahead.   If you could show us inside of that folder.         You

       3   definitely don't show us all of them, but there is a range of

       4   126 to 408.    If you can just pull that up and just scroll down

       5   and show a couple of them.

       6   A.   Did you want that or the folder view itself?

       7   Q.   Either one, whichever you think is better, the folder

       8   view.

       9   A.   I took the -- copied the full folders out of the location

      10   onto the disk.     They are the full folders from WD passport,

      11   HDD.    When you open that up, there is the "Sammie" folder.

      12   This was exported as it was on the hard drive, and so there is

      13   the range of abuse material.

      14   Q.   And you are looking at a list of thumbnails that show

      15   images, correct?

      16   A.   That's correct.    There is thumbnail images depicting the

      17   abuse of ST.     There are a few in here which depict RT as well.

      18   It's 285 files.     This is Exhibit 1.

      19   Q.   The CD?

      20   A.   When you open the disks, there is a file called -- titled

      21   "Full Folder" from WD Passport HDD.

      22   Q.   And if you want to just pick a couple of them.        They are

      23   really small.    I don't think we can see them.       Pick a couple to

      24   show the Court, couple of examples.

      25   A.   Yes.   There were a lot of -- there are multiple ones that

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 19 of 125

                                                                          19


       1   have dates associated with them.       The settings are all

       2   consistent.    I'll pull one up here.     The first one --

       3   Q.   Well, let me stop you.     When you say "settings," you mean

       4   like the bed sheets, the underwear, the surrounding area and

       5   stuff like that?

       6   A.   That's correct.

       7   Q.   You mention that because the full body of the victim wasn't

       8   necessarily in the video.      Are you saying that you -- having

       9   looked at all of the stuff in this case, you are comfortable

      10   saying that's the victims, right?

      11   A.   That's correct.

      12   Q.   Okay.

      13   A.   I was going to do still images.

      14   Q.   That's fine.

      15   A.   Still images such as one that's titled "20150412"

      16   underscore 231940.     It's a jpeg image which is a close-up shot

      17   of ST's vagina.

      18                And I now scrolled down to the bottom of the screen,

      19   so all of the thumbnails have been displayed.

      20   Q.   And the thumbnails include finger penetration of the

      21   vaginas by the defendant, correct?

      22   A.   Yes.

      23   Q.   All right.    We can move on.

      24                Did the defendant also have a folder entitled "Pics

      25   With Me With Kids"?

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 20 of 125

                                                                          20


       1   A.   Yes.

       2   Q.   All right.   Let's move on to online distribution and online

       3   communications.    Approximately -- was the defendant involved in

       4   communicating with other people online and exchanging child

       5   pornography?

       6   A.   Yes.

       7   Q.   By "online" meaning using the phone, for example, using

       8   apps on the phone or a computer?

       9   A.   It's primarily phone communications.       Actually, it's all

      10   phone communication, using applications on the phone.

      11   Q.   Okay.   Now, approximately, how many people who were minors

      12   or represented themselves to be minors and appeared to be

      13   minors were -- was he communicating and exchanging with -- or

      14   communicating sexually with -- let me put it that way, just

      15   communicating sexually, not necessarily getting them to send

      16   him something but trying.      Was that at least a hundred?

      17   A.   It was over a hundred, yes, sir.

      18   Q.   And how many times did he succeed in getting minors to send

      19   him stuff that you found?

      20   A.   I found examples of at least 44 minors that either

      21   transmitted child pornography to Mr. Trader, or Mr. Trader

      22   transmitted child pornography to them.

      23   Q.   And did he send -- some of them, did he send his own

      24   produced material?

      25   A.   Yes.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 21 of 125

                                                                          21


       1   Q.   And now how young were these -- were they mostly girls?

       2   A.   They were -- there were a few communications with other

       3   adults that he was trading child pornography with, but the

       4   majority of the communications were with girls representing

       5   themselves to be under the age of 18.

       6   Q.   As young as eight?

       7   A.   That was the youngest, eight years old.

       8   Q.   And did they look that young on the videos and photos that

       9   they sent?   Did they look like they were eight years old, or

      10   nine years old, or ten years old?

      11   A.   Yes, they did.

      12   Q.   And was the majority of them prepubescent?

      13   A.   Yes -- excuse me, for the -- for the sending child

      14   pornography, I don't know that I can say the majority were, but

      15   there were plenty of them that were prepubescent, yes, sir.

      16   Q.   Okay.   All right.   I think on the exhibit here, Exhibit 1,

      17   the CD, we have -- if you can pull up the visual overview that

      18   sort of shows the chats.     It sort of just gives a visual

      19   representation of what it looks like on the software program to

      20   give the Court an idea.     It's the T999 cell?

      21   A.   For the record here, I already opened that because it takes

      22   it a little while to open up, but to follow the path to get to

      23   it, if you go to the -- to the exhibit disk, there is a folder

      24   labeled "Trader Smart Phones."      When you open it up, there are

      25   forensic copies of materials that was bookmarked from several

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 22 of 125

                                                                          22


       1   of his phones.     One of them is the Samsung GSM SM920T Galaxy X6

       2   phone.   When you open that folder, there is a file titled "UFED

       3   Reader," which is the forensic software that is used to look at

       4   this particular image which is titled the same as the phone.

       5                So I have already opened this up.     Once you open it

       6   up, it comes up with a screen that gives you an extraction

       7   summary.     It gives you some details about the phone.

       8                On the left-hand side, there is a frame that gives

       9   several different things that are available to view that have

      10   bookmarked.     One of them is labeled Chats.     So if we open up

      11   the chat view, there is a visual representation.         These are all

      12   of the separate chats that were bookmarked during my review of

      13   this particular phone.

      14   Q.   Separate people that he is chatting with?

      15   A.   Correct.

      16   Q.   Okay.    And what are these red dots or yellow dots on the

      17   side -- or in the middle or on the side there now?

      18   A.   The yellow dot was how I identified it from -- because

      19   there were over 3,000 chats on this phone.        These dots

      20   identified ones that were -- that I reviewed that included

      21   something of evidentiary value, speaking with an underage child

      22   was the main point.

      23   Q.   And the red dot?

      24   A.   That was child pornography that had gone either two or from

      25   Mr. Trader.

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 23 of 125

                                                                          23


       1   Q.   All right.    If you want to scroll down, just to give a

       2   sense of how many we are talking about.

       3   A.   These are the -- there are 108 chats that are bookmarked in

       4   this particular instance.      So scrolling down --

       5   Q.   Okay.

       6   A.   -- the approximate number where child pornography was

       7   trafficked.

       8   Q.   All right.

       9   A.   Some of the earlier chats from the 2013, there are

      10   references to the child pornography going back and forth, but I

      11   wasn't able to recover the actual image.

      12   Q.   Okay.   If you could show us an example that we have.

      13   A.   Scrolling down to the end, you can see as we get to the

      14   end, chats 81.     They are ordered by time, so as we get to the

      15   older chats, there is less child pornography recovered.

      16   Q.   All right.    Can you show us an example in the form of the

      17   Kenia Benitez?

      18   A.   Yes.    Opening that, it's the second chat on this list.        The

      19   other user was Kenia Benitez.      When you click on that --

      20   Q.   Can you spell that for our court reporter?

      21   A.   Yes, K-E-N-I-A, last name, B-E-N-I-T-E-Z.

      22   Q.   Okay.   Go ahead.

      23   A.   When you click on that chat, it opens up on the right-hand

      24   side.   You can see the conversation bubble is on the right-hand

      25   side, in order to make this a little bit bigger.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 24 of 125

                                                                          24


       1   Q.   Let me ask you to talk a little slower.

       2   A.   Sorry.

       3   Q.   Go ahead.

       4   A.   Just above the conversation bubbles are -- there is a gray

       5   bar that's titled "Conversation."       And when you go over to

       6   the -- one of the icons on the right, talking -- conversation

       7   view.   Clicking on that, you are able to pull up a much larger

       8   version of the chat --

       9   Q.   Okay.

      10   A.   -- which the chat begins, it is dated January 26, 2017.

      11                And just a few exchanges into it, Mr. Trader, on that

      12   day at 8:09:06 p.m., asks how old she is, asking if she is

      13   eight; and the girl replies, "I'm ten years old."

      14   Q.   Okay.    Go ahead.

      15   A.   If you scroll all the way to the bottom --

      16   Q.   Yes.

      17   A.   -- of the chat, there is lengthy chat here discussing

      18   sexual activity.     He was wanting her to produce child

      19   pornography in exchange for getting some shoes and some phones,

      20   and things of that nature.

      21                In order to view the video on these chats, we have to

      22   open the video frame and then copy the title of this video,

      23   which was transmitted on 1/27/17 at 9:19 and 40 seconds.            Go to

      24   the video frame and paste the name, and the video that was

      25   displayed or that the child sent comes up, and he would be

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 25 of 125

                                                                          25


       1   playing the video.     It's approximately an 8-second long video

       2   of a girl who appears to be approximately ten years old fully

       3   nude standing in front of a bathroom mirror with a tablet-type

       4   device and displaying her body in a full-length mirror turning

       5   side to side and to show her buttocks as well.

       6   Q.   And her vagina?

       7   A.   Yes, her vagina is visible.

       8   Q.   Were there any -- do you want to show us an example of a

       9   video that defendant sent of himself just so we can see a video

      10   of him, if that's easy to access.       I don't know if you -- or

      11   not necessarily with this victim, I mean?

      12   A.   Yes, there are others.

      13   Q.   Do you have a video of him talking to the camera, just so

      14   we get a sense of how he spoke?

      15   A.   Yes.    If we go back to the Encase report, this is file

      16   number 429 which is a video file.

      17        (Video recording played in open court.)

      18   BY MR. GYIRES:

      19   Q.   You don't necessarily know who he was talking about, do

      20   you?

      21   A.   Not in that particular video, no, sir.

      22   Q.   Okay.   Now, if you want to go to the Ashley Maddox chats

      23   next, to give us some -- just one or two more examples of chats

      24   with adults, one would be with Ashley Maddox.         That's --

      25   A.   Yes.    When you open the sentencing disk, there is a folder

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 26 of 125

                                                                          26


       1   labeled "Select Chats."     You open the "Select Chats".       There is

       2   a folder labeled "Ashley Maddox Arrested."        Ashley Maddox is

       3   A-S-H-L-E-Y, M-A-D-D-O-X.

       4                Opening that, there are two folders:      One for 2015

       5   chats, a separate one for 2016 chats.

       6                We are opening the 2016 chat.     There is a PDF file

       7   titled "Report."

       8   Q.   Why don't I just have you read that, pages one and two, if

       9   you wanted to read that into the record.

      10   A.   Okay.    I have opened the report that has those chats.

      11   Q.   And this is a conversation between the defendant and an

      12   adult woman who has been since arrested named Ashley Maddox?

      13   A.   That's correct.

      14   Q.   Go ahead.

      15   A.   It starts off with messages from Miss Maddox who I'll refer

      16   to as "she"; Mr. Trader, I'll refer to as "he".

      17                She starts out, "That's how I got too.      It sucks,

      18   LOL."

      19                He replies, "Yes, it does, but eventually you get the

      20   confidence and you get horny enough to where you are just going

      21   to do it regardless."

      22                She says, "But I can't have her now."

      23                He says -- I believe this is mistyped.      It's typed

      24   A-B-D; I believe he meant "and".

      25                "And she won't.   Sam didn't know.    Well, she is not

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 27 of 125

                                                                          27


       1   telling me she knows.      And by the way, I still have another

       2   child, LOL.    Whenever you want to cam with her, just let me

       3   know, ha, ha."

       4               She replied, "Yes.    I love when you had her suck your

       5   cock."

       6               He relied, "I know you did.     I want to have her do it

       7   again for you."

       8               She replies, "Yes, baby," followed by "please."

       9               He said, "Whenever you have free time, baby.        Can't

      10   be the next few days, but after that, I should be home for a

      11   few days."

      12               She said, "Well, just let me know when you have the

      13   ability to," followed by, "I'm usually pretty free in the

      14   evenings."

      15               He said, "Okay.    I want to show you her pussy.        I've

      16   been looking at it a lot lately.       She is getting to that age

      17   now.   She just turned three, so I'm going to start with her

      18   before she is four."

      19               She replied.   "Start with her," question mark.

      20   Followed by, "I love her little pussy.        You showed me a little

      21   of it."

      22               He replied, "Playing with her clit and licking her

      23   pussy.    Maybe a -- maybe a finger, if I can.      I know I have

      24   before, but I T-I show you more."

      25   Q.   I want to show you more?

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 28 of 125

                                                                          28


       1   A.   "Want to show you more," just an another probable

       2   misspelling.

       3                She replied, "O-M-G," for oh, my god.      "Baby, I would

       4   die to see you licking her clit," followed by "god."

       5                He replied, "Then that's what I'm going to do to her

       6   when we Skype."

       7                She asked, "Can you do that while she is awake and

       8   there is light?     LOL."

       9                He replied, "Yes."

      10                She replied, "God, babe, I would die."

      11                And then the chat continues from there.

      12   Q.   Okay.    Let me also, 13, the last two pages, I think we also

      13   want to highlight.    If you can read 12 and 13.       I think it

      14   starts at the end of 12 and then 13 and 14.        Getting to the

      15   spot we had marked.

      16   A.   All right.    This chat, we are beginning on page 12 at

      17   date/time, we're at 4/22/16 at 1659.

      18                He said, "LOL, I'm going to have to figure something

      19   out B-C" -- which is short for because -- "I want to see you.

      20   So this weekend, we're going to have seven girls sleeping over

      21   my house between the age of seven to ten.        I'm going out of my

      22   mind with ideas of things I'm going to do.        One of them, a

      23   ten-year-old, loves to take off her clothes.        This is going to

      24   be fun."

      25                She replied, "Oh, my god, are you going to message me

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 29 of 125

                                                                          29


       1   when you do?"

       2              He replied, "Ha, ha, I wouldn't have it any other

       3   way."

       4              She said, "Oh, I miss you."

       5              He followed that with, "I know.       I miss you too.     I

       6   really need to start getting more porn and playing with Sammie

       7   again.   I'm craving her pussy."

       8              She replied, "I want that too," followed by, "You

       9   haven't been," question mark.

      10              He said, "Nope, not for a while.       We have all been so

      11   busy lately.    She is getting little boobies now too."

      12              She replied, "Oh, my god, LOL."

      13              He said -- it was an explanation, yeah.        "She is

      14   growing up so quickly and so sexy."

      15              She replied, "Man, I can't wait to see."

      16              He typed, "I can't wait to show you," and then asked,

      17   "How is Kay?    I dreamed about raping her last week, you know."

      18              Kay is a reference to the California woman's

      19   six-year-old child.     I believe she was six.

      20              She replied, "Did you really?       Why didn't you message

      21   me?   We could have gotten off on it together;" followed by, "I

      22   still haven't touched her.      I probably never will, to be

      23   honest."

      24              He replied to that saying, "LOL, yes, I didn't, and

      25   actually, you were watching me do it and getting off on it.           I

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 30 of 125

                                                                          30


       1   didn't message you because I don't come on here much.          Kik is

       2   on my old phone.    I have Kik on my new one, but that's just to

       3   talk to Sammie.    Everyone and everything else is on here.         I

       4   want to F-B message" -- which is Facebook message -- "you

       5   sometimes, but I don't for some reason.        And don't say you

       6   won't, I'll make you one day."

       7   Q.   And Kik is K-I-K, a social media app, right?

       8   A.   That's correct.

       9   Q.   Go ahead.

      10   A.   She replied, "Well, I'm always here.       You can always

      11   Facebook me," followed by "One day."

      12               And then he replies, "Ha, ha.      Have you been watching

      13   anything good lately?     I haven't traded in a while."

      14               She replied, "Just the same old stuff, nothing

      15   weird."

      16               Then there is a break in the chat from the 22nd to

      17   the 24th.    She initiates the conversation at the time indicated

      18   of 12:30 a.m.

      19               She says, "It's this weekend, and you're not

      20   messaging me."

      21               He replied by sending a video which was several girls

      22   playing in the living room area of his home.        He replied,

      23   "Because half of them aren't asleep."

      24               She replied, "LOL, makes sense."

      25               He then sent a video of several girls sleeping in the

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 31 of 125

                                                                          31


       1   bedroom in the defendant's home.       And in the video, he goes to

       2   one of the little girls who is sleeping on the floor --

       3   Q.   That's not his daughter?

       4   A.   That's not his daughter.

       5              -- and pulls back her pajama top and starts to expose

       6   her breasts.    When the girl stirs, he stops.

       7              She replied, "Ha, ha."

       8              He said, "The rest of them are."

       9              She said, "You almost got caught."

      10              He replied, "LOL.     You saw it, huh."

      11              She replied, "LOL, yep.      Looks like fun over there."

      12              He said, "Yeah, I have seven girls here, LOL."

      13              She replied, "Heaven, LOL."

      14              He said, "I'm going out of my fucking mind.         I want

      15   to fuck literally all of them."

      16   Q.   You want to play that video real quick, the 12 seconds long

      17   where he goes into the bedroom?

      18   A.   All right.    Going to that video; again, it's on the Encase

      19   report.

      20              This is file -- do we have the file number?

      21   Q.   Number six?

      22   A.   Number six, number six of the Encase report.

      23   Q.   All right.

      24        (Video recording played in open court.)

      25        THE WITNESS:   That was what I previously described.           The

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 32 of 125

                                                                          32


       1        video is about a 10-second clip, which I described earlier,

       2        with him pulling back the top on the sleeping child.

       3   BY MR. GYIRES:

       4   Q.   Now, I'm not going to ask you to read another set of chats,

       5   but if you could just briefly explain another example involving

       6   a woman named "Gomez" without necessarily showing us, just to

       7   save a little time; if you'll explain.

       8   A.   That's a chat from May of this year.       In that chat, he was

       9   communicating with another woman who we since arrested and

      10   rescued her child.    That was also a six-year-old child in

      11   Alabama.

      12              During that chat, he sent videos of RT masturbating

      13   him to her.   She sent child pornography that she created to

      14   him, and he indicated that he wanted to -- the quote from the

      15   chat was that he wanted to have sex, basically, in front of the

      16   children, and he wanted to use the woman's cum as lubricant for

      17   him to put his penis inside of the six-year-old victim in

      18   Alabama.   He also said, "We have to make this happen.         I've

      19   been thinking about it nonstop."

      20   Q.   All right.   And that chat is on Government's Exhibit 1

      21   disk, correct?

      22   A.   It is.   It's in the "Select Chats" folder, the "Anna Gomez"

      23   folder.

      24   Q.   All right.   Let's move on.

      25              Let's go ahead and move on to just another category

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 33 of 125

                                                                          33


       1   of conduct let's say -- he was also just downloading, so to

       2   speak, just downloading amounts of child pornography that he

       3   didn't produce but just getting it online and storing it,

       4   correct?

       5   A.   That's correct.

       6   Q.   Now, can you show us a couple of examples of that?         Did it

       7   include child pornography involving beastiality?

       8   A.   Yes.

       9   Q.   Okay.    If you can show us maybe one example, 407 to 410 is

      10   the numbers on that one.

      11   A.   Okay.    This first one, file 407, is a video which we are

      12   opening up.    It's a 16-minute and 41-second video which starts

      13   with the girl undressing.

      14   Q.   Minor girl?

      15   A.   Yeah, she is obviously a minor girl.

      16        (Video recording played in open court.)

      17                THE WITNESS:   We skip ahead to one minute into the

      18   video, and the dog is licking her vagina.

      19   BY MR. GYIRES:

      20   Q.   Okay.    Do you want to show us maybe one more.      We will stop

      21   the video at this point.

      22                Were there other ones involving dogs?

      23   A.   Yes.

      24   Q.   All right.    Do you want to show us a couple of the sadism

      25   masochism?     Maybe one is probably enough.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 34 of 125

                                                                          34


       1              MR. PEACOCK:    Your Honor, for the record, we have not

       2   posed an objection under the guidelines that the videos contain

       3   sadomasochistic material.      I think that's resolved.

       4              THE COURT:    All right.

       5              MR. GYIRES:    This will be brief, Your Honor.

       6   BY MR. GYIRES:

       7   Q.   If you can play one.

       8   A.   We'll just play one to give you an example.

       9              This is file number 443, which is a video.

      10        (Video recording playing in open court.)

      11              THE WITNESS:    It is a minute 30-second video which

      12        depicts a toddler suspended by her legs on her bed and a

      13        woman that is manipulating her, is aggressively inserting a

      14        dildo into the child's vagina.

      15              MR. PEACOCK:    I object to that.     I have never seen

      16   this video before.

      17              THE COURT:    I'm not sure of the objection.       I guess

      18   they were produced to you.

      19              MR. PEACOCK:    No.

      20              THE COURT:    You just didn't want to watch it, which I

      21   could understand.

      22              MR. PEACOCK:    There was a volume of material that we

      23   -- we did take many, many hours looking at the discovery in

      24   this case, and I don't want to imply --

      25              Can you cut that off, please.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 35 of 125

                                                                          35


       1                I didn't want to imply that the Government wasn't

       2   forthcoming with discovery, but we didn't look at each and

       3   every video.    What we did was we looked to make sure that the

       4   guidelines complied with as far as what -- how the computations

       5   would go, but I have not seen these videos that we are looking

       6   at today.

       7                THE COURT:    Well, if they were produced.    Frankly, I

       8   don't need to see any of them.      The Government chooses to

       9   present its case.     If you have seen them, I'll overrule the

      10   objection, but.

      11                MR. GYIRES:   I'll move on.

      12                THE COURT:    All right.

      13   BY MR. GYIRES:

      14   Q.   And don't show us any more, but there is, obviously in his

      15   possession, his collection, there was infants and toddlers

      16   child pornography as well, right?

      17   A.   That's correct.

      18   Q.   Let's move on.

      19                Now I just want to explain to the Court because I'm

      20   not sure it's 100 percent clear in the PSR.        Do you have an

      21   understanding of his prior court cases and his offense conduct

      22   during the course of those court proceedings?

      23   A.   Yes.

      24   Q.   Okay.    And stuff that we have charged that's in our

      25   evidence, right?

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 36 of 125

                                                                          36


       1   A.   Yes.

       2   Q.   Now, he was arrested, according to the PSR, it is your

       3   understanding he was arrested April 2012, right?

       4   A.   That's correct.

       5   Q.   And those were for allegations involving child pornography,

       6   possession, and the victim ST's allegations, right?

       7   A.   That's correct.

       8   Q.   Okay.   And now -- and he got a withhold adjudication

       9   October 4th, 2012, correct?

      10   A.   Yes.

      11   Q.   And then the following year, in October, was there a family

      12   court case pending?

      13   A.   Yes.

      14   Q.   All right.   What happened in October 2013, in that family

      15   law case involving child custody?

      16   A.   He was evaluated by a psychologist.

      17   Q.   Named Gary Edwards?

      18   A.   That's correct.

      19   Q.   And what was his conclusion, meaning the psychologist's?

      20   A.   On page 31 of the report, a copy of which was on

      21   Mr. Trader's electronic media, on page 31 of the report, the

      22   doctor opined that Mr. Trader was not a threat to Sammie.

      23   Q.   Okay.   And the photos of that evaluation are on

      24   Government's Exhibit 1, right?

      25   A.   That's correct.    Under the -- the folder is titled "October

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 37 of 125

                                                                          37


       1   2013 Evaluation."

       2   Q.   Okay.    Now, the family law judge, relying at least in part

       3   on that report, eventually allowed the defendant at least

       4   partial custody in the relationship of his children, correct?

       5                MR. PEACOCK:   Object to the relevance, Your Honor, of

       6   the state court's determination.

       7                MR. GYIRES:    Recidivism, Your Honor --

       8                MR. PEACOCK:   We are not objecting that the case

       9   happened, just to go into all of the details of it, I object.

      10                MR. GYIRES:    I'm almost done with it, Your Honor --

      11                THE COURT:    The objection is overruled.

      12                MR. GYIRES -- understand that he was continually

      13   doing this throughout all of this.

      14   BY MR. GYIRES:

      15   Q.   So he was given permission to continue his custody, at

      16   least in part, in relationship with his children, right?

      17   A.   That's correct.

      18   Q.   He was on probation for his 2012 arrest still during that

      19   time, correct?

      20   A.   That's correct.

      21   Q.   Now, in December -- when did that probation end?         Was that

      22   December 2015?

      23   A.   Yes.

      24   Q.   Okay.    Now, so the point is between April 2012 -- starting

      25   April 2012, he was arrested and had these proceedings.          Now,

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 38 of 125

                                                                          38


       1   what is the earliest that you have recovered of him downloading

       2   child pornography, the hardcore, sadomasochist child

       3   pornography?    Is that November 6, 2013?      Is that correct?

       4   A.   Yes.    A month after the evaluation -- the psychological

       5   evaluation, that's the earliest recovery of child pornography.

       6   The earliest dated child pornography that I have recovered on

       7   the media.

       8   Q.   Okay.    So that's a month after the psychological

       9   evaluation.    Let's go before the psychological evaluation, June

      10   2013.   Do you have him -- did you recover sexual chats with

      11   minors online that he was involved in, in June 2013, a couple

      12   of months before the psyche eval?

      13   A.   Yes.

      14   Q.   While he had a family court petition pending, correct?

      15   A.   That's correct.

      16   Q.   All right.

      17   A.   And he was on probation.

      18   Q.   All right.

      19                And then so his probation in 2013 -- he was arrested

      20   a second time, correct, for similar allegations in December

      21   2016?

      22   A.   That's correct.

      23   Q.   Okay.    And --

      24   A.   Allegations involving ST.

      25   Q.   And that case is still pending?

                                  Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 39 of 125

                                                                          39


       1   A.   It is.

       2   Q.   And while that case has been pending for a bit, he was

       3   arrested on our case, in this case, July of this year, right?

       4   A.   June.

       5   Q.   June?

       6   A.   June 1st.

       7   Q.   The night of May 31st, the early morning hours of June 1st?

       8   A.   Correct.

       9   Q.   So his arrest was, let's say, six months before that,

      10   ballpark?

      11   A.   Yes.

      12   Q.   And he was on probation and bond or what?

      13   A.   He was not on probation.     He would have been on bond from

      14   the State charge.

      15   Q.   And do you have him engaged in molesting his children, or

      16   at least one of them, during that period of bond?

      17   A.   Yes.

      18   Q.   All right.   And I think the last thing I just want to show

      19   the Court is a jail call that is somewhat relevant.          A -- you

      20   have reviewed numerous jail calls between the defendant and

      21   mostly his mother, right?

      22   A.   That's correct.

      23   Q.   Other people as well, right?

      24   A.   Yes.

      25   Q.   If you can just play one.     Before we play it, who is

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 40 of 125

                                                                          40


       1   LeeAnn?

       2   A.   That is the mother of ST, victim ST.

       3   Q.   Okay.    And the jail call you are about to play, the

       4   participants are who?

       5   A.   Mr. Trader and his mother.

       6   Q.   Okay.

       7   A.   I don't know that this is going to play on the speakers, so

       8   I want to move this over here as well.        The program is the --

       9   the jail call program is a little weird so.

      10        (Audio recording played in open court.)

      11   BY MR. GYIRES:

      12   Q.   Play it, and I'll have you explain it.

      13        (Audio recording played in open court.)

      14   BY MR. GYIRES:

      15   Q.   Okay.    And just in case that wasn't audible, all of it,

      16   just briefly tell us what that was about?

      17   A.   That was Mr. Trader telling that he told the mental health

      18   unit at St. Lucie County Jail --

      19   Q.   Slow down.

      20   A.   -- that if he ever got out of prison, that he was going to

      21   kill Miss Drew.

      22   Q.   Anything else?

      23   A.   That's it.

      24                MR. GYIRES:   That's it, Your Honor.     I would just

      25   reserve argument, if the Court would like.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 41 of 125

                                                                          41


       1                THE COURT:    Do you want him to take the witness

       2   stand?   Are you going to cross-examine the agent?

       3                MR. PEACOCK:   Just one second, judge.     If I could --

       4   if I can make that quick text right now, that would be great.

       5                THE COURT:    All right.

       6                MR. PEACOCK:   Very briefly, Your Honor.

       7                MR. GYIRES:    I just also want to remind -- I don't

       8   want to forget to give the two mothers an opportunity to speak,

       9   just a reminder.

      10                THE COURT:    All right.   Why don't you go ahead and

      11   take the witness stand.

      12                THE WITNESS:   Yes, sir.

      13                               CROSS-EXAMINATION

      14   BY MR. PEACOCK:

      15   Q.   Good morning, Agent Ray.

      16   A.   Good morning, sir.

      17   Q.   You just played a jail call involving Mr. Trader making a

      18   threat about his -- about LeeAnn?

      19   A.   Yes, sir.

      20   Q.   Okay.    At that point, he also said he was suicidal,

      21   correct?

      22   A.   Yes, sir.

      23   Q.   He was pretty distraught?

      24   A.   Yes, sir.

      25   Q.   Not logical?

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 42 of 125

                                                                          42


       1   A.   I don't know that I would consider him not logical or

       2   logical, but he was upset.

       3   Q.   How about being suicidal?     Is that logical, in your

       4   opinion?

       5              MR. GYIRES:    Objection, Your Honor, argumentive.

       6              THE COURT:    Sustained, pretty speculative.

       7              MR. PEACOCK:    I'll move on, Your Honor.

       8   BY MR. PEACOCK:

       9   Q.   Let's go back to the evaluation that you and Mr. Gyires

      10   highlighted that came from the state court case?

      11   A.   Yes, sir.

      12   Q.   And you emphasized that there was a psychological

      13   evaluation done by what doctor?

      14   A.   Dr. Edwards.

      15   Q.   Dr. Edwards.   And Dr. Edwards concluded that Mr. Trader was

      16   not a threat --

      17   A.   Correct.

      18   Q.   -- to Samantha?

      19   A.   Correct.

      20   Q.   I'm sorry, to ST?

      21   A.   Yes, sir.

      22              MR. PEACOCK:    I think we probably ought to strike

      23   that from the transcript, Your Honor.

      24   BY MR. PEACOCK:

      25   Q.   Do you know if Mr. Trader ever received any treatment as a

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 43 of 125

                                                                          43


       1   result of that psychological evaluation?

       2   A.   I don't know.

       3   Q.   Do you know if the doctor recommended treatment for his

       4   condition?

       5   A.   He -- I don't recall him diagnosing him with any particular

       6   condition.     He did recommend further counseling, yes.

       7   Q.   Okay.    And do you know if that counseling took place?

       8   A.   I don't know.

       9   Q.   And the counseling would have been for what, specifically?

      10   A.   For reintegration of ST into Mr. Trader's home.

      11   Q.   But it would have involved Mr. Trader having some

      12   counseling, correct?

      13   A.   I believe, if memory serves on that document, which is on

      14   the exhibit, I believe -- I believe he also recommended it for

      15   Mrs. Drew.     He --

      16   Q.   I understand for others, but for Mr. Trader as well?

      17   A.   Yes, sir.

      18                MR. PEACOCK:   Okay.   Thank you.

      19                THE COURT:    Any redirect?

      20                MR. GYIRES:    No, Your Honor.

      21                THE COURT:    All right.   Thank you, sir.

      22                THE WITNESS:   Thank you.     Shall I just leave the

      23   electronic?

      24                THE COURT:    I think we are finished with it.

      25                MR. GYIRES:    And the Government's only other

                                  Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 44 of 125

                                                                          44


       1   witnesses would be the two mothers, if now is a good time, Your

       2   Honor.

       3              THE COURT:    Sure.

       4              MR. GYIRES:    I don't know if Mr. Fletcher's witness

       5   wants to go.

       6              MR. PEACOCK:    Well, that might be better, Judge, to

       7   do Dr. Brannon out of order, if that would be okay.

       8              THE COURT:    All right.

       9       (Dr. Brannon appeared telephonically.)

      10              MR. PEACOCK:    Dr. Brannon.

      11              THE WITNESS:    Yes.

      12              MR. PEACOCK:    This is Fletcher Peacock from the

      13   Honorable Donald Middlebrooks' courtroom, in West Palm Beach.

      14   Are you available to testify at this time?

      15              THE WITNESS:    Yes, sir, I am.

      16              MR. PEACOCK:    I believe that the Court would want to

      17   put you under oath.

      18              THE WITNESS:    Okay.

      19            MICHAEL BRANNON, PSY.D., DEFENSE WITNESS, SWORN.

      20              MR. GYIRES:    The Government stipulates to -- I don't

      21   know how to characterize his expertise, psychology, whatever it

      22   is that Mr. Peacock represents.

      23              MR. PEACOCK:    Your Honor, we would be offering

      24   Dr. Michael Brannon as an expert in forensic psychology.

      25   Dr. Brannon conducted the evaluation that has been put before

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 45 of 125

                                                                          45


       1   the Court.

       2                THE COURT:   All right, please proceed.     The

       3   Government, apparently, has no objection.

       4                MR. PEACOCK:    Thank you, Judge.

       5                               DIRECT EXAMINATION

       6   BY MR. PEACOCK:

       7   Q.   Dr. Brannon, would you state your name for the court?

       8   A.   Sure, Michael Brannon, B-R-A-N-N-O-N.

       9   Q.   Where are you right now, Dr. Brannon?

      10   A.   I'm in Miami.    I'm in a court hearing in Miami, which I

      11   stepped out of, in Dade County.

      12   Q.   Okay.    Can you hear us okay?

      13   A.   I can, yes.

      14   Q.   All right.    Now, Dr. Brannon, did you have the occasion to

      15   do an evaluation of Scott Trader?

      16   A.   Yes, sir, I did.

      17   Q.   And how did you come about doing that evaluation?

      18   A.   At your request, Mr. Peacock, I did a sex offender risk

      19   assessment on Mr. Trader.

      20   Q.   And where did you do your evaluation of Mr. Trader?

      21   A.   This was at the St. Lucie County Jail in Fort Pierce.

      22   Q.   And do you feel that you had an adequate opportunity to

      23   examine Mr. Trader and come to a conclusion regarding his

      24   psychological state?

      25   A.   Yes, sir, I do.

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 46 of 125

                                                                          46


       1   Q.   Did you issue a report that reflects your findings from

       2   that evaluation?

       3   A.   I did, yes, sir.

       4   Q.   And is that report dated August 12th, 2017?

       5   A.   Yes, sir, it is.

       6                MR. PEACOCK:   Your Honor, at this time, we would

       7   offer that report as Defendant's Exhibit 1.

       8                MR. GYIRES:    No objection.

       9                THE COURT:    Defendant's 1 is admitted.

      10        (Evidence admitted as Defense Exhibit No. 1.)

      11   BY MR. PEACOCK:

      12   Q.   Now, I want to narrow down our focus here, Dr. Brannon.

      13                MR. PEACOCK:   And if the Court does not object, I

      14   might lead him a little bit to get through the topic a little

      15   quicker.

      16                THE COURT:    That's fine.

      17   BY MR. PEACOCK:

      18   Q.   Did you diagnose Mr. Trader as suffering from adjustment

      19   disorder with depression and anxiety?

      20   A.   Yes, sir, I did.

      21   Q.   Did you also diagnose him as suffering from pedophilia?

      22   A.   Yes, sir, I did.

      23   Q.   Could you explain to the Court what pedophilia is, briefly?

      24   A.   Sure.    It is a primary interest in prepubescent children --

      25   primary sexual interest in prepubescent children, so that's the

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 47 of 125

                                                                          47


       1   very best definition.     There is a paraphilia.      It's diagnosed

       2   as a paraphilia or a sexual disorder in the diagnostic and

       3   statistical manual definition.

       4   Q.   Now, so just to be clear, does the diagnostic and

       5   statistical manual recognize pedophilia as a legitimate

       6   disability?

       7   A.   It does.    It is one of the paraphilias, one of the sexual

       8   disorders.

       9   Q.   Now, is the diagnostic statistical manual the book that you

      10   go by in diagnosing psychological disorders?

      11   A.   Yes, sir.   It is the accepted standard for both

      12   psychologists and psychiatrists in terms of classification of

      13   mental disorders or providing diagnosis.

      14   Q.   And using those criteria, you determined that Mr. Trader

      15   was suffering from pedophilia?

      16   A.   Yes, sir.   By the criteria that was the source of

      17   information that were provided to me; my interview with him as

      18   well as case-related information meaning videos, sets, things

      19   that were found on his phone and in other areas certainly

      20   establishing what that diagnosis -- clearly establishing that

      21   diagnosis.

      22   Q.   Now let me ask you this:     Are there treatments for

      23   pedophilia?

      24   A.   There certainly are treatments in regards to getting people

      25   to adjust their behavior so that they don't engage in behaviors

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 48 of 125

                                                                          48


       1   that match up with their sexual desires.        So you don't change

       2   the person's sexual desires, what you hope to do, through

       3   treatment and very successful treatment for those conditions,

       4   is that you attempt to change behavior, so have the person not

       5   act on their sexual desires.

       6   Q.   And just briefly, how can a person, let's say in the

       7   future, restrain from acting on those sexual desires?

       8   A.   Well, they have to engage in what is called, you know,

       9   reliable other behaviors.      Reliable other behaviors are

      10   alternatives.     Although they are having fantasies, there are

      11   maybe other ways they can adjust or in any way address those

      12   fantasies.   Self-stimulation or masturbation is one of those,

      13   or learning alternative behaviors when they are feeling a

      14   sexual desire, or in other ways distracting themselves from

      15   those desires; also, by not going to areas or being in areas

      16   where there are easy-victim accessibility.        So all of those are

      17   things that they would learn, hopefully in treatment to be able

      18   to inhibit not only desire but to be able to distract

      19   themselves or respond to desire in a different way that's not

      20   unlawful.

      21   Q.   And is it your testimony, once again, that there is

      22   clinical evidence that with satisfactory treatment and

      23   participation, an individual suffering from pedophilia can

      24   restrain those desires?

      25   A.   Well, yes.    That's the whole purpose of treatment.       The

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 49 of 125

                                                                          49


       1   diagnosis does not determine the behavior.        So in other words,

       2   you can't look at someone -- any diagnosis for that matter --

       3   and determine what behavior they were engaged in.

       4                All we know with pedophilia is that a person will

       5   remain with sexual desires of prepubescent children, but we

       6   can't predict the course of their behavior.        We do know if they

       7   are involved in good, reliable sex offender treatment, it

       8   lowers the probability of any acting on those desires.

       9   Q.   And are you familiar with the Bureau of Prisons' sexual

      10   treatment programs?

      11   A.   I am.

      12   Q.   And does the Bureau of Prisons have sexual treatment --

      13   sexual offender treatment programs which would treat

      14   pedophilia?

      15   A.   Well, it can treat sexual desires in general, so certainly

      16   pedophilia being one of those, yes.

      17   Q.   And are those programs comprehensive?

      18   A.   They are comprehensive, some better than others, but they

      19   certainly are comprehensive in terms of addressing those

      20   conditions.

      21   Q.   Are they comprehensive even to the point of being totally

      22   residential programs?

      23   A.   Yes.

      24   Q.   Now, Doctor, do you have a psychological instrument that

      25   you use to predict future dangerousness?

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 50 of 125

                                                                          50


       1   A.   Well, yes.    There is a standard that is used by people in

       2   my profession.     I belong to an organization called the

       3   Association for the Treatment of Sexual Abusers.         That is a

       4   national organization, and there are standards that are

       5   involved in terms of risk assessment tools.        The standard risk

       6   assessment tool for any contact offense, meaning anybody who

       7   has touched a child or attempted to touch a child, is an

       8   actuarial instrument called the Static-99R.        So it is the most

       9   frequently used and most well-researched instrument that we

      10   have in terms of sex offender risk assessments.

      11   Q.   And did you do a Static-99R test on Mr. Trader when you

      12   evaluated him?

      13   A.   Yes, I did.

      14   Q.   And is that reflected in your report?

      15   A.   Yes, sir, it is.

      16   Q.   Is that on page 7 of your report?

      17   A.   Yes, sir.

      18   Q.   Now, in conducting your Static-99R test on Mr. Trader, what

      19   did you find?

      20   A.   The assessment that I did was I have to be able to evaluate

      21   what he will be when he has an opportunity towards other

      22   victims.   So assuming for the sake of argument that

      23   incarceration -- a period of incarceration would be at least

      24   until the age of 60 or longer, he would be at a very low risk

      25   at that point in time.     So if we extrapolate the numbers for

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 51 of 125

                                                                          51


       1   the Static-99R to what is reasonable, that he be out of

       2   incarceration, if he is going to be released at some point at

       3   the age of 60 or older, he would score a zero on the

       4   Static-99R, and his risk potential over a period of five years

       5   post release would be 2.8 percent.

       6   Q.   Let me break that down, just briefly.       Is zero the lowest

       7   score one can have on the Static-99R?

       8   A.   No.   You can actually have to a negative three, so you can

       9   actually get pretty low.     This falls in the below average

      10   range.     We found out from really the last ten years of research

      11   that the most robust factor, other than prior offenses, the

      12   second most robust or telling factor, salient factor, is age.

      13   So we know that once people reach the age of 60 or older, that

      14   there is a significant drop off in sexual offenses, even if

      15   there was a number of sexual offenses prior to that time.

      16   Q.   Okay.    Now, you mentioned that he would have a risk factor

      17   of 2.8 percent of reoffending.      And that's over a period of

      18   five years after release, correct, sir?

      19   A.   Well, sure.    Let me tell you how that works.      The 2.8 would

      20   be the standardization for the people who have similar factors

      21   as he does.     And the factors are all listed in my report, but

      22   similar factors assuming 60 years of age or older, and there

      23   are other factors like prior contact offenses, unrelated

      24   victims, those types of things that are listed in the report.

      25   So if you look at those, people who are similar to him with the

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 52 of 125

                                                                          52


       1   same factors reoffend at a rate of 2.8 percent over a five-year

       2   period.     So that's the category or classification he falls

       3   into.

       4   Q.   So would I be correct in saying or would the Court be

       5   correct in concluding that he is a risk right now?

       6   A.   Yes.    His risk score would be different, if I scored him

       7   now as opposed to when he was 60 or older, his risk score would

       8   be much different now.

       9   Q.   But by the time he is 60, he will drop into that 2.8

      10   percent group?

      11   A.   That's correct.    And we are making the assumption, of

      12   course, that he would have no access to any victim, like a

      13   child victim, because he is incarcerated.        So making that

      14   assumption that he is incarcerated for that period of time, no

      15   access to other victims, then yes, he would fall to a zero

      16   score when he is released.

      17   Q.   Now, is the ability to participate in the Bureau of

      18   Prisons' programs while he is incarcerated, would that enhance

      19   or potentially enhance and even further -- could that even

      20   further lower his risk?

      21   A.   It could, depending on his responsiveness to treatment and

      22   things like that.     So not everyone is responsive to treatment,

      23   but those who are responsive to treatment, no matter what their

      24   diagnosis is, it can be a protective factor that could further

      25   lower risk at some later point in the future.

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 53 of 125

                                                                          53


       1                MR. PEACOCK:    Thank you, Dr. Brannon.

       2                Your witness.

       3                               CROSS-EXAMINATION

       4   BY MR. GYIRES:

       5   Q.   Good morning -- or good afternoon, Doctor.        My name is

       6   Martin Gyires.     I'm the prosecutor on the case.

       7   A.   Yes, sir, good afternoon.

       8   Q.   Your testimony, correct, is that your opinion is based on

       9   looking at certain facts in this case, correct?

      10   A.   Yes, sir.

      11   Q.   Okay.    Now, your report says that the sources of

      12   information that you reviewed were the criminal complaint,

      13   correct?

      14   A.   Yes, sir.

      15   Q.   And the indictment?

      16   A.   Yes, sir.   I actually quote the exact things I rely upon in

      17   the course of my report.

      18   Q.   It says "criminal complaint, indictment, penalty sheet,

      19   affidavit of Mr. Brian Ray, and interview with the defendant's

      20   mother, and then psychological authorities," correct?

      21   A.   That's correct.

      22   Q.   So it seems to me that the information you had might -- I

      23   just want to clarify.       I want to understand the level of

      24   knowledge you have about this case because I'm getting the

      25   impression that you weren't given a whole lot of information,

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 54 of 125

                                                                          54


       1   so.

       2                 Were you aware that the defendant has two minor

       3   daughters?

       4   A.    Yes.

       5   Q.    Did you know that he sexually abused both of them starting

       6   when at least one of them was two years old?

       7   A.    Yes.

       8   Q.    Okay.    Did you know that the defendant previously has been

       9   in criminal court proceedings?

      10   A.    Yes.    It's in my report.

      11   Q.    Okay.

      12   A.    All of his priors, he was forthcoming.      You know, I didn't

      13   reveal this in my report, but he was very forthcoming about

      14   that.   So everything you just said, he was forthcoming about in

      15   his statements.

      16   Q.    Are you familiar with the nature of the sexual abuse that

      17   he did with his daughters?

      18   A.    Yes, sir, I am.    And I'm also, under the "recent

      19   allegations" part, it actually talks about having videos, you

      20   know, of juvenile -- not juveniles, but a four-year-old,

      21   actually, performing oral sex on him, so there certainly is

      22   documented evidence of what's happened.

      23   Q.    Okay.    Now, did you know the defendant was arrested in 2012

      24   for similar allegations?

      25   A.    Yes, sir, I was.

                                 Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 55 of 125

                                                                          55


       1   Q.   Okay.   And that he was evaluated by a psychologist, a

       2   Dr. Gary Edwards, back then in 2013 who said he was not a

       3   danger to his children, were you aware of that?

       4   A.   No, I wasn't aware of that prior evaluation, but I do have

       5   it under my section that says "legal," I record all those prior

       6   sexual abuse charges are there.

       7   Q.   Okay.   Did you know that while he was being evaluated by

       8   Dr. Gary Edwards, unbeknownst to anybody in the criminal

       9   justice system, he was downloading child pornography, molesting

      10   his children, and communicating online with minors even getting

      11   them to send him child pornography while those proceedings were

      12   pending?     Did you know that?

      13   A.   I was aware he did all of those things.       I was not aware of

      14   when it was occurring, so I didn't know it was occurring at

      15   that time.

      16   Q.   Would that increase the odds of recidivism if you knew that

      17   he was offending while under court proceedings and on bond in

      18   the past?

      19   A.   Well, yes, sir, it would be a factor now.        I mean, it

      20   wouldn't be a factor when he is 60 or older, but right now, if

      21   I were to do the assessment now, I would say he is a high risk,

      22   and it's based on all of those factors you just mentioned.           So

      23   if you are asking me to give a risk assessment for now and

      24   factor all of that in and say he is a high risk --

      25   Q.   No, I'm talking about when he is 60.       I mean, are there any

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 56 of 125

                                                                          56


       1   factors that affect -- or what happens when he's 60?          Or do all

       2   60 year olds just have 2.8 percent chance, or are you talking

       3   particularly about our defendant?

       4   A.   Well, I'm talking about our defendant; and if you look

       5   under "actuarial assessment," you can actually score it

       6   yourself.    It is not hard to score.     But in terms of the actual

       7   factors, once he is 60, that drops off so significantly the

       8   other factors become accounted for.

       9   Q.   Okay.

      10   A.   So I'm not -- we are not saying he poses no risk, we are

      11   just saying he poses a low risk at that point or below average

      12   risk.

      13   Q.   Two point eight percent is pretty low, but I'm trying to

      14   understand the -- are there factors that would actually -- if I

      15   were to give you certain facts, would there be certain facts,

      16   hypothetically, that would increase that 2.8 percent; or, are

      17   you saying no, no matter what you tell me, it's 2.8 percent?

      18   A.   Well, again, all of the factors that would be used to

      19   determine this are listed there.

      20   Q.   I understand, sir.    I'm trying -- you reviewed the criminal

      21   complaint affidavit.     Did you review the evidence that HSI has?

      22   A.   Only what -- the information that I have there and what I

      23   was told by the defendant, so any other factors -- if you are

      24   asking me -- if your question is:       Is there additional

      25   information you could give me that I didn't have that would

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 57 of 125

                                                                          57


       1   increase the static score, the answer to that is yes.

       2   Q.   Okay.    So what types of categories of information would

       3   increase the risks?

       4   A.   All of the factors that are listed under "actuarial

       5   assessments."

       6   Q.   Do you know those or do you want me to look it up?

       7   A.   Well, no, sir.   I'm looking at it right now.       So prior --

       8   it's on page -- if you look at my report, it's right above

       9   "conclusions" that are actuarial assessment, and those factors

      10   are -- I'll read them out for the Court, but they're in my

      11   report:   Prior sex offenses, prior sentencings dates,

      12   convictions for noncontact sex offenses, index nonsexual

      13   violence, prior nonsexual violence, any unrelated victims, any

      14   stranger victims, any male victims young -- in this case, we

      15   would be talking about under 60 -- and ever lived with a person

      16   for two years or more.

      17                So those are the factors that are going into the

      18   static scoring.

      19   Q.   Okay.    So if I told you that he has had, over the course of

      20   several years, online sexual communications with over 100

      21   minors and got at least 44 of them to send him child

      22   pornography, would that increase the risk?

      23   A.   For right now, it certainly would; for later on, the fact

      24   that he was over 60 would get him a deduction of three points.

      25   So you take three points off of his scoring.        So that's what

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 58 of 125

                                                                          58


       1   happens when you get older.      So I would say to you it depends

       2   on when you ask me that.     So if you ask me that now, I would

       3   say it poses him as a high risk.       If you ask me that over the

       4   age of 60, I would say he gets three points off because the

       5   research tells us 60 or over drops off dramatically.          So based

       6   on that, you'd account for some of those prior offenses and

       7   prior victims.

       8   Q.   Okay.

       9   A.   The "when" is an important question.       When you want to know

      10   if he is a risk or not is an important question.

      11   Q.   I'm talking about when he is 60.

      12   A.   Yes, sir, I understand.

      13   Q.   So is the odds of him reoffending at the age of 60

      14   increased, if I told you that he had communications online with

      15   that many victims?

      16   A.   Well no, because it's already accounted for in those other

      17   factors.     Yes, increased risk, but I have already accounted for

      18   that in my score.

      19   Q.   Oh, so you knew that?

      20   A.   Well, even with you telling me, I knew there were prior

      21   victims, so that's already accounted for in this, in this

      22   report.    Those prior victims, unrelated victims, stranger

      23   victims in there, meaning in terms of pornography, so all of

      24   those would be factored in.      So you can just count those up

      25   yourself and then subtract three points for 60 or over, and you

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 59 of 125

                                                                          59


       1   come up with the same zero score.

       2   Q.   Are you telling us that you knew that he communicated with

       3   over 100 victims?     You knew that?

       4   A.   The number doesn't matter.

       5   Q.   Did you know that or not, sir?

       6   A.   No, I didn't know over 100.

       7   Q.   Okay.

       8   A.   But it wouldn't matter on the static scoring.

       9   Q.   All right.

      10   A.   The fact that he has communicated at all gives him a point.

      11   So if there is one or a hundred, he still gets a point for

      12   that.

      13   Q.   Okay.   What if it was a million, still one point?

      14   A.   Well, the research says the numbers don't matter in terms

      15   of risk.     So as a matter of fact, there is even some research

      16   that says -- yes, sir.     The more contact a person has or the

      17   more pornography they have, the less time they are spent

      18   actually offending somebody.      So what you are really more

      19   concerned about is the actual touch offenses.

      20   Q.   Okay.   What if I told you that he communicated with other

      21   adults online, adult woman, who molested their children and

      22   then they would trade, the defendant would trade with these

      23   adults?    Did you know he did that?

      24   A.   Yes, sir.    It's in my report, yes, sir.

      25   Q.   Okay.   So you did know that?

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 60 of 125

                                                                          60


       1   A.   Yes.    It's in my report.

       2   Q.   Okay.   Did you know that he would threaten the online minor

       3   victims if they didn't continue to send him stuff, that he

       4   would post their naked pictures online, and, in fact, did when

       5   they didn't comply?     Did you know that?

       6   A.   No, I did not.

       7   Q.   Would that increase the odds of reoffending at 60?

       8   A.   No, no.   It would be factored into the same static score,

       9   so no, that would not be a factor.       That's not listed as one of

      10   the factors.

      11   Q.   Sounds like there is nothing I can tell you that would

      12   increase this number, basically, is what you are saying?

      13   A.   I disagree with that.     If you tell me there were male

      14   victims that he had contact with, if you told me that there was

      15   prior nonsexual violence, if you told me that absolutely, if

      16   you told me that there were other, you know, stranger victims,

      17   if you told me he never lived with anyone for two years or

      18   more -- I mean, all of those things are factors, and they are

      19   the opposite.    If you gave me any of those categories, I would

      20   say it increases risks.

      21   Q.   Are you familiar with his criminal history at all?

      22   A.   I'm familiar with what he told me, which is listed in my

      23   report.

      24   Q.   Okay.   Did you know that he had, at the age of 18, he was

      25   convicted of battery -- I'm sorry, no, he wasn't.         He was

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 61 of 125

                                                                          61


       1   arrested.     Did you know he was arrested for a battery incident

       2   at the age of 18?

       3   A.   No.   The only things I'm aware of are the things that are

       4   listed in my report under "legally".

       5   Q.   Did you know that he had a battery conviction in 2010 at

       6   the age of 25?     Did you know that?

       7   A.   He told me he had two domestic violence incidents that are

       8   in my report.    They are after "lewd, lascivious behavior."

       9   Q.   Did you know he also had a 2007 battery conviction?

      10   A.   He told me he had two domestic violence incidents.

      11   Q.   So I guess that's the two.

      12                Did you know he had a violation of injunction in

      13   2007?

      14   A.   Yes, sir.   That's in my report.       I didn't know the date.

      15   That's in my report.

      16   Q.   Okay.

      17                THE COURT:    Mr. Gyires, you may have exhausted this.

      18                MR. GYIRES:    Okay.   All right.

      19                All right.    Okay.    Thank you, sir.

      20                THE WITNESS:   Thank you.

      21                Thank you, Your Honor, for letting me testify by

      22   telephone.

      23                THE COURT:    Wait a second.   Mr. Peacock may have

      24   another question.

      25                MR. PEACOCK:   I have two.

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 62 of 125

                                                                          62


       1                            REDIRECT EXAMINATION

       2   BY MR. PEACOCK:

       3   Q.   Dr. Brannon, is the Static-99R an accepted and reliable

       4   test of future dangerousness.

       5   A.   It is the standard for sex offender contact, sex offender

       6   treatment; not internet, but for contact offenders, it is the

       7   standard in our profession.

       8   Q.   The factors you listed are the factors that are accepted in

       9   performing that test?

      10   A.   Yes, sir.   They are the ten factors that are the highest in

      11   terms of predicting future sexual, violent behavior.

      12   Q.   And in assessing this case, are you confident that your

      13   Static-99R score is correct?

      14   A.   Well, based on the information that I had, and I then

      15   factored that into every one of my static scoring, so based on

      16   the information I had, yes, sir.

      17               MR. PEACOCK:   Thank you.

      18               THE COURT:   All right.    Thank you, Dr. Brannon.

      19               THE WITNESS:   Thank you very much, Your Honor.

      20        (Witness excused.)

      21               MR. PEACOCK:   Thank you, Judge, for doing that over

      22   the phone.

      23               THE COURT:   All right.    Let's get back to the

      24   Government, and I will point out y'all's estimate is not very

      25   accurate.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 63 of 125

                                                                          63


       1               MR. GYIRES:    Sorry, Your Honor.

       2               Miss Katrina, K-A-T-R-I-N-A, Varner, V-A-R-N-E-R.         I

       3   believe Miss Varner would like to speak, Your Honor.

       4               THE COURT:    Do you want these people under oath,

       5   Mr. Peacock?

       6               MR. PEACOCK:    I do, sir.

       7               THE COURT:    You do?

       8               MR. PEACOCK:    Yes, sir.

       9               THE COURT:    Let's have them then take the witness

      10   stand.

      11               THE COURTROOM DEPUTY:    Please raise your right hand.

      12                KATRINA VARNER, GOVERNMENT WITNESS, SWORN.

      13               THE COURTROOM DEPUTY:    Please state your full name

      14   for the record.

      15               THE WITNESS:    Katrina Varner.

      16                              DIRECT EXAMINATION

      17   BY MR. GYIRES:

      18   Q.   Good morning, ma'am.

      19   A.   Good morning.

      20   Q.   Who -- who is your daughter?

      21   A.   Rebecca Trader, the four-year-old.

      22   Q.   And did you prepare a statement you would like to read to

      23   the Court?

      24   A.   Yes.

      25               MR. GYIRES:    With the Court's permission, Your Honor.

                                Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 64 of 125

                                                                          64


       1   BY MR. GYIRES:

       2   Q.   Go ahead.

       3   A.   Your Honor and everybody in this courtroom, it has taken a

       4   lot of time and thinking exactly what I wanted to say.          My

       5   daughter, who is four years old, is a victim, but I'm the one

       6   hurting the most right now.      We are both victims.     She is

       7   physically the victim and, at this point in time, I'm

       8   emotionally the victim.

       9              Mr. Trader, who has recently signed his rights over,

      10   is the biological father of my daughter.        I am now a single mom

      11   of a four-year old daughter that has been sexually abused by

      12   her father.

      13              Him and I were together for just under six years and

      14   married for almost two.     I never would have imagined this would

      15   have happened to my daughter.      He has not only destroyed her

      16   innocence but both of our wellbeings.

      17              Yes, my daughter is the one that endured the abuse,

      18   but I'm the one going through all of the emotions and all the

      19   understanding of it.     My four-year-old does not comprehend what

      20   has been done to her.     Trying to teach her that what has been

      21   done to her is not okay and not right has been hard, especially

      22   since the last two years she has been taught by daddy that what

      23   daddy was doing was okay.      She doesn't understand why daddy is

      24   in jail for it.

      25              And when I have to look at her in the face as she

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 65 of 125

                                                                          65


       1   cries, it hurts even more all because I want her to understand

       2   so it is not as hard on myself, but at the same time, I remind

       3   myself hopefully she is young enough to forget it all.

       4              My daughter is in therapy once a week since July.

       5   She has been diagnosed with anger and PTSD.        She has come out

       6   in recent months telling stories about what has happened to

       7   her.   With these stories, she never refers to herself but

       8   always as a girl name Isabella having no eyes or mouth or

       9   having eyes and mouth and loves to lick.        In her mind, these

      10   are her scary stories, and she doesn't understand that she has

      11   been traumatized by all of this.       She just thinks she is making

      12   these stories up.

      13              Because of all of this, I have moved back in with my

      14   mother where my child has had to suffer more due to the tension

      15   between me and his family.      At times, she curls up in bed with

      16   me saying she has nightmares but won't tell me what those

      17   nightmares are.    She says they are too scary.

      18              She has trust issues with many people because she

      19   doesn't want people to leave her.       With me working, she feels

      20   mommy is going to leave her, but I reassure her every day mommy

      21   is not going anywhere and it is me and her against the world.

      22              I'm in therapy to help me with everything as well.          I

      23   go once or twice a week, depending on how bad my anxiety gets

      24   throughout the week.     It really depends on how much my daughter

      25   brings everything up.     Because of my anxiety and panic attacks,

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 66 of 125

                                                                          66


       1   I had to miss a lot of work.      I get too overwhelmed just by

       2   doing my everyday job.     I have the littlest things that trigger

       3   my anxiety but nothing specific.       I have left work.     I have

       4   called out and even taken off the first month-and-a-half after

       5   he was arrested due to not being able to handle the everyday

       6   tasks and to deal with the process of the federal

       7   investigation.

       8              Also, the bits of information I have found out over

       9   the last six months has made my days even harder for me.            I

      10   have come to terms with the fact that this does not end today

      11   when he is sentenced.     My daughter and I will have to face this

      12   for the rest of our lives.      I will always have things that

      13   remind me and bring me back to these horrible memories.             I

      14   also, one day, will have to explain this to my daughter when

      15   she gets to the point of asking questions.        It could be two

      16   years from now, or it could be ten years from now.         I can't

      17   tell the future, but either way, it's going to be a hard

      18   conversation.    And from that point on, she will know what

      19   happened to her.    That day is the day I dread because as much

      20   as I won't want to tell her, I know she will need to know the

      21   truth.

      22              I personally have my own trust issues.        I'm not

      23   comfortable leaving her with anybody, even people I trusted

      24   before.   I'm scared that it could happen to her again.         The man

      25   I trusted all of these years has betrayed me more than ever.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 67 of 125

                                                                          67


       1   All of these years he had me believing that everything that was

       2   being said about him doing these things were lies.         He was good

       3   at manipulating me to believe him, but not just me but

       4   everybody around him.

       5               Your Honor, if I could choose how long this man could

       6   be behind bars, it would be as long as I could possibly think

       7   of.    I got a phone call the day.     He got transferred because my

       8   guardian ad litem didn't have the right info and said he was

       9   released.    I panicked and cried.     My daughter's safety was the

      10   only thing on my mind, and I don't want to ever go through that

      11   again in my life.

      12               Please give my daughter and her sister the justice

      13   they deserve.    They have and will go through too much in their

      14   lives.

      15               I'm done.

      16               THE COURT:    Do you have any additional questions,

      17   Mr. Gyires?

      18               MR. GYIRES:    No, Your Honor.

      19               THE COURT:    Mr. Peacock, do you have questions?

      20               MR. PEACOCK:   No, sir.

      21               THE COURT:    Thank you, Miss Varner.

      22         (Witness excused.)

      23               MR. GYIRES:    The next witness would be Miss LeeAnn

      24   Drew, D-R-E-W.

      25                 LEEANN DREW, GOVERNMENT WITNESS, SWORN.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 68 of 125

                                                                          68


       1              THE COURTROOM DEPUTY:     Please state your full name

       2   for the Court.

       3              THE WITNESS:    LeeAnn Drew.

       4              Your Honor, I'm writing this statement on behalf of

       5   my daughter who is now only 11 years old.        I have alerted

       6   multiple agencies that Mr. Trader was abusing my daughter but

       7   was generally ignored.

       8              The abuse done by the hands of Mr. Trader has

       9   impacted my daughter in many different ways.        Some examples are

      10   many of the following.     She is scared of the dark.      She has

      11   night terrors where she wakes up screaming and crying.          She

      12   gets frustrated and angry, escalating to the point of her

      13   pulling out her hair while she is also screaming and crying.

      14              My daughter has been diagnosed with PTSD, mood

      15   disorder, and anxiety disorder.

      16              She has undergone extensive therapy and

      17   rehabilitation due to what Mr. Trader has put her through.            She

      18   currently receives comprehensive therapy sessions on a regular

      19   basis just to be able to function normally.

      20              Up until the point when she was informed that

      21   Mr. Trader was in jail, she was scared that he would come and

      22   take her away.    She was scared to go into any stores for fear

      23   of running into him or any of his family members, and she was

      24   so scared when driving with her, she would fall into a panic

      25   attack, hide on the floor of my car if she saw a car or a van

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 69 of 125

                                                                          69


       1   that looks like his.     One day, she thought she saw him in

       2   school, and she ran and hid in the bathroom all the while

       3   hysterically crying.

       4              Now that his secrets have been discovered, I'm very

       5   relieved; however, this has been such a terrible and difficult

       6   tragedy for me to handle alone, always trying to console my

       7   daughter in her time of angst.      It is so painful for me to deal

       8   by myself with her anger towards Mr. Trader and her related

       9   anxiety attacks.

      10              There are no words to describe my real feelings for

      11   what he has done to my daughter and her sister.         I just know he

      12   absolutely disgusts me.     The abuse that my daughter suffered at

      13   the hands of her father has left her scarred not only

      14   emotionally but mentally as well.

      15              She has an extremely hard time now understanding

      16   personal boundaries because of Mr. Trader's abuse.         She will

      17   never be able to regain her innocence or her childhood that he

      18   stole from her.    What he did is unforgivable in both her eyes

      19   and mine, and I'm amazed that he has gotten away with this

      20   abuse for so long given the amount of family members that

      21   reside in the house.     I'm very glad he got complacent.       A wise

      22   man once told me that given enough rope, a person will hang

      23   himself, and I'm glad he did exactly that.

      24              Mr. Trader will never know how terribly tragic this

      25   has been for my daughter.      First of all, because he was

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 70 of 125

                                                                          70


       1   supposed to be the man to love and protect her from evil like

       2   this; instead, he was a predator who used his own daughter as

       3   prey.    Second and last, because of his actions, this little

       4   girl would have to grow up without a father.

       5               Your Honor, I plead with you to give this man the

       6   maximum allowable sentence.      I plead for justice not only for

       7   my daughter but also for her sister and for any other children

       8   who have suffered.    This man will never change if he is ever

       9   allowed to reenter society.      I truly believe with all of my

      10   being he will just continue to traumatize and abuse little,

      11   innocent children.

      12               Thank you for your time and your consideration.         I'm

      13   done.

      14               THE COURT:    Mr. Gyires, do you have any additional

      15   questions?

      16               MR. GYIRES:    No, Your Honor.

      17               THE COURT:    Mr. Peacock?

      18               MR. PEACOCK:   No, sir.

      19               THE COURT:    All right.   Thank you, Miss Drew.

      20       (Witness excused.)

      21               MR. GYIRES:    The Government has no more evidence,

      22   Your Honor.    I did need to admit, per Mr. Peacock's request,

      23   just one exhibit.    It's Government's Exhibit 2.       He has looked

      24   at it.   It's chat messages that were in the PSR, and

      25   Mr. Peacock just requested that because the chats in the PSR

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 71 of 125

                                                                          71


       1   are shortened and edited for brevity, that we have the complete

       2   version in the record as well, which is also on the

       3   Government's disk, but Mr. Peacock is asking for it separately,

       4   so I have it marked, and I move to admit.

       5               MR. PEACOCK:   That's correct, Judge.      I believe we

       6   have an agreement between the parties that if there ever is a

       7   discrepancy between what is in the PSR and the exhibit, that

       8   the exhibit controls.

       9               MR. GYIRES:    Yes, Your Honor.

      10               THE COURT:    All right.   Two is admitted.

      11       (Evidence identified and admitted as Government's

      12       Exhibit No. 2.)

      13               MR. GYIRES:    And that's no more evidence from the

      14   Government, Your Honor.

      15               THE COURT:    All right.   Thank you.

      16               Mr. Peacock.

      17               MR. PEACOCK:   If I may, Judge.     I would like to call

      18   Shelly Trader.

      19               THE COURT:    Again, do the parties want her under

      20   oath?   We normally don't do that unless you all plan to ask

      21   questions, but it's up to you.

      22               MR. GYIRES:    If she is just reading something, then

      23   no but --

      24               MR. PEACOCK:   That's correct, Judge.

      25               MR. GYIRES:    That's fine.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 72 of 125

                                                                          72


       1              THE COURT:    She can do that then from the podium.

       2              MS. TRADER:    Good afternoon, Your Honor.

       3              THE COURT:    Good afternoon.

       4              MS. TRADER:    I am Scott Trader's mom, and I have a

       5   statement that I would like to read.       Hopefully, I'll be able

       6   to get through it.

       7              MR. PEACOCK:    Your Honor --

       8              MS. TRADER:    You will have to excuse me.

       9              MR. PEACOCK:    -- I did submit the letter to the Court

      10   as well.

      11              MS. TRADER:    Your Honor, thank you.      Okay.

      12              THE COURT:    I did read all of the letters, so if

      13   you --

      14              MS. TRADER:    No, I would like to.

      15              THE COURT:    Choose what you want to do.      You can

      16   either just speak or read it.

      17              MS. TRADER:    I have to read it.

      18              THE COURT:    All right.

      19              MS. TRADER:    This letter that I am reading -- writing

      20   now about my son Scott is very hard for me to do.         The person

      21   that you see is not the person that I know.

      22              A little over 32 years ago, I gave birth to my son --

      23   my second son, Scott.     Two years prior, I had given birth to my

      24   first son, Keith.    By all accounts, Keith was a normal child,

      25   but he did not meet his milestones.       After further testing, we,

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 73 of 125

                                                                          73


       1   his father Dennis and I, found out he was autistic.          Two years

       2   later, Scott came along, and my family would say:         How will you

       3   manage with a second child if he is autistic?

       4              My answer was, "I have Keith now, I'll have Scott,

       5   you just do it."

       6              Fortunately, Scott was a normal, healthy child; a

       7   beautiful, normal child.     Through their growing up years, Scott

       8   had taken the role of responsibility of the older brother

       9   showing and teaching Keith things that a brother would.             When

      10   he was a special needs child, everyone gets involved in his

      11   life and it's not easy.     As they grow older, Scott took more

      12   and more of a role of the big brother, helping in every way

      13   caring for his brother just like his father and I did.

      14              As years went on, his father and I always thought

      15   that Scott would be there for his brother when the time came

      16   that either we were no longer able to or we had passed on.

      17              Unless you were brought up in a family that has

      18   someone with special needs, you don't know what it entails.

      19   There are quirks and sounds and movements that his brother

      20   does.   There are ways that his brain thinks that only he

      21   understands, and he lives in a repetitive way:         Every day,

      22   everything the same, done the same way every day of his life.

      23              We never questioned that Scott would always be there

      24   for his brother's life to help him live.        We never thought of

      25   putting Keith in a home or even an institution during the

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 74 of 125

                                                                          74


       1   duration.    Scott has always been there for his brother, and I

       2   hope he will be there for him, if the time comes as when we are

       3   parents and no longer here.      Our extended family are all older

       4   and do not understand or know how to handle someone of this

       5   nature and probably will not be around in years to come.            We

       6   have raised him virtually on our own with little help from

       7   anyone else.

       8               After their father and I divorced, we remained a

       9   close-knit family working together for our children.          As Scott

      10   grew older, he started working, at age 16, working his way from

      11   part-time to full-time at the airport in New York, a job that

      12   he loved and that they liked his work ethic:        Always on time

      13   and never a problem.

      14               The time came in 2003 that the children and myself

      15   moved to Florida.    Their father stayed in New York; but, as

      16   parents, we still had a united front and were always a family.

      17               In 2007, I remarried, and that man has special needs

      18   too.   Scott's stepfather Leon is blind.       He has a degenerative

      19   eye disease, and he has been blind since the mid '90s.          Scott

      20   has accepted Leon into his life with no problem.         When needed,

      21   Scott helped him learn the roles that we had at each house that

      22   we had to live in and has always been there for him, making him

      23   food and helping him pick out his clothes to wear, when I was

      24   not able to.

      25               As time went on, Leon was diagnosed with bipolar one

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 75 of 125

                                                                          75


       1   and, within the last two years, has been diagnosed with

       2   dementia.    He has medication he takes throughout the day, every

       3   day.   If I wasn't able to or not home, Scott would see to it

       4   that Leon had his needs met and that his medicine was given.

       5               Between these years, Scott started working in

       6   Florida.    He had worked at two different call centers.        Each

       7   one, he worked his hours he needed; and if needed, he'd work

       8   more, if the company asked him to.

       9               To further advance himself, he worked for Wal-Mart

      10   and worked for the company for eight years.        He worked his way

      11   from truck and loader to department manager for housewares.

      12   Again, his work ethic was visible.       He did his work, never a

      13   problem and always on time.

      14               My health started deteriorating when I was diagnosed

      15   with severe cervical stenosis of the spine in 2012.          In October

      16   of that year, I had spine surgery.       I had two rods and screws

      17   put in my spine and a bracket and screws in my front neck.           The

      18   surgery took eight and half hours.       Had I not had the surgery,

      19   I would have been paralyzed within a few months.         Scott's

      20   father had come down to Florida from New York to help take care

      21   of the family and our two dogs.      Between the two of them, they

      22   made it work:    Bill paying, cleaning the house, food shopping

      23   and prep, taking care of Leon, Keith, and the pets, et cetera.

      24               Between the surgery and recuperation, it was nine to

      25   ten months.   Scott was there the whole time giving of himself.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 76 of 125

                                                                          76


       1   During that time, Scott's father Dennis had to go back to New

       2   York, so the sole responsibility was on Scott with the little

       3   help that I could do.

       4               In 2014, Scott's father was moving to Florida, so

       5   Scott and I flew to New York to help his father get things

       6   ready for the move.     We drove back to Florida with a truck, and

       7   Dennis stayed with us.     Dennis's health started to decline, and

       8   then he was diagnosed with severe arthritis and the joints of

       9   the knees, high blood pressure, and heart problems.          He is now

      10   on medication.    It was then decided by all of us that Dennis

      11   would continue to live with us since we all needed each other.

      12   The situation has worked out well for everyone.         Dennis,

      13   myself, Leon, Keith, and Scott have made it work with love and

      14   unity.

      15               Again, in 2016, my health declined having trouble

      16   walking.    The diagnosis was that I needed a full hip

      17   replacement.    In June of that year, I had my surgery.        It was

      18   six to eight months of recovery; and again, Scott was there for

      19   all of us.    I am able to walk now, not -- just not as good as

      20   before.    And most times, I walk with a cane so that I can keep

      21   steady and keep my balance.

      22               Now again, in 2017, I am having more health problems.

      23   I was diagnosed with lumbar spinal stenosis of the lower back

      24   in which I will need surgery again to put in rods and screws in

      25   all five vertebrae and that my spine will be fused.          The

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 77 of 125

                                                                          77


       1   details of this are being finalized and the surgery will be

       2   scheduled.   I know Scott will not be here since he will be

       3   incarcerated.

       4              To have you know this about my family dynamic is very

       5   important.   We are a family of love and compassion, and we will

       6   be there for each other until the very end.        I feel Scott has

       7   learned that there are consequences for our actions that we

       8   live in or daily lives.     I feel that my son can redeem himself

       9   with a -- and live a protective -- a productive life after

      10   incarceration living in the family house with his family by his

      11   side and with continued therapy -- I'm sorry.

      12              Only the man above knows how much time each of us

      13   have on this earth, but I hope my son will be able to see us

      14   before that times comes, since we are in our twilight years.           I

      15   know Scott's future is in his hands as well as lessons learned,

      16   and I know that his future is in your hands in terms of

      17   confinement and about the time given and served.

      18              That being said, having some knowledge of this

      19   family, as you have read this letter and heard this letter,

      20   hopefully gives you some insight of how important my son is --

      21   my son Scott is to this family and how much he is loved and

      22   needed.   Thank you for your time, Your Honor.

      23              THE COURT:    Thank you, Miss Trader.

      24              MR. PEACOCK:    Your Honor, I don't have any further

      25   evidence for the Court.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 78 of 125

                                                                          78


       1               THE COURT:    All right.   If you both want to present

       2   argument, go ahead.      I have read both of your papers, of

       3   course.

       4               Mr. Gyires, the Government seeks life imprisonment;

       5   is that right?

       6               MR. GYIRES:    Yes, Your Honor.

       7               THE COURT:    Do you want to present additional

       8   argument?

       9               MR. GYIRES:    Very briefly, Your Honor.

      10               I appreciate the Court's indulgence.       And I did

      11   file -- if the Court has read the sentencing memorandum, you

      12   know, I don't have a whole lot to add to that.         I just want to

      13   highlight that this case has -- is different than most, I

      14   think, in child exploitation cases because usually -- not

      15   always, usually the case involves maybe one victim or two

      16   victims or ten victims online, or something like that.          This

      17   defendant did just about everything you can -- not everything,

      18   but every category of things you can do in child exploitation.

      19   He did it to his own daughters.

      20               He went online and was preying on little girls

      21   online.   He recorded -- he didn't just abuse his children, he

      22   recorded it and stashed it, and hid it and kept it, and sent it

      23   to other adults; sent it to other minors as young as eight

      24   years old.    These images of his own daughters are going to be

      25   on the internet forever, and they are going to be traded

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 79 of 125

                                                                          79


       1   forever.   And the images of the 44 -- those are just the ones

       2   we found -- the 44 little girls who sent him naked images of

       3   exposing their genitalia, those images are going to be online

       4   forever.

       5              These girls, when they didn't send him more stuff, he

       6   threatened them saying, "I'm going to post into these chat

       7   rooms, these pictures, if you don't send me more."         And then

       8   when they didn't, he actually did it.       That's in the PSR.      He

       9   posted it in the chat room and took a screen shot of it, sent

      10   it back to the victims saying, this is what happens when you

      11   don't do what I say -- I'm paraphrasing -- and that's

      12   traumatizing.

      13              I mean, these little girls are going to grow up

      14   knowing that those images of them are out there.         And so the

      15   volume of stuff that he did and the different categories he did

      16   it:   The actual sexual abuse, the recording of that,

      17   distribution of it, receipt; he is involved with other adults,

      18   other minors.    He and his collection contained the most

      19   disturbing things that the agent and I have ever seen, and

      20   there is a lot of it.     It is not just like it was one video, it

      21   was a lot of it.    And he did all of this while fooling the

      22   court system.

      23              He was arrested once in 2012.       He was -- he somehow

      24   got a withhold adjudication, no -- not jail time, I don't

      25   think, or it was very short -- but so withhold adjudication for

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 80 of 125

                                                                          80


       1   possessing child pornography and allegations involving his

       2   older daughter, and so that was his break.        He should have

       3   stopped and said, "oh, my goodness, what am I doing, I need to

       4   stop."   Instead, he kept doing it; immediately, he went back to

       5   it.   And while a family court proceeding to determine what to

       6   do with his child custody was pending, he kept doing it.

       7              And he was evaluated by a psychologist who was fooled

       8   who said, "I don't think he is a danger to his kids or any

       9   other kid, and he was, meanwhile, online doing this stuff.           And

      10   then he is put on probation, and during that probation period,

      11   continues to do this stuff.

      12              Then he is arrested again for the same exact stuff in

      13   December of 2016, and he is let out on bond somehow,

      14   unimaginably let out on bond and continues to do it again.

      15   That's outrageous, Your Honor.      And so that's just one factor

      16   out of many.

      17              And if people engage in this sort of behavior in our

      18   society, they have to know they are doing it under the penalty

      19   of a life sentence, at least this amount of behavior;

      20   otherwise, I don't know what the criminal justice system is

      21   saying about how much we care about our children; and so, the

      22   only sentence that we feel is reasonable is a life sentence.

      23   Even if there is a chance that he won't do it again when he is

      24   out, that's not justice for the victims, and I don't buy that

      25   he is not going to do it again.      This is all he has done for

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 81 of 125

                                                                          81


       1   the past five years.

       2              He didn't have a job for four years because he was on

       3   probation.   He couldn't get a job.      He sat at home doing this

       4   all day long it seems like, so I don't -- I just don't know how

       5   a term of years would be -- would provide justice, Your Honor;

       6   and so that's what we are asking for in this case, Your.

       7              Honor.   Thank you.

       8              THE COURT:    All right.

       9              MR. PEACOCK:    Judge, I readily admit that emotions

      10   are a strong feeling, and there are a lot of emotions in this

      11   case.   And I sympathize with the Court having to separate the

      12   emotions from the reality and apply the law, but I suggest to

      13   you that emotion doesn't have any place in the law and that the

      14   Government's appeal to you, in this case, is primarily by

      15   tugging at the emotional strings.

      16              We are not here to say this is not a serious case.

      17   We are not here to say that these weren't terrible things that

      18   occurred; they were.     No one has ever said that.

      19              Mr. Trader has pled guilty.      He has accepted

      20   responsibility.     I believe he is going to speak to the Court.

      21   We understand the gravity of the situation, but we do implore

      22   the Court not to treat this case with emotion but to treat it,

      23   as it should be, under the law.

      24              In my memorandum, the first thing I pointed out was

      25   how unfairly these cases are scored under the guidelines.           By

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 82 of 125

                                                                          82


       1   scoring the guidelines, Mr. Trader came up with an offense

       2   level of 51 points; after acceptance, it was 48.

       3              Judge, if he had killed his victims, his offense

       4   level would have been a 40 after acceptance of responsibility.

       5   That's first degree murder.      I don't think the Government can

       6   sit here and say that Mr. Trader has committed a crime that

       7   equates with first degree murder.

       8              I listed the others:     Second degree murder,

       9   kidnapping, and sexual abuse of the victim with a firearm, and

      10   permanent bodily injury.     It doesn't come out anywhere near

      11   what the guidelines come out to on this case right here.            And

      12   that's what I think is the Court's obligation in considering

      13   the 3553 factors to sort of separate the wheat from the chaff

      14   and to come up with an unemotional but a legally-sound sentence

      15   in this case.

      16              And I don't need to tell you your job, Judge; of

      17   course, you know that, but I'm saying -- my point being is that

      18   the Government's recommendation of life is based on emotion and

      19   not based on sensibility.

      20              THE COURT:    Of course, the recidivism problem is

      21   different in the crimes you suggest than this one.         Basically,

      22   here, you pretty much depend on, I guess, the fact in

      23   Dr. Brannon's view that above 60, people don't act on their

      24   impulses which remain with them, apparently, for the rest of

      25   their lives in great number.      Isn't that pretty much what

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 83 of 125

                                                                          83


       1   Brannon has suggested?

       2              MR. PEACOCK:    I believe it is.

       3              THE COURT:    A cure of the desire is unlikely but that

       4   they are -- basically, age takes care of that.

       5              MR. PEACOCK:    I believe that is accurate, Your Honor,

       6   with the added part that I think Dr. Brannon testified that

       7   treatment can also have a effect.       In other words, enabling the

       8   person who suffers from pedophilia to recognize those

       9   situations and to be able to have mechanisms in place where

      10   they can respond to them.

      11              And I understand, I want to get to the dangerousness

      12   part, Your Honor, because I do think that's important, and I

      13   know that weighs heavy in the Court's decision.

      14              Mr. Trader suffers from pedophilia.        It's not

      15   something that he chose.     It's not something that he, you know,

      16   ordered.   It's something that he suffers from.        It is the way

      17   his brain is wired, and in my opinion, yes, the recidivism.

      18   I'm going to address that, the Court's inquiry; but, you know,

      19   if you compare it to something like first degree murder, you

      20   are not wired to do first degree murder.        You do first degree

      21   murder for a motive.

      22              He is wired this way.     He can't help that.      That's

      23   what he suffers from, and I think we have to be very careful

      24   that we acknowledge that it is a disease.        It is something that

      25   he has as a condition.     Now, is he allowed to act out on it?

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 84 of 125

                                                                          84


       1   No, he is not.    Is it horrendous to act out on it?       Yes, it is;

       2   it's terrible.    And is he going to get punished?       Yes, he is

       3   because I'm not going to come in here and ask the Court for

       4   some lighter sentence.     I know the Court is going to impose a

       5   very serious sentence in this case, but I think we have to

       6   always keep track of the fact that this is a disease that he

       7   suffers from, that it can be treated, but it is something that

       8   he didn't ask for.

       9               Getting to the Court's point, yes.      I think -- I

      10   mean, the best tools that we have, Your Honor -- and there is

      11   actually quite a bit of study on this -- is that this Static-99

      12   test will be able to predict within a certain percentage point

      13   what a person's future dangerousness is.        That's not his future

      14   dangerousness right now; but, then again, we are not asking the

      15   Court to release him right now.      We are asking the Court to

      16   release him when he is 60.

      17               So if he is released when he is 60, he is in a group

      18   of people that clinically are documented to have reoffended

      19   over a five-year period at I think it's 2.38 percent.

      20               I don't have my glasses on.     Sorry, 2.8 percent, Your

      21   Honor.    That's a low -- that's a low amount.      Even Mr. Gyires

      22   had to acknowledge, standing up here, that's a pretty low

      23   amount.   He is actually lower, at that point, because of

      24   the age dropoff.    And I'm not a psychologist, but I trust

      25   Dr. Brannon, and I trust psychologists who have studied it

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 85 of 125

                                                                          85


       1   clinically and performed studies that, once a person reaches 60

       2   years of age, the desire falls off.

       3              But, Your Honor, that's not all there is.         This Court

       4   has mechanisms on supervised release which can account for

       5   whether somebody is reoffending.       This Court has the ability to

       6   polygraph Mr. Trader when he is released.        In 30 years, we will

       7   probably have more telling instruments by that time.          But the

       8   point is, he will be supervised.       He will also be subject to

       9   further treatment if and when he is ever released, and that

      10   brings me to the point of BOP.

      11              Obviously, Mr. Trader is going to go into BOP

      12   custody, and BOP has some of the best sexual offender treatment

      13   programs that are available.      In fact, I'm going to ask Your

      14   Honor to recommend the sex offender management program at FCI

      15   in Marianna, Florida, where Mr. Trader's housing in this case.

      16   My understanding, that program is an intensive two-year program

      17   with treatment following up after that where the person engages

      18   in group sessions and single sessions with qualified

      19   psychologists.    They face their issues -- in this case, the

      20   pedophilia would be it -- and they learn those coping

      21   mechanisms, and they learn how to identify situations that

      22   would get them into problems if they encounter them in the

      23   future.   The Bureau of Prisons is very proud of that program.

      24              Your Honor, the Government has cited many cases where

      25   there have been very severe sentences.        In fact, one of them is

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 86 of 125

                                                                          86


       1   a sentence by Your Honor; but I went back and I read that

       2   transcript, and one of the Court's concerns was future

       3   dangerousness, and I don't think the defense presented anything

       4   to Your Honor in that regard in that sentencing.         I wanted to

       5   make sure that we did present something sound and structural to

       6   the Court in that regard, and Dr. Brannon's report, the

       7   treatment, the BOP situation, the monitoring after he is

       8   released on supervised release, I think all of those things

       9   went into the Court's concerns in that case.

      10              You know -- and I have cited cases where the Court

      11   didn't imply or didn't impose that high of a sentence, and the

      12   Court's read those and the Court is well aware of those cases.

      13   You have great discretion here, Your Honor, under the

      14   guidelines.

      15              Deterrence is an important factor in this case.

      16   Obviously, Mr. Trader will be very deterred.        It goes to future

      17   dangerousness, obviously.      I won't rehash that, but he will --

      18   Your Honor, if you sentence him in the area of 20 to 30 years,

      19   he will be deterred.     I don't think anyone can stand here

      20   before this Court and say that will not deter him.         I also

      21   don't think anyone could say it will not deter anyone else who

      22   thought twice about committing such an offense.

      23              Finally, Judge, Mr. Trader has accepted

      24   responsibility and has pled guilty in this case.         He waived his

      25   constitutional right to go to trial.       It seems to me that if

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 87 of 125

                                                                          87


       1   the Court imposed a life sentence in this case, the Court would

       2   not be acknowledging that he had accepted responsibility, that

       3   he had admitted his offense, and that he had forgone his right

       4   to trial and not required people to come and testify and put

       5   them through all of that, which he could have done and which

       6   people do all of the time.      But he didn't do that.     He accepted

       7   responsibility, and I do think he should get some credit in

       8   that regard, Your Honor.

       9              I'm asking the Court to impose a sentence of 336

      10   months.   That's 28 years.     He is 32.   He is a little over 32

      11   now.   That would make him 60.     That's what the psychological

      12   data shows where the risk dropoff occurs, and I think that's an

      13   appropriate sentence in this case, Judge.        That's 28 years.

      14   That's no light sentence.      That's a very serious, extremely

      15   sentence -- extremely serious sentence for a serious case.

      16              Thank you.

      17              THE COURT:    All right.    Thank you.

      18              Mr. Trader, do you wish to speak?        You are not

      19   required to, but I want to make sure you know you have the

      20   opportunity.

      21              THE DEFENDANT:    Yes, Your Honor.

      22              THE COURT:    Go ahead.    Pull the microphone over for

      23   him.   You can keep your seat, just do it there.

      24              THE DEFENDANT:    Your Honor, over the last 190 days, I

      25   have had the unfortunate opportunity to sit back helplessly and

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 88 of 125

                                                                          88


       1   watch as my life, the lives of everyone I have ever loved and

       2   cared about in family life has just been torn apart and

       3   destroyed by my actions.     There are no words that I can say

       4   that would ever be able to justify any choice that I have made

       5   that has brought me here today.

       6               While the Government and I do not agree on any of the

       7   accusations made against me and against my character, there is

       8   enough truth to them that I cannot stand here today without

       9   taking responsibility for my actions.       I would admit to

      10   anything I have ever done.      What I have done is inexcusable and

      11   enormously selfish.     The people I have hurt most deserve more

      12   from me.

      13               I wish I could have been a better son to my parents,

      14   and I wish I could have been a better husband to my wife, and I

      15   definitely wish I could have been a better father to my

      16   children, and friend to all of my friends.

      17               I am truly sorry to all of you in any way I have

      18   affected.    I wish I could take it all back, but I cannot.         All

      19   I can do now is reflect on my life and what I had, and what I

      20   have done, and what I have lost in order to make any changes to

      21   insure that this does not happen again.

      22               Please understand it was never my intention to hurt

      23   anyone.    That is not the kind of person that I am.       I am the

      24   kind of man that would do anything for anyone, to help anybody

      25   in need.    I do, however, make bad choices frequently, and I

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 89 of 125

                                                                          89


       1   understand now that what I have done has had unimaginable

       2   consequences far beyond what I ever thought possible.

       3               My children, my two amazing kids, have to grow up

       4   without a father.    My youngest will not even remember me while

       5   my oldest is left to be raised feeding off all of the hatred

       6   that her mother has for me, which is obviously learned

       7   behavior.    I'm going to miss their entire lives.       I will never

       8   know them.    In contrast, I was always involved in every aspect

       9   of their lives prior to this and not one decision was made

      10   without me.

      11               My wife -- my ex-wife, Katrina, the woman I love now

      12   as much as I did years ago, will eventually remarry.          She is

      13   the most amazing woman that anybody could ask for, and she will

      14   eventually have the life she deserves, the life I should have

      15   given her that I couldn't because I took it for granted.

      16               My mom, my dad, and my stepdad are all going to pass

      17   away, and I won't be able to attend their funeral.         There will

      18   be no more family moments, no more Christmas for me, and no

      19   more New Year's countdowns.      My dad and I won't ever watch a

      20   baseball game.    My mom and I will have lost our best friend in

      21   each other.

      22               My brother, who I was supposed to take care of since

      23   he can't take care of himself, will find himself in some

      24   government home, assuming there is one for someone like him,

      25   once my parents can no longer take care of him and pass away.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 90 of 125

                                                                          90


       1               I have always had a large amount of friends, some of

       2   which are here today, and they are good people who have always

       3   stuck by my side through thick and thin, and they are now gone.

       4   They are just a memory of a former life, and I can't say that I

       5   blame them.   I have let everyone down, and I'm sorry.

       6               My family and friendship to me is everything, so in

       7   reality, I suffered more than my heart can take, and I will

       8   continue to suffer the rest of my life.

       9               If I were to get out today, I wouldn't have anything

      10   that I care about left because it is all gone.         All I ever

      11   wanted was to be a father and a husband.        Not being either,

      12   that, to me, is a fate worse than prison and a fate worse than

      13   death.   That's why I stand here today.       I'm ashamed and I'm

      14   embarrassed, and I am at your mercy because whether I am

      15   sentenced to 30 years, 40 years, or life, the punishment that I

      16   have to live with, and that's a sentence worse than prison and

      17   worse than death to me.

      18               Once again, I am truly sorry to all of those affected

      19   by my actions, especially my family and more specifically my

      20   children.    I love them both, and I always will.       They are my

      21   world.

      22               Thank you.

      23               THE COURT:   Thank you, sir.

      24               All right.   Let me adopt the findings of the

      25   presentence investigation report with the exception --

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 91 of 125

                                                                          91


       1              I think, Mr. Peacock, you advised the probation

       2   officer paragraph 60 is the case last week, and so that's, I

       3   think, a one point addition to criminal history rather than

       4   two, but it doesn't affect the guidelines.

       5              MR. PEACOCK:    That's correct.

       6              THE COURT:    And so I -- please change paragraph 60

       7   appropriately.

       8              With that, the offense level is 43, the criminal

       9   history category is III, the advisory guideline is life.

      10              I have considered the advisory guidelines as well as

      11   the statutory factors and the arguments of Counsel.          Of the

      12   3553 factors, important are the nature -- serious nature of the

      13   offense, the characteristics nature of the offense, and the

      14   characteristics of the offender, and also the need to protect

      15   the public.

      16              Mr. Trader sexually molested his own children and at

      17   a very young age -- a two-year-old and a nine-year-old -- for

      18   an extensive period of time.      He sent child pornography, which

      19   he created, of his children to others.        He also communicated

      20   with over 100 minors, solicited child pornography from them,

      21   sent pornography to them; apparently, over 44 of them did send

      22   him pornography.    He sent child pornography to other adults.         I

      23   have no confidence that he will stop this behavior because he

      24   continued it while on bond from a state court proceeding and

      25   even while he was being evaluated by medical professionals who

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 92 of 125

                                                                          92


       1   he was, apparently, able to fool into believing he didn't

       2   present a threat to his children at the same time he was

       3   committing crimes against those children.

       4              And so for all of those reasons, I considered and I

       5   take seriously Mr. Peacock's arguments about the possibility

       6   that age may provide protection, but I -- given the history in

       7   this case, I'm not convinced of that.       I note he also, in a

       8   jail call, promised that he would kill his ex-wife and the

       9   mother of one of the victims.      And so for all of those reasons,

      10   it is the judgment of the Court, the defendant, Scott Joseph

      11   Trader, is committed to the Bureau of Prisons for life.             This

      12   term consists of life as to Count 1, 240 months of imprisonment

      13   as to each of Counts 2 and 3, and 360 months imprisonment as to

      14   each of Counts 4 and 5, all to be served concurrently.

      15              I recommend that, if qualified, he receive sex

      16   behavior treatment with the Bureau of Prisons.

      17              Since victims' losses are not yet ascertainable, I'll

      18   set a date for any determination of victims' losses not to

      19   exceed 90 days after sentencing.       I do note that given the

      20   sentence, it is unlikely that he will be able to pay

      21   restitution.

      22              It's also the finding of the Court the defendant is

      23   not able to pay a fine or the additional special assessment

      24   pursuant to 18 U.S. Code Section 3014(a)(3), and so neither a

      25   fine or additional special assessment will be imposed.

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 93 of 125

                                                                          93


       1              Despite the life sentence, I'm obligated to give a --

       2   to order supervised release in case things were to change in

       3   any event.

       4              So upon release from imprisonment, if that happens,

       5   the defendant shall be placed on supervised release for a term

       6   of life.   This term consists of life as to each of Counts 1

       7   through 5, for all such terms to run concurrently.         Within 72

       8   hours of release, the defendant shall report in person to the

       9   probation office in the district to which he is released.

      10   While on supervised release, the defendant shall not commit any

      11   crimes, shall be prohibited from possessing a firearm or other

      12   dangerous device, and shall not possess a controlled substance.

      13              In addition, he shall cooperate in the collection of

      14   DNA and comply with standard conditions of supervised release

      15   including the following special conditions:        Data encryption

      16   restriction, computer possession restriction, employer computer

      17   restriction, disclosure, mental health treatment, no contact

      18   with minors, no involvement in youth organizations, sex

      19   offender treatment, restriction from possession of sexual

      20   materials, the Adam Walsh Act search condition, and sex

      21   offender registration as noted in part G of the presentence

      22   report.

      23              The defendant's right, title, and interest to the

      24   phones and computer equipment identified in the plea agreement

      25   is hereby forfeited.     And has there been a preliminary order of

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 94 of 125

                                                                          94


       1   forfeiture in that?

       2              MR. GYIRES:    Yes, Your Honor, docket entry 25 dated

       3   October 20, 2017.

       4              THE COURT:    All right.    So that -- those materials

       5   are hereby forfeited.

       6              So the total sentence is life imprisonment,

       7   restitution to be determined, life supervised release, a $500

       8   special assessment.

       9              Now that sentence has been imposed, does the

      10   defendant or his counsel object to the Court's findings of fact

      11   or the manner in which sentence was pronounced?

      12              MR. PEACOCK:    Your Honor, we would preserve an

      13   objection subject to the reasonableness of the sentence, and I

      14   also have issue regarding the supervised release conditions.

      15              THE COURT:    All right.    Give me a second.

      16              Mr. Trader, you have a right to appeal the sentence

      17   imposed.   Any notice of appeal must be filed within 14 days.

      18   Failure to file a notice within that period would constitute a

      19   waiver of your right to appeal.

      20              THE COURT:    Go ahead, Mr. Peacock.

      21              MR. PEACOCK:    Thank you, Your Honor.

      22              THE COURT:    And also, you suggest that Marianna and

      23   the sexual behavior treatment.      Given the sentence, is that

      24   still where you would -- you want me to recommend he be

      25   incarcerated?

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 95 of 125

                                                                          95


       1              MR. PEACOCK:    Yes, sir.

       2              THE COURT:    There are probably places closer to

       3   family.

       4              MR. PEACOCK:    There are not, sir.

       5              THE COURT:    All right.    So your recommendation is

       6   North Florida and receipt of the sexual behavior treatment.

       7              MR. PEACOCK:    Right.   I did some research in it.        The

       8   sex offender management programs are throughout the United

       9   States.   The one that's closest to us is in Marianna, Florida,

      10   at FCI.

      11              THE COURT:    All right.    I'll recommend that.

      12              MR. PEACOCK:    Judge, with regard to the special

      13   condition of supervised release, just so that -- you had

      14   indicated no contact with minors.       In the PSI, it says "no

      15   contact with minors or victims."       Theoretically, of course, in

      16   this case, it could get to a point where one of the victims is

      17   an adult and wants to have contact with Mr. Trader but she

      18   would not be allowed to, if the Court imposed that victim

      19   restriction.

      20              THE COURT:    Well, if any of the victims would like to

      21   be in touch with him, I have no objection to that.         The -- but

      22   I think its got to be at their initiation.

      23              MR. PEACOCK:    I understand, sir.     That's fine.

      24   That's all, Your Honor.

      25              THE COURT:    Okay.   All right.    Thank you all.       Good

                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM Document 56 Entered on FLSD Docket 01/31/2018 Page 96 of 125

                                                                          96


       1   luck to you, sir.

       2   (PROCEEDINGS ADJOURNED AT 12:16 p.m.)

       3                           C-E-R-T-I-F-I-C-A-T-E

       4                 I hereby certify that the foregoing is

       5         an accurate transcription and proceedings in the

       6         above-entitled matter.

       7
           1/26/2018                     /s/DIANE MILLER
       8    DATE                      DIANE MILLER, RMR, CRR, CRC
                                      Official Court Reporter
       9                              United States District Court
                                      701 Clematis Street, Room 259
      10                              West Palm Beach, FL 33401
                                      561-514-3728
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                               Thursday, December 7, 2017.
Case 2:17-cr-14047-DMM
      USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                       97 FLSD Docket 01/31/2018 Page 97 of 125
                                      70/13 70/16 70/18 71/9 15 [1] 5/16
                                      71/14 71/18 71/25 72/2 15-second [2] 12/9
        BY MR. GYIRES: [16]
                                      72/11 72/14 72/17       12/12
        9/3 9/23 11/14 12/4
                                      77/22 77/25 78/6 81/7 16 [2] 28/17 74/10
        13/7 14/2 14/12 25/17
        34/5 35/12 37/13 40/10        82/19 83/2 87/16 87/21 16-minute [1] 33/12
                                      90/22 91/5 94/3 94/14 16-second [1] 15/6
        40/13 53/3 63/16 63/25
                                      94/19 94/21 95/1 95/4 1659 [1] 28/17
        BY MR. PEACOCK: [7]
                                      95/10 95/19 95/24      17 [1] 24/23
        41/13 42/7 42/23 45/5
        46/10 46/16 62/1              THE COURTROOM DEPUTY: 17-14047 [1] 3/4
        MR. GYIRES: [42] 3/5          [6] 7/9 8/4 8/15       17-14047-CR-MIDDLEBROOK
        4/4 5/1 6/3 6/9 6/19          63/10 63/12 67/25      S [1] 1/2
        6/22 7/4 7/6 8/2 8/10         THE DEFENDANT: [2]     18 [7] 11/4 11/13 16/2
        8/12 8/18 8/21 8/23           87/20 87/23             21/5 60/24 61/2 92/24
        9/22 34/4 35/10 37/6          THE WITNESS: [11]      19 [4] 11/4 11/12 12/2
                                      13/24 14/10 41/11       16/24
        37/9 40/23 41/6 42/4
                                      43/21 44/10 44/14      190 [1] 87/24
        43/19 43/24 44/3 44/19
                                      44/17 61/19 62/18      1st [2] 39/6 39/7
        46/7 61/17 62/25 63/24
                                      63/14 68/2
        67/17 67/22 70/15                            2
        70/20 71/8 71/12 71/21 $                     2.38 [1] 84/19
        71/24 78/5 78/8 94/1 $500 [1] 94/7           2.8 [9] 51/5 51/17
        MR. PEACOCK: [59] 3/9                         51/19 52/1 52/9 56/2
        3/16 4/5 4/9 4/14 4/19 '                      56/16 56/17 84/20
        4/22 5/14 5/23 7/2 7/8 '90s [1] 74/19        20 [6] 5/7 11/4 13/2
        7/13 7/20 8/14 8/17                           13/3 86/18 94/3
        9/20 33/25 34/14 34/18 /                     20-second [1] 15/17
        34/21 37/4 37/7 41/2 /s/DIANE [1] 96/7       2003 [2] 9/10 74/14
        41/5 42/6 42/21 43/17                        2007 [3] 61/9 61/13
        44/5 44/9 44/11 44/15 1                       74/17
        44/22 45/3 46/5 46/12 1/26/2018 [1] 96/7     2010 [2] 9/16 61/5
        52/25 61/24 62/16      1/27/17 [1] 24/23
                                                     2011 [1] 9/18
        62/20 63/5 63/7 67/19 10 [2] 5/16 16/20      2012 [8] 36/3 36/9
        70/17 71/4 71/16 71/23 10-second [1] 32/1     37/18 37/24 37/25
        72/6 72/8 81/8 83/1    100 [5] 35/20 57/20
                                                      54/23 75/15 79/23
        83/4 91/4 94/11 94/20 59/3 59/6 91/20        2013 [8] 23/9 36/14
        94/25 95/3 95/6 95/11 108 [1] 23/3            37/1 38/3 38/10 38/11
        95/22                  11 [2] 16/20 68/5
                                                      38/19 55/2
        MS. TRADER: [7] 72/1 12 [6] 16/6 16/10       2014 [3] 15/23 16/22
        72/3 72/7 72/10 72/13 28/13 28/14 28/16       76/4
        72/16 72/18             31/16
                                                     2015 [2] 26/4 37/22
        THE COURT: [82] 3/1 125 [1] 1/7              20150412  [1] 19/15
        3/8 3/12 3/17 4/7 4/13 126 [1] 18/4          2016 [6] 16/24 26/5
        4/17 4/20 4/24 5/12    12:16 [1] 96/2
                                                      26/6 38/21 76/15 80/13
        5/19 6/2 6/7 6/14 6/20 12:30 [1] 30/18       2017 [6] 1/4 16/2
        7/3 7/5 7/16 7/22 8/11 12th [1] 46/4          24/10 46/4 76/22 94/3
        8/16 8/20 8/22 8/25    13 [4] 16/13 28/12
                                                     2018 [1] 96/7
        34/3 34/16 34/19 35/6 28/13 28/14            21 [7]   11/4 12/25 13/2
        35/11 37/10 40/25 41/4 14 [4] 17/2 17/3 28/14 13/12 13/19 13/21
        41/9 42/5 43/18 43/20 94/17                   13/23
        43/23 44/2 44/7 45/1 14-second [6] 13/4      21st [1] 16/22
        46/8 46/15 61/16 61/22 13/13 13/25 16/11     22 [4]   11/4 12/25 13/2
        62/17 62/22 63/3 63/6 16/16 17/13             13/23
        63/8 67/15 67/18 67/20 14047 [1] 3/4         22nd [1] 30/16

                                                 12/7/17
Case 2:17-cr-14047-DMM
      USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                       98 FLSD Docket 01/31/2018 Page 98 of 125
       2                             561-514-3728 [2]       1/24
                                                      70/10 78/21 79/16 82/9
                                      96/10          abused [4] 15/22 16/22
       23 [1] 15/23
                                                      54/5 64/11
       231940 [1] 19/16      6                       Abusers [1] 50/3
       240 [1] 92/12         60 [26] 50/24 51/3      abusing [2] 10/22 68/6
       24th [1] 30/17         51/13 51/22 52/7 52/9 acceptance [3] 3/22
       25 [2] 61/6 94/2       55/20 55/25 56/1 56/2 82/2 82/4
       259 [1] 96/9           56/7 57/15 57/24 58/4 accepted [8] 47/11
       26 [1] 24/10           58/5 58/11 58/13 58/25 62/3 62/8 74/20 81/19
       28 [2] 87/10 87/13     60/7 82/23 84/16 84/17 86/23 87/2 87/6
       285 [1] 18/18          85/1 87/11 91/2 91/6 access [3] 25/10 52/12
       3                     62 [1] 2/9               52/15
                             63 [1]  2/11            accessibility  [1]
       3,000 [1] 22/19
                             68 [1]  2/13             48/16
       30 [4] 17/12 85/6
        86/18 90/15          7                       accomplish  [1] 6/13
       30-second [1] 34/11                           according  [1]  36/2
                             701 [2] 1/23 96/9       account [2] 58/6 85/4
       3014 [1] 92/24        72 [2] 2/14 93/7
       31 [2] 36/20 36/21                            accounted [4] 56/8
       31st [1] 39/7         8                        58/16 58/17 58/21
       32 [3] 72/22 87/10                            accounts [1] 72/24
                             8-second [1] 25/1
        87/10                                        accurate [3] 62/25
                             81 [1] 23/14
       33401 [4] 1/16 1/19                            83/5 96/5
                             8:09:06 [1] 24/12
        1/24 96/10                                   accusations [1] 88/7
       336 [1] 87/9          9                       acknowledge [2] 83/24
       3553 [2] 82/13 91/12 90 [1] 92/19              84/22
       360 [1] 92/13         99 [1] 84/11            acknowledging  [1] 87/2
       3728 [2] 1/24 96/10   99R [8] 50/8 50/11      act [5] 48/5 82/23
                              50/18 51/1 51/4 51/7    83/25 84/1 93/20
       4                      62/3 62/13             acting [2] 48/7 49/8
       4/22/16 [1] 28/17     9:19 [1] 24/23          actions [5] 70/3 77/7
       40 [3] 24/23 82/4                              88/3 88/9 90/19
        90/15                A                       activity [1] 24/18
       400 [1] 1/15          A-B-D [1] 26/24         actual [4] 23/11 56/6
       40330 [2] 15/13 15/17 A-S-H-L-E-Y [1] 26/3     59/19 79/16
       407 [2] 33/9 33/11    a.m [1] 30/18           actually [15] 17/3
       408 [1] 18/4          ability [3] 27/13        17/20 20/9 29/25 51/8
       41 [1] 2/5             52/17 85/5              51/9 53/16 54/19 54/21
       41-second [1] 33/12   able [21] 23/11 24/7     56/5 56/14 59/18 79/8
       410 [1]  33/9          48/17 48/18 50/20 66/5 84/11 84/23
       429 [1] 25/16          68/19 69/17 72/5 73/16 actuarial [4] 50/8
       43 [1] 91/8            74/24 75/3 76/19 77/13 56/5 57/4 57/9
       44 [5]  20/20 57/21    83/9 84/12 88/4 89/17 ad [1] 67/8
        79/1 79/2 91/21       92/1 92/20 92/23       Adam [1] 93/20
       443 [1] 34/9          above [6] 13/15 24/4 add [1] 78/12
       45 [1] 2/7             57/8 77/12 82/23 96/6 added [1] 83/6
       450 [1] 1/18          above-entitled [1]      addition [2] 91/3
       48 [1] 82/2            96/6                    93/13
       4th [1] 36/9          absolutely [3] 6/23     additional [6] 56/24
                              60/15 69/12             67/16 70/14 78/7 92/23
       5                     abuse [13] 18/13 18/17 92/25
       51 [1] 82/2            54/16 55/6 64/17 68/8 address [2] 48/11
       52898 [1] 14/17        69/12 69/16 69/20       83/18
       53 [1] 2/8

                                                 12/7/17
Case 2:17-cr-14047-DMM
      USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                       99 FLSD Docket 01/31/2018 Page 99 of 125
       A                        60/24 61/2 61/6 74/10 Although [1] 48/10
                                83/4 84/24 85/2 91/17 always [18] 30/10
       addressing [1] 49/19
                                92/6                         30/10 65/8 66/12 69/6
       adequate [1] 45/22
                               agencies [1] 68/6             73/14 73/23 74/1 74/12
       ADJOURNED [1] 96/2
                               agent  [12]    2/3  3/7  3/8  74/16 74/22 75/13
       adjudge [1] 3/19
                                8/24 9/1 9/8 9/11 9/22 78/15 84/6 89/8 90/1
       adjudication [3] 36/8
                                10/3 41/2 41/15 79/19 90/2 90/20
        79/24 79/25
                               aggressively    [1] 34/13 am [16] 5/11 44/15
       adjust [2] 47/25 48/11
                               ago  [2]   72/22 89/12        49/11 54/18 64/10 72/4
       adjustment [1] 46/18
                               agree [1]     88/6            72/19 76/19 76/22 80/3
       administer [1] 9/1
       admit [6] 6/25 6/25     agreement [3] 3/22            88/17 88/23 88/23
        70/22 71/4 81/9 88/9    71/6  93/24                  90/14 90/14 90/18
                               ahead  [24]    4/17  6/3     amazed [1] 69/19
       admitted [7] 7/6 7/8
                                10/24 12/2 12/25 13/23 amazing [2] 89/3 89/13
        46/9 46/10 71/10 71/11
                                14/9 15/13 16/4 16/13 AMERICA [1] 1/3
        87/3
                                17/12 18/2 23/22 24/3 amount [5] 69/20 80/19
       adopt [2] 3/18 90/24
                                24/14 26/14 30/9 32/25 84/21 84/23 90/1
       adult [3] 26/12 59/21
                                33/17 41/10 64/2 78/2 amounts [1] 33/2
        95/17
                                87/22 94/20                 analysis [1] 15/23
       adults [7] 21/3 25/24
        59/21 59/23 78/23      airport [1]     74/11        anger [2] 65/5 69/8
        79/17 91/22            Alabama [2] 32/11            angry [1] 68/12
                                32/18                       angst [1] 69/7
       advance [1] 75/9
                               alerted [1]     68/5         Anna [1] 32/22
       advanced [1] 9/19
       advised [1] 91/1        allegations [7] 36/5 another [10] 15/17
                                36/6 38/20 38/24 54/19 16/4 16/14 27/1 28/1
       advisory [2] 91/9
                                54/24 80/1                   32/4 32/5 32/9 32/25
        91/10
                               allowable [1] 70/6            61/24
       affect [2] 56/1 91/4
                               allowed   [4]   37/3 70/9 answer [2] 57/1 73/4
       affected [2] 88/18
        90/18                   83/25 95/18                 anticipate [1] 5/15
       affidavit [2] 53/19     almost [4] 16/20 31/9 anxiety [6] 46/19
                                37/10 64/14                  65/23 65/25 66/3 68/15
        56/21
                               alone  [1]    69/6            69/9
       AFPD [1] 1/17
                               along [1]     73/2           anybody [5] 50/6 55/8
       after [15] 7/1 27/10
                                                  3/7        66/23 88/24 89/13
        38/4 38/8 51/18 61/8 Alongside [1]
                               alphanumeric    [1]    15/15 anyone [7] 60/17 74/7
        66/4 72/25 74/8 77/9
        82/2 82/4 85/17 86/7 already [5] 21/21 22/5 86/19 86/21 86/21
                                58/16 58/17 58/21            88/23 88/24
        92/19
                               also  [45]    3/11  3/20     anything [8] 5/11 6/16
       afternoon [4] 53/5
                                5/16 7/24 8/3 8/9 9/19 30/13 40/22 86/3 88/10
        53/7 72/2 72/3
                                9/20 10/14 12/3 12/12 88/24 90/9
       again [23] 6/17 14/9
                                13/3 13/3 13/13 13/25 anywhere [2] 65/21
        14/14 27/7 29/7 31/18
                                16/14 17/13 17/24            82/10
        48/21 56/18 66/24
        67/11 71/19 75/12       19/24 28/12 28/12           apart [1] 88/2
        76/15 76/18 76/22       32/10   32/18  33/1   41/7  app [1] 30/7
                                41/20 43/14 46/21           apparently [8] 4/21
        76/24 80/12 80/14
        80/23 80/25 84/14       48/15   54/18  61/9   66/8   6/15 16/11 17/14 45/3
                                66/14 68/13 70/7 71/2 82/24 91/21 92/1
        88/21 90/18
                                83/7 85/8 86/20 91/14 appeal [5] 3/23 81/14
       against [4] 65/21 88/7
        88/7 92/3               91/19 92/7 92/22 94/14 94/16 94/17 94/19
                                94/22                       appear [4] 7/11 7/12
       age [19] 21/5 27/16
        28/21 50/24 51/3 51/12 alternative    [1]   48/13    7/12 14/15
        51/13 51/22 58/4 58/13 alternatives    [1]    48/10 appearances  [2] 1/13


                                                 12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        100FLSD Docket 01/31/2018 Page 100 of 125
        A                        56/24 66/15 71/3 81/6 B-R-A-N-N-O-N [1] 45/8
                                 84/14 84/15 87/9            babe [1] 28/10
        appearances... [1] 3/5
                                asks  [1]   24/12            baby [3] 27/8 27/9
        appeared [2] 20/12
         44/9                   asleep [4] 16/11 16/16 28/3
                                 17/14 30/23                 bad [2] 65/23 88/25
        appearing [1] 7/11
                                aspect  [1]    89/8          balance [1] 76/21
        appears [2] 17/5 25/2
        appellate [1] 6/22      assessing [1] 62/12          ballpark [1] 39/10
                                assessment   [11]    45/19 bar [1] 24/5
        applications [1] 20/10
                                 50/5 50/6 50/20 55/21 bars [1] 67/6
        apply [1] 81/12
                                 55/23 56/5 57/9 92/23 baseball [1] 89/20
        appreciate [1] 78/10
                                 92/25 94/8                  based [8] 12/18 53/8
        appropriate [1] 87/13
                                assessments    [2]   50/10    55/22 58/5 62/14 62/15
        appropriately [1] 91/7
                                 57/5                         82/18 82/19
        approximate [1] 23/6
                                associated [3] 11/9          basic [1] 9/17
        approximately [16]
                                 15/1 19/1                   basically [4] 32/15
         12/9 12/12 13/4 13/13
                                Association    [1]   50/3     60/12 82/21 83/4
         14/15 14/16 15/6 15/17
         16/10 16/16 16/18      assuming [3] 50/22           basis [1] 68/19
                                 51/22 89/24                 bathroom [2] 25/3 69/2
         17/13 20/3 20/11 25/1
                                assumption   [2]    52/11 battery [4] 60/25 61/1
         25/2
                                 52/14                        61/5 61/9
        apps [1] 20/8
                                attach [1] 10/14             BEACH [6] 1/5 1/16
        April [3] 36/3 37/24
                                attack  [1]    68/25          1/19 1/24 44/13 96/10
         37/25
                                attacks [2]     65/25   69/9 beastiality [1] 33/7
        are okay [1] 8/8
        area [3] 19/4 30/22     attempt [1] 48/4             beautiful [1] 73/7
                                attempted   [1]    50/7      become [1] 56/8
         86/18
                                attend  [1]    89/17         bed [9] 15/18 16/11
        areas [3] 47/19 48/15
         48/15                  attended [2] 9/16 9/18 16/12 16/17 17/4 17/14
                                Attorney [1] 1/15             19/4 34/12 65/15
        aren't [1] 30/23
                                audible   [1]   40/15        bedroom [2] 31/1 31/17
        argument [5] 5/8 40/25
         50/22 78/2 78/8        audience [1] 7/18            before [15] 1/10 3/11
                                audio  [5]    8/4 8/20        6/2 27/18 27/24 34/16
        argumentive [1] 42/5
                                 8/20 40/10 40/13             38/9 38/12 39/9 39/25
        arguments [2] 91/11
                                August [1]     46/4           44/25 66/24 76/20
         92/5
                                AUSA [1] 1/14                 77/14 86/20
        around [4] 8/10 8/18
                                Australian   [2]    1/15     beginning  [2] 11/10
         67/4 74/5
                                 1/18                         28/16
        arrest [2] 37/18 39/9
        arrested [15] 12/18     authorities [1] 53/20 begins [2] 15/4 24/10
         26/2 26/12 32/9 36/2 autistic [2] 73/1 73/3 behalf [2] 3/11 68/4
                                                   6/18      behavior [14] 47/25
         36/3 37/25 38/19 39/3 available [4]
                                 22/9 44/14 85/13             48/4 49/1 49/3 49/6
         54/23 61/1 61/1 66/5
                                Avenue  [2]    1/15 1/18      61/8 62/11 80/17 80/19
         79/23 80/12
                                average   [2]   51/9 56/11 89/7 91/23 92/16 94/23
        arthritis [1] 76/8
        ascertainable [1]       awake [1] 28/7                95/6
         92/17                  aware  [7]    54/2  55/3     behaviors  [4] 47/25
                                 55/4 55/13 55/13 61/3 48/9 48/9 48/13
        Ash [3] 12/14 12/16
         12/21                   86/12                       behind [1] 67/6
        ashamed [1] 90/13       away [5] 7/17 68/22          believe [15] 16/20
                                 69/19 89/17 89/25            26/23 26/24 29/19
        Ashley [6] 12/17 25/22
         25/24 26/2 26/2 26/12 B                              43/13 43/14 43/14
                                                              44/16 63/3 67/3 70/9
        asked [3] 28/7 29/16 B-C [1] 28/19
         75/8                                                 71/5 81/20 83/2 83/5
                                B-E-N-I-T-E-Z [1]            believing  [2] 67/1
        asking [9] 24/12 55/23 23/21

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        101FLSD Docket 01/31/2018 Page 101 of 125
        B                       44/19 44/24 44/25 45/7 89/23 90/4
                                45/8 45/9 45/14 46/12 cane [1] 76/20
        believing... [1] 92/1
                                53/1 62/3 62/18 83/1 cannot [2] 88/8 88/18
        belong [1] 50/2
                                83/6 84/25                 car [2] 68/25 68/25
        below [2] 51/9 56/11
                               Brannon's    [3]   4/7      card [2] 10/11 10/12
        Benitez [2] 23/17
                                82/23 86/6                 cards [3] 10/9 10/10
         23/19
        besides [1] 5/14       break [5] 7/21 8/2           17/24
                                30/16 51/6 80/2            care [8] 75/20 75/23
        best [4] 47/1 84/10
                               breasts   [1]    31/6        80/21 83/4 89/22 89/23
         85/12 89/20
        betrayed [1] 66/25     brevity [1] 71/1             89/25 90/10
                                             2/3 3/8 5/4 cared [1] 88/2
        better [6] 18/7 44/6 BRIAN [6]
         49/18 88/13 88/14      9/2  9/6  53/19            careful [1] 83/23
         88/15                 brief  [1]    34/5          caring [1] 73/13
                               briefly [8] 12/7 32/5 case [46] 1/2 3/3 3/4
        between [10] 26/11
                                40/16 41/6 46/23 48/6 3/7 10/3 10/3 19/9
         28/21 37/24 39/20
                                51/6 78/9                   34/24 35/9 36/12 36/15
         65/15 71/6 71/7 75/5
         75/21 75/24           bring [1] 66/13              37/8 38/25 39/2 39/3
                               brings   [2]   65/25 85/10 39/3 40/15 42/10 47/18
        beyond [1] 89/2
        big [2] 6/14 73/12     brother [8] 73/8 73/9 53/6 53/9 53/24 57/14
                                73/12 73/13 73/15           62/12 78/13 78/15 81/6
        bigger [1] 23/25
                                73/19 74/1 89/22            81/11 81/14 81/16
        Bill [1] 75/22
                               brother's    [1]   73/24     81/22 82/11 82/15 84/5
        biological [1] 64/10
                               brought [2]      73/17 88/5  85/15 85/19 86/9 86/15
        bipolar [1] 74/25
                                              23/24         86/24 87/1 87/13 87/15
        birth [2] 72/22 72/23 bubble [1]
                               bubbles   [1]    24/4        91/2 92/7 93/2 95/16
        bit [4] 23/25 39/2
                               Bureau   [6]   49/9 49/12 case-related [1] 47/18
         46/14 84/11
                                52/17 85/23 92/11          cases [7] 10/1 35/21
        bits [1] 66/8
                                92/16                       78/14 81/25 85/24
        blame [1] 90/5
                               busy  [1]    29/11           86/10 86/12
        blind [2] 74/18 74/19
        blood [1] 76/9         buttocks [1] 25/5           categories [3] 57/2
                               buy  [1]   80/24             60/19 79/15
        bodily [1] 82/10
                                                           category [4] 32/25
        body [2] 19/7 25/4     C                            52/2 78/18 91/9
        bond [7] 39/12 39/13 C-E-R-T-I-F-I-C-A-T-E
         39/16 55/17 80/13                                 caught [1] 31/9
                                [1] 96/3                   CD [4] 6/4 7/7 18/19
         80/14 91/24           California [2] 12/18         21/17
        boobies [1] 29/11       29/18
        book [1] 47/9                                      cell [1] 21/20
                               call [9] 5/21 39/19         cellphones [3] 10/8
        bookmarked [5] 11/8     40/3 40/9 41/17 67/7        10/10 10/13
         21/25 22/10 22/12 23/3 71/17 75/6 92/8
        BOP [4] 85/10 85/11                                centers [1] 75/6
                               called [9] 11/2 11/6 certain [4] 53/9 56/15
         85/12 86/7             14/21 17/18 18/20 48/8 56/15 84/12
        both [10] 15/14 17/10 50/2 50/8 66/4
         47/11 54/5 64/6 64/16 calling [2] 4/21 7/4 certainly [6] 47/19
         69/18 78/1 78/2 90/20 calls [3] 3/22 3/23          47/24 49/15 49/19
                                                            54/21 57/23
        bottom [2] 19/18 24/15 39/20
        boundaries [1] 69/16 cam [1] 27/2                  certify [1] 96/4
        box [1] 7/12                                       cervical [1] 75/15
                               came [5] 42/10 73/2         cetera [1] 75/23
        bracket [1] 75/17       73/15 74/14 82/1           chaff [1] 82/13
        brain [2] 73/20 83/17 camera [1] 25/13
                                                                      7/25
        BRANNON [24] 2/6 4/1 can't [12] 6/22 7/23 chair [1]
         4/21 5/14 5/15 5/21                               chance [2]   56/2 80/23
                                26/22 27/9 29/15 29/16 change [6] 3/15 48/1
         5/23 44/7 44/9 44/10   49/2 49/6 66/16 83/22

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        102FLSD Docket 01/31/2018 Page 102 of 125
        C                       chooses [1] 35/8             20/10
                                chose  [1]    83/15         communications    [6]
        change... [4] 48/4
                                Christmas   [1]    89/18     20/3 20/9 21/2 21/4
         70/8 91/6 93/2
                                Circuit [1] 6/19             57/20 58/14
        changes [1] 88/20
                                cited  [2]    85/24  86/10  company  [2] 75/8 75/10
        character [1] 88/7
                                clarify   [1]   53/23       compare  [1] 83/19
        characteristics [2]
         91/13 91/14            classification [2]          compassion [1] 77/5
                                 47/12 52/2                 complacent [1] 69/21
        characterize [1] 44/21
                                cleaning   [1]   75/22      complaint [3] 53/12
        charge [1] 39/14
                                              35/20  47/4    53/18 56/21
        charged [2] 3/19 35/24 clear [2]
        charges [1] 55/6        clearly [1] 47/20           complete [1] 71/1
                                Clematis   [2]   1/23  96/9 complied [1] 35/4
        chat [24] 14/25 15/1
         15/2 15/3 15/5 22/11   click  [3]    11/6  23/19   comply [2] 60/5 93/14
                                 23/23                      comprehend [1] 64/19
         23/18 23/23 24/8 24/10
                                Clicking   [1]   24/7       comprehensive [5]
         24/17 24/17 26/6 28/11
                                clinical   [1]   48/22       49/17 49/18 49/19
         28/16 30/16 32/8 32/8
         32/12 32/15 32/20      clinically [2] 84/18         49/21 68/18
                                 85/1                       computations   [1] 35/4
         70/24 79/6 79/9
                                clip  [1]   32/1            computer  [11]    6/7 9/16
        chats [22] 14/21 14/22
         21/18 22/10 22/12      clit [2]    27/22   28/4     9/17  9/19  9/19  9/22
                                              19/16 74/9     10/18 20/8 93/16 93/16
         22/19 23/3 23/9 23/14 close [2]
                                close-knit   [1]    74/9     93/24
         23/15 24/21 25/22
         25/23 26/1 26/1 26/5 close-up [1]       19/16      computers [3] 3/24
                                               95/2          10/10 10/14
         26/5 26/10 32/4 32/22 closer [1]
                                closest   [1]   95/9        concern  [1] 6/12
         38/10 70/25
                                clothes   [2]   28/23       concerned   [2] 6/10
        chatting [1] 22/14
                                 74/23                       59/19
        child [53] 6/5 9/25
                                cock  [1]   27/5            concerns  [2] 86/2 86/9
         11/24 12/10 12/20
         12/22 12/23 20/4 20/21 Code  [1]   92/24           concluded   [1] 42/15
         20/22 21/3 21/13 22/21 collection [3] 35/15 concluding [1] 52/5
                                 79/18 93/13                conclusion [2] 36/19
         22/24 23/6 23/10 23/15
                                come  [14]    30/1 45/17     45/23
         24/18 24/25 27/2 29/19
                                 45/23 59/1 65/5 66/10 conclusions [1] 57/9
         32/2 32/10 32/10 32/13
                                 68/21 74/5 75/20 82/10 concurrently [2] 92/14
         33/2 33/7 35/16 36/5
                                 82/11 82/14 84/3 87/4 93/7
         36/15 38/2 38/2 38/5
         38/6 50/7 50/7 52/13 comes [4] 22/6 24/25 condition [5] 43/4
                                 74/2 77/14                  43/6 83/25 93/20 95/13
         55/9 55/11 57/21 65/14
         72/24 73/3 73/6 73/7   comfortable    [4]   11/20  conditions   [5] 48/3
                                 15/10 19/9 66/23            49/20 93/14 93/15
         73/10 78/14 78/18 80/1
                                                    13/11    94/14
         80/6 91/18 91/20 91/22 commenting [1]
                                comments   [1]   13/16      conduct  [2] 33/1 35/21
        child's [1] 34/14
                                commit  [1]    93/10        conducted   [1] 44/25
        childhood [1] 69/17
        children [23] 32/16     committed [2] 82/6          conducting [1] 50/18
         37/4 37/16 39/15 46/24  92/11                      confidence [2] 26/20
                                committing   [2]    86/22    91/23
         46/25 49/5 55/3 55/10
         59/21 70/7 70/11 74/9   92/3                       confident [1] 62/12
         74/14 78/21 80/21      communicated [4] 59/2 confinement [1] 77/17
                                 59/10 59/20 91/19          consequences [2] 77/7
         88/16 89/3 90/20 91/16
         91/19 92/2 92/3        communicating    [6]   20/4  89/2
                                 20/13 20/14 20/15 32/9 consider [1] 42/1
        choice [1] 88/4
                                 55/10                      consideration [1]
        choices [1] 88/25
                                communication    [1]         70/12
        choose [2] 67/5 72/15

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        103FLSD Docket 01/31/2018 Page 103 of 125
        C                       couldn't [2] 81/3            curls [1] 65/15
                                 89/15                       currently [1] 68/18
        considered [2] 91/10
                                counsel   [3]   7/13 91/11 custody [5] 36/15 37/4
         92/4
                                 94/10                        37/15 80/6 85/12
        considering [1] 82/12
                                counseling   [4]    43/6     customs  [1] 9/11
        consistent [1] 19/2
                                 43/7 43/9 43/12             cut [1]   34/25
        consists [2] 92/12
                                count [2] 58/24 92/12
         93/6
                                countdowns [1] 89/19
                                                             D
        console [1] 69/6
                                               92/13 92/14 D-R-E-W [1] 67/24
        constitute [1] 94/18 Counts [3]                      dad [2] 89/16 89/19
                                 93/6
        constitutional [1]
         86/25                  County [3] 40/18 45/11 daddy [3] 64/22 64/23
                                 45/21                        64/23
        contact [10] 50/6                                    Dade [1] 45/11
         51/23 59/16 60/14 62/5 couple [9] 5/6 17/1
                                 18/5 18/22 18/23 18/24 daily [1] 77/8
         62/6 93/17 95/14 95/15                              danger [2] 55/3 80/8
                                 33/6 33/24 38/11
         95/17
                                course [10] 5/18 35/22 dangerous [1] 93/12
        contain [1] 34/2
                                 49/6 52/12 53/17 57/19 dangerousness [7]
        contained [1] 79/18
                                 78/3 82/17 82/20 95/15 49/25 62/4 83/11 84/13
        continually [1] 37/12
        continue [5] 37/15      court's [13] 4/11 4/23 84/14 86/3 86/17
                                                             dark [1] 68/10
         60/3 70/10 76/11 90/8 37/6 63/25 78/10 82/12 data [2] 87/12 93/15
                                 83/13 83/18 84/9 86/2
        continued [2] 77/11                                  date [5] 15/21 28/17
                                 86/9 86/12 94/10
         91/24                                                61/14 92/18 96/8
        continues [3] 28/11     courtroom [2] 44/13
                                 64/3                        date/time  [1] 28/17
         80/11 80/14                                         dated [5] 15/25 24/10
                                cover [1] 4/4
        contraband [1] 6/5                                    38/6 46/4 94/2
                                CR [1] 1/2
        contrast [1] 89/8                                    dates  [2] 19/1 57/11
                                craving [1] 29/7
        controlled [1] 93/12                                 daughter  [27] 11/24
                                CRC [2] 1/22 96/8
        controls [1] 71/8                                     14/12 16/5 31/3 31/4
                                created [3] 12/23
        conversation [7] 23/24                                63/20 64/5 64/10 64/11
         24/4 24/5 24/6 26/11    32/13 91/19
                                creating [1] 12/22            64/15 64/17 65/4 65/24
         30/17 66/18                                          66/11 66/14 67/12 68/5
        convicted [1] 60/25     credit [1] 87/7
                                cried [1]     67/9            68/6 68/9 68/14 69/7
        conviction [2] 61/5                                   69/11 69/12 69/25 70/2
         61/9                   cries [1] 65/1
                                crime [1] 82/6                70/7 80/2
        convictions [1] 57/12
        convinced [1] 92/7      crimes [4] 3/19 82/21 daughter's [1] 67/9
                                 92/3 93/11                  daughters [5] 10/22
        cooperate [1] 93/13                                   54/3 54/17 78/19 78/24
        copied [1] 18/9         criminal [9] 53/12
                                 53/18 54/9 55/8 56/20 day [14] 24/12 30/6
        copies [2] 17/23 21/25
                                 60/21 80/20 91/3 91/8 30/11 65/20 66/14
        coping [1] 85/20                                      66/19 66/19 67/7 69/1
                                criteria [2] 47/14
        copy [3] 4/13 24/22                                   73/21 73/22 75/2 75/3
                                 47/16
         36/20
                                              2/5 2/8 41/2 81/4
        corrections [1] 3/21 cross [5]                       days [6] 27/10 27/11
                                 41/13 53/3
        could [32] 8/1 10/24                                  66/9 87/24 92/19 94/17
         11/4 12/6 14/17 16/5 Cross-Examination [4] deal [2] 66/6 69/7
         18/2 23/12 29/21 32/5   2/5  2/8  41/13   53/3
                                                        41/2 death [2] 90/13 90/17
         34/21 41/3 46/23 52/19 cross-examine [1]            DECEMBER [6] 1/4 15/22
         52/21 52/24 56/25      CRR [2] 1/22 96/8
                                                              37/21 37/22 38/20
         66/15 66/16 66/24 67/5 crying [3] 68/11 68/13 80/13
                                 69/3
         67/5 67/6 76/3 86/21                                decided [1] 76/10
         87/5 88/13 88/14 88/15 cum  [1] 32/16
                                cure [1] 83/3                decision [2] 83/13
         88/18 89/13 95/16                                    89/9

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        104FLSD Docket 01/31/2018 Page 104 of 125
        D                        48/19 83/3 85/2            disclosure [1] 93/17
                                desires  [9]    48/1  48/2  discovered [1] 69/4
        decline [1] 76/7
                                 48/5 48/7 48/15 48/24 discovery [2] 34/23
        declined [1] 76/15
                                 49/5 49/8 49/15             35/2
        deduction [1] 57/24
                                Despite  [1]    93/1        discrepancy  [1] 71/7
        defendant [29] 1/7
                                destroyed   [2]   64/15     discretion  [1]  86/13
         1/17 10/6 10/21 11/16
                                 88/3                       discussing [1] 24/17
         12/20 14/4 15/11 19/21
                                details  [3]    22/7 37/9 disease [3] 74/19
         19/24 20/3 25/9 26/11
                                 77/1                        83/24 84/6
         37/3 39/20 54/2 54/8
         54/23 56/3 56/4 56/23 deter [2]     86/20   86/21  disgusts [1] 69/12
         59/22 78/17 92/10      deteriorating [1]           disk [8] 5/4 6/23
         92/22 93/5 93/8 93/10   75/14                       14/20 18/10 21/23
         94/10                  determination    [2]   37/6  25/25 32/21 71/3
                                 92/18                      disks [1] 18/20
        defendant's [8] 11/18
                                determine   [4]   49/1      disorder [4] 46/19
         11/24 16/5 31/1 46/7
                                 49/3 56/19 80/5             47/2 68/15 68/15
         46/9 53/19 93/23
        Defender [1] 1/18       determined [2] 47/14 disorders [3] 47/8
                                 94/7                        47/10 47/13
        defense [5] 3/21 9/21
                                deterred   [2]   86/16      displayed  [2] 19/19
         44/19 46/10 86/3
                                 86/19                       24/25
        definitely [2] 18/3
         88/15                  Deterrence [1] 86/15 displaying [1] 25/4
        definition [2] 47/1     device [2] 25/4 93/12 distract [1] 48/18
         47/3                   devices [5] 10/6 10/8 distracting [1] 48/14
                                 10/8 15/24 17/22           distraught [1] 41/23
        degenerative [1] 74/18
                                diagnose   [2]   46/18      distribution [2] 20/2
        degree [6] 82/5 82/7
                                 46/21                       79/17
         82/8 83/19 83/20 83/20
                                diagnosed [8] 47/1          district [5] 1/1 1/1
        dementia [1] 75/2
                                 65/5 68/14 74/25 75/1 1/11 93/9 96/9
        Dennis [5] 73/1 76/1
         76/7 76/10 76/12        75/14 76/8 76/23           disturbing [1] 79/19
        Dennis's [1] 76/7       diagnosing [2] 43/5         divorced [1] 74/8
                                 47/10                      DNA [1] 93/14
        department [1] 75/11
                                diagnosis   [7]   47/13     docket [1] 94/2
        department's [1] 9/10
                                 47/20 47/21 49/1 49/2 doctor [5] 36/22 42/13
        departure [1] 4/3
                                 52/24 76/16                 43/3 49/24 53/5
        depend [1] 82/22
                                diagnostic   [3]   47/2     document  [1] 43/13
        depending [2] 52/21
         65/23                   47/4  47/9                 documented [2] 54/22
                                             1/22 1/25       84/18
        depends [2] 58/1 65/24 diane [4]
                                 96/7  96/8                 doesn't  [7] 59/4 64/23
        depict [1] 18/17
                                die [2]    28/4 28/10        65/10 65/19 81/13
        depicting [6] 12/10
                                                   17/7      82/10 91/4
         13/6 15/18 16/11 17/14 different [10]
                                 22/9 48/19 52/6 52/8 dog [1] 33/18
         18/16
                                 68/9 75/6 78/13 79/15 dogs [2] 33/22 75/21
        depicts [2] 15/6 34/12
                                 82/21                      doing [12] 37/13 45/17
        depression [1] 46/19
                                difficult   [1]   69/5       62/21 64/23 66/2 67/2
        deputy [1] 9/11
                                digital  [1]    10/12        80/3 80/4 80/6 80/9
        describe [3] 12/7 13/5
         69/10                  dildo [1]    34/14           80/18 81/3
        described [2] 31/25     ding [1] 8/19               domestic [2] 61/7
                                Direct  [6]    2/4 2/7       61/10
         32/1
                                 2/11  9/3  45/5  63/16     DONALD  [2] 1/10 44/13
        deserve [2] 67/13
         88/11                  directly [1] 15/2           done [16] 6/2 37/10
                                disability   [1]   47/6      42/13 64/20 64/21
        deserves [1] 89/14
                                disagree   [1]   60/13       67/15 68/8 69/11 70/13
        desire [5] 48/14 48/18

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        105FLSD Docket 01/31/2018 Page 105 of 125
        D                        38/5 38/6                    80/17
                                early  [1]    39/7           engaged  [2] 39/15 49/3
        done... [7] 73/22
                                earth  [1]    77/13          engages  [1] 85/17
         80/25 87/5 88/10 88/10
         88/20 89/1             easier [1] 8/1               enhance [2] 52/18
                                easy  [3]    25/10  48/16     52/19
        dot [2] 22/18 22/23
                                 73/11                       enormously  [1] 88/11
        dots [3] 22/16 22/16
         22/19                  easy-victim [1] 48/16 enough [5] 26/20 33/25
                                edited [1] 71/1               65/3 69/22 88/8
        Double [1] 11/6
                                Edwards   [6]    36/17       entails  [1] 73/18
        down [10] 18/4 19/18
         23/1 23/4 23/13 40/19   42/14   42/15   42/15  55/2 entire [1] 89/7
         46/12 51/6 75/20 90/5 55/8                          entitled [3] 17/25
                                effect   [1]   83/7           19/24 96/6
        downloading [4] 33/1
         33/2 38/1 55/9         eight  [11]    15/5  15/5    entry  [1] 94/2
                                 21/6 21/7 21/9 24/13 equates [1] 82/7
        downward [1] 4/3
                                 56/13 75/10 75/18           equipment [1] 93/24
        DR [26] 2/6 4/1 4/7
                                 76/18 78/23                 escalating [1] 68/12
         5/14 5/15 42/14 42/15
                                                  11/12      especially [2] 64/21
         42/15 44/7 44/9 44/10 Eighteen [1]
                                either   [8]   6/25 18/7      90/19
         44/24 44/25 45/7 45/9
                                 20/20 22/24 66/17           establishing  [2] 47/20
         45/14 46/12 53/1 55/2
         55/8 62/3 62/18 82/23   72/16   73/16   90/11        47/20
         83/6 84/25 86/6        ejaculate [2] 17/4           estimate [1] 62/24
                                 17/7                        et [1] 75/23
        dramatically [1] 58/5
                                ejaculating [1]      16/15   ethic [2] 74/12 75/12
        dread [1] 66/19
        dreamed [1] 29/17       electronic [4] 10/5          eval [1] 38/12
                                 10/12 36/21 43/23           evaluate [1] 50/20
        DREW [7] 2/13 40/21
                                Eleventh   [1]    6/19       evaluated [6] 36/16
         43/15 67/24 67/25 68/3
         70/19                  elocute [1] 5/19              50/12 55/1 55/7 80/7
                                elocution    [1]   5/18       91/25
        drive [2] 17/23 18/12
                                else  [4]    30/3  40/22     evaluation  [15] 36/23
        driving [1] 68/24
                                 74/7 86/21                   37/1 38/4 38/5 38/9
        drop [2] 51/14 52/9
                                embarrassed    [1]   90/14 38/9 42/9 42/13 43/1
        dropoff [2] 84/24
         87/12                  emotion [3] 81/13             44/25 45/15 45/17
                                 81/22 82/18                  45/20 46/2 55/4
        drops [2] 56/7 58/5
                                emotional [1] 81/15          even [16] 49/21 51/14
        drove [1] 76/6
                                emotionally    [2]   64/8     52/19 52/19 55/10
        due [3] 65/14 66/5
         68/17                   69/14                        58/20 59/15 65/1 66/4
        duration [1] 74/1       emotions [4] 64/18            66/9 66/23 73/25 80/23
                                 81/9  81/10   81/12          84/21 89/4 91/25
        during [8] 22/12 32/12
                                emphasized    [1]   42/12 evenings [1] 27/14
         35/22 37/18 39/16
         73/25 76/1 80/10       employed [1] 9/7             event [1] 93/3
                                employer   [1]    93/16      eventually [4] 26/19
        dynamic [1] 77/4
                                enabling [1] 83/7             37/3 89/12 89/14
        E                       Encase [9] 11/3 11/3 ever [16] 40/20 42/25
        E-N-C-A-S-E [2] 11/3     11/5 16/5 16/6 16/7          57/15 66/25 67/10 70/8
         16/6                    25/15   31/18   31/22        71/6 79/19 81/18 85/9
        each [11] 11/8 35/2     encounter [1]      85/22      88/1 88/4 88/10 89/2
         74/21 75/6 76/11 77/6 encryption [1] 93/15           89/19 90/10
         77/12 89/21 92/13      end  [6]   23/13   23/14     every  [9] 35/3 62/15
         92/14 93/6              28/14   37/21   66/10  77/6  65/20  73/12 73/21
        earlier [2] 23/9 32/1 endured [1] 64/17               73/22 75/2 78/18 89/8
        earliest [7] 15/21      Enforcement    [1]   9/16    everybody  [2] 64/3
         15/23 15/24 16/21 38/1 engage   [3]   47/25   48/8   67/4


                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        106FLSD Docket 01/31/2018 Page 106 of 125
        E                       explain [6] 32/5 32/7 68/23 69/20 73/2 73/17
                                 35/19 40/12 46/23          74/3 74/9 74/16 75/21
        everyday [2] 66/2 66/5
                                 66/14                      77/4 77/5 77/10 77/10
        everyone [6] 30/3
                                                    29/13 77/19 77/21 80/5 88/2
         52/22 73/10 76/12 88/1 explanation [1]
         90/5                   exploitation    [3]   10/1 89/18 90/6 90/19 95/3
                                 78/14 78/18               fantasies [2] 48/10
        everything [10] 5/7
                                                 18/12      48/12
         30/3 54/14 65/22 65/25 exported [1]
                                expose   [1]   31/5        far  [3] 7/11 35/4 89/2
         67/1 73/22 78/17 78/17
                                exposing   [1]   79/3      fate  [2] 90/12 90/12
         90/6
                                                 74/3      father [16] 64/10
        evidence [16] 5/4 7/1 extended [1]
         7/8 9/17 9/18 9/20     extensive [2] 68/16         64/12 69/13 70/4 73/1
         10/21 35/25 46/10       91/18                      73/13 73/14 74/8 74/15
         48/22 54/22 56/21      external   [1]   17/23      75/20 76/1 76/4 76/5
         70/21 71/11 71/13      extraction [1] 22/6         88/15 89/4 90/11
                                extrapolate    [1]  50/25 FCI [2] 85/14 95/10
         77/25
                                extremely [3] 69/15        fear [1] 68/22
        evidentiary [1] 22/21
                                 87/14 87/15               federal [1] 66/6
        evil [1] 70/1
                                eye  [1]   74/19           feeding [1] 89/5
        ex [2] 89/11 92/8
                                eyes  [3]    65/8 65/9     feel [4] 45/22 77/6
        ex-wife [2] 89/11 92/8
                                 69/18                      77/8 80/22
        exact [2] 53/16 80/12
                                                           feeling [2] 48/13
        exactly [2] 64/4 69/23 F
                                                            81/10
        Examination [12] 2/4 F-B [1] 30/4
         2/5 2/7 2/8 2/9 2/11 face [4] 13/10 64/25 feelings [1] 69/10
         9/3 41/13 45/5 53/3                               feels [1] 65/19
                                 66/11 85/19               few [6] 18/17 21/2
         62/1 63/16             Facebook [2] 30/4           24/11 27/10 27/11
        examine [2] 41/2 45/23 30/11
                                                            75/19
        example [7] 20/7 23/12 fact [10] 57/23 59/10
         23/16 25/8 32/5 33/9                              figure  [1] 28/18
                                 59/15 60/4 66/10 82/22 file [27] 4/7 4/12
         34/8                    84/6 85/13 85/25 94/10 6/18 11/2 11/4 11/6
        examples [6] 10/25      factor [11] 51/11           11/8 11/10 11/13 12/3
         18/24 20/20 25/23 33/6 51/12 51/12 51/16
                                                            13/3 14/17 15/4 15/14
         68/9                    52/24 55/19 55/20          15/15 16/8 18/20 22/2
        exceed [1] 92/19         55/24 60/9 80/15 86/15 25/15 25/16 26/6 31/20
        exception [1] 90/25     factored [3] 58/24          31/20 33/11 34/9 78/11
        exchange [1] 24/19       60/8 62/15                 94/18
        exchanges [1] 24/11     factors [24] 51/20
        exchanging [2] 20/4                                filed [3] 4/12 4/19
                                 51/21 51/22 51/23 52/1 94/17
         20/13                   55/22 56/1 56/7 56/8                  11/7 15/14
        excuse [3] 13/20 21/13 56/14 56/18 56/23 57/4 files [3]
                                                            18/18
         72/8                    57/9 57/17 58/17 60/10 filings [1] 4/4
        excused [3] 62/20        60/18 62/8 62/8 62/10 finalized [1] 77/1
         67/22 70/20             82/13 91/11 91/12
        exhausted [1] 61/17                                Finally [1] 86/23
                                facts [3] 53/9 56/15 find [2] 50/19 89/23
        exhibit [20] 4/16 6/24 56/15
         7/5 7/8 11/2 14/20                                finding [1] 92/22
                                Failure [1] 94/18          findings [3] 46/1
         18/18 21/16 21/16      fall [2] 52/15 68/24        90/24 94/10
         21/23 32/20 36/24      falls [3] 51/9 52/2
         43/14 46/7 46/10 70/23 85/2                       fine  [7] 4/20 19/14
         70/23 71/7 71/8 71/12 familiar [4] 49/9            46/16  71/25 92/23
                                                            92/25 95/23
        expert [2] 9/22 44/24 54/16 60/21 60/22
        expertise [2] 9/13                                 finger  [2] 19/20 27/23
                                family [25] 36/11          fingers  [1] 17/16
         44/21                   36/14 37/2 38/14 65/15

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        107FLSD Docket 01/31/2018 Page 107 of 125
        F                       forfeited [2] 93/25       77/15 77/16 84/13
                                 94/5                     84/13 85/23 86/2 86/16
        finished [1] 43/24
                                forfeiture  [2]   3/24
        firearm [2] 82/9 93/11
                                 94/1                    G
        first [15] 3/14 5/22                             G920 [1] 15/5
         12/9 15/3 19/2 33/11 forget [2] 41/8 65/3 G920T [1] 14/22
                                              87/3
         66/4 69/25 72/24 81/24 forgone [1]              Galaxy [1] 22/1
                                           5/3 23/16
         82/5 82/7 83/19 83/20 form [2]                  game [1] 89/20
         83/20                  former [1] 90/4
                                           45/21         Gary [3] 36/17 55/2
        five [9] 5/25 6/1 15/5 Fort [1]                   55/8
         51/4 51/18 52/1 76/25 forth [1]    23/10
                                forthcoming [4] 35/2     gave [2] 60/19 72/22
         81/1 84/19                                      general [1] 49/15
                                 54/12 54/13 54/14
        five-minute [1] 5/25
                                Fortunately [1] 73/6 generally [1] 68/7
        five-year [2] 52/1
         84/19                  found [8] 15/24 20/19 genitalia [1] 79/3
                                 20/20 47/19 51/10 66/8 Genny [1] 6/15
        FL [1] 96/10                                     gentlemen [1] 8/15
                                 73/1 79/2
        FLETCHER [3] 1/17 3/10                           gets [6] 58/4 59/11
         44/12                  founding [1] 9/10
                                four [7] 27/18 54/20      65/23 66/15 68/12
        Fletcher's [1] 44/4
                                 63/21 64/5 64/11 64/19 73/10
        flew [1] 76/5                                    getting [13] 20/15
                                 81/2
        floor [2] 31/2 68/25                              20/18 24/19 27/16
                                four-year [1] 64/11
        FLORIDA [13] 1/1 1/5                              28/14 29/6 29/11 29/25
         1/16 1/19 1/24 74/15 four-year-old [3]           33/3 47/24 53/24 55/10
         75/6 75/20 76/4 76/6    54/20 63/21 64/19
                                frame [3] 22/8 24/22      84/9
         85/15 95/6 95/9                                 girl [10] 13/11 13/16
                                 24/24
        flsd.uscourts.gov [1]                             24/13 25/2 31/6 33/13
         1/25                   Frankly [1] 35/7
                                free [2] 27/9 27/13       33/14 33/15 65/8 70/4
        focus [1] 46/12                                  girls  [11] 21/1 21/4
                                frequently [2] 50/9
        folder [25] 11/2 11/5                             28/20 30/21 30/25 31/2
         14/18 14/20 14/21 15/3 88/25                     31/12 78/20 79/2 79/5
         16/7 17/19 17/19 17/22 friend [2] 88/16 89/20 79/13
                                              88/16 90/1
         17/23 17/25 18/2 18/6 friends [2]               give [13] 5/24 21/20
                                friendship  [1]   90/6
         18/7 18/11 18/21 19/24                           23/1 25/23 34/8 41/8
                                            25/3  32/15
         21/23 22/2 25/25 26/2 front [4]                  55/23 56/15 56/25
                                 74/16 75/17
         32/22 32/23 36/25                                67/12 70/5 93/1 94/15
                                frustrated [1] 68/12
        folders [3] 18/9 18/10                           given [11] 37/15 53/25
         26/4                   fuck [1] 31/15
                                fucking [1] 31/14         69/20 69/22 72/23 75/4
        follow [1] 21/22                                  77/17 89/15 92/6 92/19
        followed [8] 27/8       full [9] 18/9 18/10
                                 18/21 19/7 25/4 63/13 94/23
         27/13 27/20 28/4 29/5                           gives [6] 21/18 22/6
                                 68/1 74/11 76/16
         29/8 29/21 30/11                                 22/7 22/8 59/10 77/20
                                full-length [1] 25/4
        following [4] 36/11                              giving [1] 75/25
         68/10 85/17 93/15      full-time [1] 74/11
                                            25/2         glad [2] 69/21 69/23
        food [2] 74/23 75/22 fully [1]                   glasses [1] 84/20
        fool [1] 92/1           fun [2] 28/24 31/11
                                function [1] 68/19       god [5] 28/3 28/4
        fooled [1] 80/7                                   28/10 28/25 29/12
                                funeral [1]   89/17
        fooling [1] 79/21                                goes [4] 5/6 31/1
        foregoing [1] 96/4      further [8] 43/6 52/19
                                 52/20 52/24 72/25 75/9   31/17  86/16
        forensic [8] 9/17 9/19                           Gomez [2] 32/6 32/22
         9/22 11/8 15/23 21/25 77/24 85/9                gone [3] 22/24 90/3
         22/3 44/24             fused [1] 76/25
                                              48/7 49/25 90/10
        forever [3] 78/25 79/1 future [13]
         79/4                    52/25 62/4 62/11 66/17 good [23] 3/2 3/6 3/9
                                                          3/10 3/13 13/11 13/16

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        108FLSD Docket 01/31/2018 Page 108 of 125
        G                             H                 helped [1] 74/21
                                                        helping [2] 73/12
        good... [16] 30/13      ha [8] 27/3 27/3 29/2
                                                         74/23
         41/15 41/16 44/1 49/7 29/2 30/12 30/12 31/7
         53/5 53/5 53/7 63/18    31/7                   helplessly [1] 87/25
         63/19 67/2 72/2 72/3 hair [1] 68/13            her [80] 12/23 13/9
                                                         13/10 13/10 14/2 16/11
         76/19 90/2 95/25       half [3] 30/23 66/4
                                                         16/12 16/15 17/14
        goodness [1] 80/3        75/18
                                                         17/15 17/16 17/17
        got [13] 4/9 8/6 16/21 hand [8] 13/15 14/1
                                                         24/18 25/4 25/5 25/6
         26/17 31/9 36/8 40/20 14/1 14/2 22/8 23/23
         57/21 67/7 67/7 69/21 23/24 63/11               25/7 26/22 27/2 27/4
         79/24 95/22                                     27/6 27/15 27/17 27/19
                                handle [3] 66/5 69/6
                                                         27/20 27/22 27/22 28/4
        gotten [2] 29/21 69/19 74/4
                                                         28/5 28/23 29/7 29/17
        government [25] 1/14 hands [6] 13/9 13/10
                                                         29/22 31/5 31/6 32/10
         3/25 4/13 5/2 5/8 5/12 68/8 69/13 77/15 77/16
                                                         32/13 33/18 34/12
         5/22 5/24 6/2 7/8 9/2 hang [1] 69/22
                                                         34/12 34/13 64/12
         35/1 35/8 44/20 45/3 happen [3] 32/18 66/24
                                                         64/15 64/20 64/20
         62/24 63/12 67/25       88/21
                                                         64/21 64/25 65/1 65/7
         70/21 71/14 78/4 82/5 happened [6] 36/14
                                                         65/9 65/10 65/19 65/20
         85/24 88/6 89/24        37/9 54/22 64/15 65/6
                                                         65/20 65/21 66/19
        Government's [11] 6/24 66/19
                                                         66/20 66/23 66/24
         7/5 11/2 32/20 36/24 happens [4] 56/1 58/1
                                                         67/12 68/12 68/13
         43/25 70/23 71/3 71/11 79/10 93/4
         81/14 82/18                                     68/17 68/22 68/24 69/7
                                hard [8] 17/23 18/12
                                                         69/8 69/8 69/11 69/13
        granted [1] 89/15        56/6 64/21 65/2 66/17
                                                         69/13 69/17 69/17
        gravity [1] 81/21        69/15 72/20
                                                         69/18 69/18 70/1 70/7
        gray [1] 24/4           hardcore [1] 38/2
                                                         71/19 89/6 89/15
        great [4] 6/2 41/4      harder [1] 66/9
         82/25 86/13                                    here [30] 6/8 6/11
                                hatred [1] 89/5
                                                         7/19  14/15 18/17 19/2
        grew [1] 74/10          have [169]
                                                         21/16 21/21 24/17 30/1
        gripping [1] 13/17      haven't [3] 29/9 29/22
                                                         30/3 30/10 31/12 40/8
        group [3] 52/10 84/17 30/13
                                                         46/12 74/3 77/2 81/16
         85/18                  having [10] 19/8 43/11
                                                         81/17 82/6 82/11 82/22
        grow [4] 70/4 73/11      48/10 54/19 65/8 65/9
                                                         84/3 84/22 86/13 86/19
         79/13 89/3              76/15 76/22 77/18
                                                         88/5 88/8 90/2 90/13
        growing [2] 29/14 73/7 81/11
        GSM [1] 22/1            HDD [2] 18/11 18/21     hereby [3] 93/25 94/5
                                                         96/4
        guardian [1] 67/8       he'd [1] 75/7
        guess [4] 6/16 34/17 he's [1] 56/1              herself  [1] 65/7
                                                        Hi [1]   12/14
         61/11 82/22            heads [1] 5/25
                                                                  69/2 78/22
        guideline [1] 91/9      health [6] 40/17 75/14 hid [2]
                                                        hide [1]   68/25
        guidelines [8] 34/2      76/7 76/15 76/22 93/17
                                                        high [5]   55/21 55/24
         35/4 81/25 82/1 82/11 healthy [1] 73/6
         86/14 91/4 91/10                                58/3 76/9 86/11
                                hear [5] 5/17 5/22
        guilty [3] 3/19 81/19 8/19 14/5 45/12           highest  [1] 62/10
         86/24                  heard [2] 8/21 77/19    highlight  [2] 28/13
                                                         78/13
        GYIRES [16] 1/14 2/4 hearing [2] 1/10 45/10
         2/8 2/11 3/6 6/3 32/3 heart [2] 76/9 90/7      highlighted [1] 42/10
         33/19 37/12 42/9 53/6 Heaven [1] 31/13         him [60] 5/25 5/25
         61/17 67/17 70/14 78/4 heavy [1] 83/13          12/10 12/24 14/5 20/16
                                                         20/19 25/10 25/13 32/2
         84/21                  help [8] 65/22 73/24
                                 74/6 75/20 76/3 76/5    32/13 32/14 32/17 38/1
                                 83/22 88/24             38/10 39/15 41/1 42/1


                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        109FLSD Docket 01/31/2018 Page 109 of 125
        H                       horrendous [1] 84/1        identified [4] 22/18
                                horrible   [1]   66/13      22/20 71/11 93/24
        him... [42] 43/5 43/5
                                hours  [5]    34/23 39/7 identifies [1] 15/16
         46/14 46/21 47/17
                                 75/7 75/18 93/8           identify [1] 85/21
         50/12 51/25 52/6 54/21
         55/11 57/21 57/24 58/3 house  [5]    28/21  69/21 ignored [1] 68/7
                                 74/21 75/22 77/10         III [1] 91/9
         58/13 59/10 60/3 64/13
                                                    75/11 image [3] 19/16 22/4
         67/2 67/3 67/4 68/23 housewares [1]
                                housing   [1]   85/15       23/11
         69/1 73/24 74/2 74/6
                                however   [3]   7/1 69/5 images [9] 18/15 18/16
         74/21 74/22 74/22
         74/23 75/8 79/2 79/5    88/25                      19/13 19/15 78/24 79/1
         84/15 84/16 86/18      HSI [2] 3/7 56/21           79/2 79/3 79/14
         86/20 87/11 87/23      huh  [1]   31/10           imagined  [1] 64/14
         89/24 89/25 91/22      hundred   [3]   20/16      immediately   [1] 80/4
                                 20/17 59/11               impact [1] 4/1
         95/21
                                hurt  [2]   88/11 88/22 impacted [1] 68/9
        himself [8] 13/14 25/9
                                                64/6       implore [1] 81/21
         69/23 75/9 75/25 77/8 hurting [1]
         89/23 89/23            hurts [1] 65/1             imply [3] 34/24 35/1
                                husband   [2]   88/14       86/11
        hip [1] 76/16
                                 90/11                     important  [7] 58/9
        history [4] 60/21 91/3
         91/9 92/6              hypothetically [1]          58/10 77/5   77/20 83/12
                                 56/16                      86/15 91/12
        hold [1] 10/13
                                hysterically    [1]   69/3 impose [3] 84/4 86/11
        home [8] 27/10 30/22
         31/1 43/10 73/25 75/3 I                            87/9
         81/3 89/24                                        imposed [5] 87/1 92/25
                                I'll [14] 8/18 19/2         94/9 94/17 95/18
        Homeland [1] 9/8         26/15 26/16 30/6 35/9 impression [1] 53/25
        honest [1] 29/23         35/11 40/12 42/7 57/10 imprisonment [5] 78/4
        Honor [74] 3/6 3/10      72/5 73/4 92/17 95/11 92/12 92/13 93/4 94/6
         4/5 4/6 5/2 5/15 6/4 I'm [68] 4/22 5/7 6/10
         6/7 6/20 6/23 7/3 7/16 9/21 13/2 13/22 13/23 impulses [1] 82/24
         8/3 8/11 8/11 8/19                                incarcerated [5] 52/13
                                 14/20 14/23 15/21          52/14 52/18 77/3 94/25
         8/22 9/23 34/1 34/5     24/13 27/13 27/17 28/5 incarceration [4]
         37/5 37/7 37/10 40/24 28/18 28/21 28/22 29/7
                                                            50/23 50/23 51/2 77/10
         41/6 42/5 42/7 42/23    30/10 31/14 32/4 34/17 incident [2] 17/6 61/1
         43/20 44/2 44/23 46/6 35/19 37/10 42/20
                                                                            61/7
         61/21 62/19 63/1 63/3 45/10 45/10 53/6 53/24 incidents [2]
         63/25 64/3 67/5 67/18 54/18 55/25 56/4 56/10       61/10
                                                                          19/20 33/7
         68/4 70/5 70/16 70/22 56/13 56/20 57/7 58/11 include [2]
         71/9 71/14 72/2 72/7                              included  [1]   22/20
                                 60/22 60/25 61/3 64/5 including [1] 93/15
         72/11 77/22 77/24 78/6 64/7 64/18 65/22 66/22
         78/9 80/15 81/5 81/7                              increase [7] 55/16
                                 66/24 67/15 68/4 69/4 56/16 57/1 57/3 57/22
         83/5 83/12 84/10 84/21 69/19 69/21 69/23
                                                            60/7 60/12
         85/3 85/14 85/24 86/1 70/12 77/11 79/6 79/11
         86/4 86/13 86/18 87/8 82/17 83/18 84/3 84/24 increased [2] 58/14
         87/21 87/24 94/2 94/12 85/13 87/9 89/7 90/5        58/17
         94/21 95/24                                       increases  [1] 60/20
                                 90/13 90/13 92/7 93/1 index [1] 57/12
        HONORABLE [2] 1/10      I've [2] 27/15 32/18 indicated [3] 30/17
         44/13                  I-N-D-E-X [1] 2/1           32/14 95/14
        hope [3] 48/2 74/2      icons [1] 24/6
         77/13                                             indictment  [2] 53/15
                                idea [1] 21/20              53/18
        hopefully [4] 48/17     ideas [1] 28/22
         65/3 72/5 77/20                                   individual  [2] 11/8
                                identification [3]          48/23
        horny [1] 26/20          11/21 11/22 15/10

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        110FLSD Docket 01/31/2018 Page 110 of 125
        I                        38/24 41/17 80/1        juvenile [1] 54/20
                                is [356]                 juveniles [1] 54/20
        indulgence [1] 78/10
                                Isabella  [1]  65/8
        inexcusable [1] 88/10
                                Isn't [1] 82/25
                                                         K
        infants [1] 35/15                                K-A-T-R-I-N-A [1] 63/2
                                issue [3] 3/16 46/1
        info [1] 67/8                                    K-E-N-I-A [1] 23/21
                                 94/14
        information [13] 4/17
         12/18 47/17 47/18      issues [3] 65/18 66/22 K-I-K [1] 30/7
                                 85/19                   KATRINA [5] 2/10 63/2
         53/12 53/22 53/25                                63/12 63/15 89/11
         56/22 56/25 57/2 62/14 it [236]                 Kay  [2] 29/17 29/18
         62/16 66/8             it's [45]   6/23 8/6 8/8
                                 9/18 10/12 13/5 13/13   keep  [4] 76/20 76/21
        informed [1] 68/20                                84/6  87/23
                                 14/21 15/5 16/15 17/13
        inhibit [1] 48/18
                                 17/20 18/18 19/16 20/9 Keith [7] 72/24 72/24
        initiates [1] 30/17
                                 20/9 21/20 23/18 25/1 73/4 73/9 73/25 75/23
        initiation [1] 95/22                              76/13
                                 26/23 30/19 31/18
        injunction [1] 61/12
                                 32/22 33/12 35/20 47/1 Kenia [2] 23/17 23/19
        injury [1] 82/10
                                 54/10 55/22 56/17 57/8 kept [3] 78/22 80/4
        innocence [2] 64/16
                                 57/8 58/16 59/24 60/1 80/6
         69/17                                           kid [1] 80/9
                                 66/17 70/23 70/24
        innocent [1] 70/11                               kidnapping [1] 82/9
                                 71/21 73/11  83/14
        inquiry [1] 83/18
                                 83/15 83/16 84/2 84/19 kids [3] 19/25 80/8
        inserting [3] 15/19                               89/3
                                 92/22
         17/16 34/13                                     Kik [3] 30/1 30/2 30/7
                                          35/9 95/22
        inside [3] 11/3 18/2 its [2]                     kill [2] 40/21 92/8
         32/17                  itself [1] 18/6
                                                         killed [1] 82/3
        insight [1] 77/20       J                        kind [3] 10/8 88/23
        instance [2] 14/25      jail [11] 39/19 39/20 88/24
         23/4                    40/3 40/9 40/18 41/17 kissing [1] 12/11
        instead [2] 70/2 80/4 45/21 64/24 68/21          knees [1] 76/9
        institution [1] 73/25 79/24 92/8                 knew [5] 55/16 58/19
        instrument [3] 49/24 January [2] 16/24            58/20 59/2 59/3
         50/8 50/9               24/10                   knit [1] 74/9
        instruments [1] 85/7 job [5] 66/2 74/11          knowing [1] 79/14
        insure [1] 88/21         81/2 81/3 82/16         knowledge [2] 53/24
        intensive [1] 85/16     joint [1]   3/21          77/18
        intention [1] 88/22     joints [1] 76/8          knows [2] 27/1 77/12
        interest [3] 46/24      JOSEPH [3] 1/6 3/4
         46/25 93/23             92/10                   L
        internet [2]  62/6      jpeg [1] 19/16           labeled [6] 15/2 15/3
         78/25                  judge [17] 1/11 4/10      21/24 22/10 26/1 26/2
        interview [2] 47/17      7/9 37/2 41/3 44/6      laptop [2] 6/13 7/15
         53/19                   45/4 62/21 71/5 71/17 large [1] 90/1
        investigate [1] 9/25     71/24 81/9 82/3 82/16 larger [1] 24/7
        investigation [4] 3/20 86/23 87/13 95/12         lascivious [1] 61/8
         12/16 66/7 90/25       judgment [1] 92/10       last [11] 23/21 28/12
        Investigations [1] 9/8 July [2] 39/3 65/4         29/17 39/18 51/10
        involved [8] 20/3       June [7] 38/9 38/11       64/22 66/9 70/3 75/1
         38/11 43/11 49/7 50/5 39/4 39/5 39/6 39/7        87/24 91/2
         73/10 79/17 89/8        76/17                   lately  [3] 27/16 29/11
        involvement [1] 93/18 jury [1] 7/12               30/13
        involves [1] 78/15      justice [6] 55/9 67/12 later [3] 52/25 57/23
        involving [8] 32/5       70/6 80/20 80/24 81/5 73/2
         33/7 33/22 36/5 36/15 justify [1] 88/4          latest [2] 16/2 16/24

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        111FLSD Docket 01/31/2018 Page 111 of 125
        L                       lies [1] 67/2                69/20 81/4
                                life  [27]    67/11  73/11  longer  [4] 50/24 73/16
        law [6] 9/16 36/15
                                 73/22 73/24 74/20 77/9 74/3 89/25
         37/2 81/12 81/13 81/23
                                 78/4 80/19 80/22 82/18 look [12] 4/19 7/25
        lead [1] 46/14
                                 87/1 88/1 88/2 88/19        21/8 21/9 22/3 35/2
        learn [4] 48/17 74/21
                                 89/14 89/14 90/4 90/8 49/2 51/25 56/4 57/6
         85/20 85/21
                                 90/15 91/9 92/11 92/12 57/8 64/25
        learned [3] 77/7 77/15
                                 93/1 93/6 93/6 94/6        looked [4] 10/15 19/9
         89/6
                                 94/7                        35/3 70/23
        learning [1] 48/13
                                              3/25  28/8    looking [10] 6/21 11/1
        least [11] 17/16 20/16 light [3]
         20/20 37/2 37/3 37/16 87/14                         11/10 15/3 18/14 27/16
         39/16 50/23 54/6 57/21 lighter   [1]   84/4         34/23 35/5 53/9 57/7
         80/19                  like  [26]    5/5 10/9      looks  [3] 21/19 31/11
                                 19/4 19/5 21/9 21/19        69/1
        leave [3] 43/22 65/19
                                 31/11 40/25 51/23          losses  [2] 92/17 92/18
         65/20
                                 52/12 52/22 60/11 63/3 lost [2] 88/20 89/20
        leaving [1] 66/23
                                 63/22 69/1 70/1 71/17 lot [11] 10/15 11/20
        LEEANN [6] 2/13 40/1
                                 72/5 72/14 73/13 78/16 18/25 27/16 53/25 64/4
         41/18 67/23 67/25 68/3
                                 79/20 81/4 83/19 89/24 66/1 78/12 79/20 79/21
        left [5] 22/8 66/3
         69/13 89/5 90/10        95/20                       81/10
                                liked [1] 74/12             love [7] 27/4 27/20
        left-hand [1] 22/8
                                list  [2]   18/14 23/18      70/1 76/13 77/5 89/11
        legal [1] 55/5
                                               51/21  51/24  90/20
        legally [2] 61/4 82/14 listed [9]
                                 56/19 57/4 60/9 60/22 loved [3] 74/12 77/21
        legally-sound [1]
                                 61/4 62/8 82/8              88/1
         82/14
                                litem  [1]    67/8          loves  [2] 28/23 65/9
        legitimate [1] 47/5
                                literally [1] 31/15         low [7] 50/24 51/9
        legs [1] 34/12
                                little  [20]    21/22        56/11 56/13 84/21
        length [1] 25/4
                                 23/25  24/1   27/20  27/20  84/21 84/22
        lengthy [1] 24/17
                                 29/11 31/2 32/7 40/9 lower [4] 52/20 52/25
        Leon [6] 74/18 74/20
                                 46/14 46/14 70/3 70/10 76/23 84/23
         74/25 75/4 75/23 76/13
                                 72/22 74/6 76/2 78/20 lowers [1] 49/8
        less [2] 23/15 59/17
                                 79/2 79/13 87/10           lowest [1] 51/6
        lessons [1] 77/15
                                littlest [1] 66/2           lubricant [1] 32/16
        let [13] 19/3 20/14
                                live  [6]   73/24 74/22 Lucie [2] 40/18 45/21
         24/1 27/2 27/12 28/12
         47/22 51/6 51/19 80/13 76/11 77/8 77/9 90/16 luck [1] 96/1
         80/14 90/5 90/24       lived [2] 57/15 60/17 lumbar [1] 76/23
        let's [15] 5/20 9/1     lives [8] 66/12 67/14 lying [3] 15/18 16/16
                                 73/21 77/8 82/25 88/1 17/14
         10/5 14/23 20/2 32/24
                                 89/7 89/9
         32/25 33/1 35/18 38/9
                                living  [2] 30/22 77/10
                                                            M
         39/9 42/9 48/6 62/23                               M-A-D-D-O-X [1] 26/3
         63/9                   loader [1] 75/11
                                                14/18       ma'am [1] 63/18
        letter [4] 72/9 72/19 located [1]
         77/19 77/19            location [2] 17/7 18/9 Maddox [7] 12/17 25/22
                                                41/25 42/1 25/24 26/2 26/2 26/12
        letters [2] 4/3 72/12 logical [4]                    26/15
                                 42/2  42/3
        letting [1] 61/21                                   made [6] 66/9 75/22
                                            26/18 27/2
        level [4] 53/23 82/2 LOL [11]                        76/13  88/4 88/7 89/9
                                 28/8 28/18 29/12 29/24
         82/4 91/8                                          main [1] 22/22
                                 30/24 31/10 31/11
        lewd [1] 61/8                                       majority [3] 21/4
                                 31/12 31/13
        lick [1] 65/9                                        21/12 21/14
                                            9/9 15/15
        licking [5] 15/8 15/9 long [8]
         27/22 28/4 33/18        25/1 31/16 67/5 67/6 make [10] 23/25 30/6
                                                             32/18 35/3 41/4 86/5

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        112FLSD Docket 01/31/2018 Page 112 of 125
        M                        15/8 19/3 25/11 55/19 65/9 67/10
                                 55/25 60/18 79/13         mine [1] 69/19
        make... [4] 87/11
                                 84/10                     minor [4] 33/14 33/15
         87/19 88/20 88/25
                                meaning [5] 20/7 36/19 54/2 60/2
        makes [1] 30/24
                                 47/18 50/6 58/23          minors [14] 20/11
        making [7] 5/17 11/21
                                meant  [1]    26/24         20/12 20/13 20/18
         41/17 52/11 52/13
         65/11 74/22            meanwhile [1] 80/9          20/20 38/11 55/10
                                mechanisms    [3]   83/9    57/21 78/23 79/18
        male [2] 57/14 60/13
                                 85/4 85/21                 91/20 93/18 95/14
        man [10] 29/15 66/24
         67/5 69/22 70/1 70/5 media [4]       10/13  30/7   95/15
         70/8 74/17 77/12 88/24 36/21 38/7                 minute [4] 5/25 33/12
                                medical   [1]   91/25       33/17 34/11
        manage [1] 73/3
                                medication    [2]   75/2   minutes  [3] 5/7 5/16
        management [2] 85/14
                                 76/10                      6/1
         95/8
                                medicine   [1]    75/4     mirror  [2] 25/3 25/4
        manager [1] 75/11
                                meet  [1]    72/25         miss  [12]  26/15 29/4
        manipulating [3] 17/16
         34/13 67/3             members [2] 68/23           29/5 40/21 63/2 63/3
                                 69/20                      66/1 67/21 67/23 70/19
        manner [1] 94/11
                                memorandum    [3]   3/25    77/23 89/7
        manual [3] 47/3 47/5
         47/9                    78/11   81/24             Miss Maddox [1] 26/15
                                memories [1] 66/13         missing [1] 5/11
        many [11] 20/11 20/18
                                memory   [2]   43/13 90/4 misspelling [1] 28/2
         23/2 34/23 34/23 58/15
         65/18 68/9 68/10 80/16 mental [3] 40/17 47/13 mistyped [1] 26/23
                                 93/17                     molested [3] 16/22
         85/24
                                mentally   [1]    69/14     59/21 91/16
        Marianna [3] 85/15
                                mention   [1]   19/7       molesting  [2] 39/15
         94/22 95/9
                                mentioned [2] 51/16         55/9
        mark [2] 27/19 29/9
                                 55/22                     mom  [4] 64/10 72/4
        marked [4] 6/24 14/22
         28/15 71/4             mercy  [1]    90/14         89/16  89/20
        married [1] 64/14       message [5] 28/25          moments [1] 89/18
                                 29/20 30/1 30/4 30/4 mommy [2] 65/20 65/20
        Mart [1] 75/9
        Martin [1] 53/6         messages [2] 26/15         monitoring [1] 86/7
                                 70/24                     monitors [3] 7/11 7/23
        MARTON [2] 1/14 3/6
                                messaging [1] 30/20         8/7
        masochism [1] 33/25
                                met  [1]   75/4            month  [3] 38/4 38/8
        masturbating [6] 12/10
         12/13 13/14 14/2 16/12 Miami [2]     45/10  45/10  66/4
         32/12                  MICHAEL [4] 2/6 44/19 month-and-a-half [1]
                                 44/24 45/8                 66/4
        masturbation [1] 48/12
                                microphone    [1]   87/22 months [10] 38/12 39/9
        match [1] 48/1
        material [4] 18/13      mid [1] 74/19               65/6 66/9 75/19 75/25
                                middle   [1]   22/17        76/18 87/10 92/12
         20/24 34/3 34/22
                                MIDDLEBROOKS    [2]    1/2  92/13
        materials [3] 21/25
         93/20 94/4              1/10                      mood [1] 68/14
        matter [8] 49/2 52/23   Middlebrooks'    [1]       more [32] 14/7 17/1
                                 44/13                      25/23 27/24 27/25 28/1
         56/17 59/4 59/8 59/14
         59/15 96/6             might [4]     6/11  44/6    29/6 33/20 35/14 57/16
                                 46/14 53/22                59/16 59/17 59/18
        matters [1] 8/4
                                milestones    [1]   72/25   60/18 65/1 65/14 66/25
        maximum [1] 70/6
                                miller   [4]   1/22  1/25   70/21 71/13 73/11
        maybe [9] 5/7 15/20
                                 96/7 96/8                  73/12 75/8 76/22 79/5
         27/23 27/23 33/9 33/20
         33/25 48/11 78/15      million   [1]   59/13       79/7 85/7 88/11 89/18
                                mind  [4]    28/22  31/14   89/18 89/19 90/7 90/19
        mean [10] 7/19 12/16

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        113FLSD Docket 01/31/2018 Page 113 of 125
        M                        86/23 87/18 91/1 91/16 named [3] 26/12 32/6
                                 92/5 94/16 94/20 95/17 36/17
        morning [11] 3/2 3/6
         3/9 3/10 3/13 39/7     Mr.  Brian [1] 53/19         names [2] 15/15 15/15
         41/15 41/16 53/5 63/18 Mr. Fletcher's [1]           narrow [1] 46/12
         63/19                   44/4                        national [1] 50/4
                                Mr.  Gyires  [5]    6/3      nature [6] 24/20 54/16
        most [11] 6/16 50/8
                                 61/17 67/17 78/4 84/21 74/5 91/12 91/12 91/13
         50/9 51/11 51/12 64/6
         76/20 78/13 79/18      Mr.  Peacock [14] 3/13 near [1] 82/10
                                 3/16 6/25 8/8 44/22         necessarily [6] 17/9
         88/11 89/13
                                 45/18  61/23   63/5  67/19   19/8 20/15 25/11 25/19
        mostly [3] 6/5 21/1
         39/21                   70/25 71/3 71/16 91/1 32/6
                                 94/20                       neck [1] 75/17
        mother [9] 4/2 5/17
         39/21 40/2 40/5 53/20  Mr.  Peacock's   [2]         need [10] 5/25 29/6
                                 70/22 92/5                   35/8 66/20 70/22 76/24
         65/14 89/6 92/9
                                Mr.  Trader  [51]    3/11     80/3 82/16 88/25 91/14
        mothers [3] 5/9 41/8
                                 3/19 5/18 12/13 12/20 needed [6] 74/20 75/7
         44/1
                                 13/11 13/14 15/18            75/7 76/11 76/16 77/22
        motion [2] 3/23 4/2
                                 16/12 16/14 17/15 18/1 needs [5] 4/16 73/10
        motive [1] 83/21
                                 20/21 20/21 22/25            73/18 74/17 75/4
        mouth [2] 65/8 65/9
                                 24/11  26/16   36/22   40/5 negative [1] 51/8
        move [13] 7/1 8/18
                                 40/17 41/17 42/15           neither [1] 92/24
         12/25 19/23 20/2 32/24
                                 42/25 43/11 43/16           never [14] 29/22 34/15
         32/25 35/11 35/18 40/8
         42/7 71/4 76/6          45/19  45/20   45/23         60/17 64/14 65/7 69/17
                                 46/18 47/14 50/11            69/24 70/8 73/23 73/24
        moved [2] 65/13 74/15
                                 50/18 64/9 68/6 68/8         74/13 75/12 88/22 89/7
        movements [1] 73/19
                                 68/17 68/21 69/8 69/24 new [7] 30/2 74/11
        moving [2] 9/25 76/4
                                 81/19 82/1 82/6 83/14 74/15 75/20 76/1 76/5
        Mr [15] 2/5 2/7 2/8
                                 85/6 85/11 86/16 86/23 89/19
         2/9 2/11 12/19 15/7
         32/3 33/19 37/12 42/9 87/18 91/16 94/16             next [5] 16/12 17/5
         70/14 70/17 77/24       95/17                        25/23 27/10 67/23
                                Mr.  Trader's   [9]   3/22 night [2] 39/7 68/11
         85/15
                                 5/17 12/10 13/6 13/16 nightmares [2] 65/16
        Mr. [83] 3/11 3/13
                                 14/1 36/21 43/10 69/16 65/17
         3/16 3/19 3/22 5/17
         5/18 6/3 6/25 8/8      Mrs. [1] 43/15               nine [4] 15/5 21/10
                                Mrs.  Drew  [1]   43/15       75/24 91/17
         12/10 12/13 12/20 13/6
         13/11 13/14 13/16 14/1 much [13]    24/7   30/1     nine-year-old [1]
                                 52/8 62/19 65/24 66/19 91/17
         15/18 16/12 16/14
         17/15 18/1 20/21 20/21 67/13 77/12 77/21            noise [1] 8/21
                                 80/21 82/22 82/25           noncontact [1] 57/12
         22/25 24/11 26/16
                                 89/12                       nonsexual [3] 57/12
         36/21 36/22 40/5 40/17
                                multiple   [2]   18/25        57/13 60/15
         41/17 42/15 42/25
                                 68/6                        nonstop [1] 32/19
         43/10 43/11 43/16 44/4
         44/22 45/18 45/19      murder [6] 82/5 82/7 Nope [1] 29/10
         45/20 45/23 46/18       82/8 83/19 83/20 83/21 normal [3] 72/24 73/6
         47/14 50/11 50/18      must  [1] 94/17               73/7
         53/19 61/17 61/23 63/5 myself [5]     65/2  65/3    normally [3] 5/22
                                 69/8 74/14 76/13             68/19 71/20
         64/9 67/17 67/19 68/6
         68/8 68/17 68/21 69/8 N                             North [1] 95/6
         69/16 69/24 70/22                                   not [112]
                                naked [2] 60/4 79/2          note [2] 92/7 92/19
         70/25 71/3 71/16 78/4 name [9] 8/25 9/5
         81/19 82/1 82/6 83/14 23/21 24/24 45/7 53/5 noted [2] 14/19 93/21
         84/21 85/6 85/11 86/16 63/13 65/8 68/1              nothing [3] 30/14


                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        114FLSD Docket 01/31/2018 Page 114 of 125
        N                        85/2 89/5                    13/7 13/24 14/10 18/11
                                offender   [12]    45/18      18/20 21/22 21/24 22/2
        nothing... [2] 60/11
                                 49/7 49/13 50/10 62/5 22/5 22/10 24/22 25/17
         66/3
                                 62/5 85/12 85/14 91/14 25/25 26/1 31/24 33/16
        notice [2] 94/17 94/18
                                 93/19 93/21 95/8             34/10 40/10 40/13
        November [2] 16/22
                                offenders   [1]    62/6      opened  [3] 21/21 22/5
         38/3
        nude [1] 25/3           offending [2] 55/17           26/10
                                 59/18                       opening  [6] 14/25
        number [26] 3/4 11/9
                                offense   [9]   35/21 50/6 15/19 23/18 26/4 26/6
         11/10 11/13 13/12
         14/17 15/4 15/13 16/6 82/1 82/3 86/22 87/3           33/12
         16/8 16/10 16/13 17/1 91/8 91/13 91/13              opens [2] 11/7 23/23
         17/3 17/12 23/6 25/16  offenses   [8]   51/11       opined [1] 36/22
         31/20 31/21 31/22       51/14  51/15   51/23        opinion [3] 42/4 53/8
                                 57/11 57/12 58/6 59/19 83/17
         31/22 34/9 51/15 59/4
         60/12 82/25            offer  [1] 46/7              opportunity [6] 5/19
                                offering   [1]   44/23        41/8 45/22 50/21 87/20
        number 40330 [1] 15/13
                                               1/15 1/18      87/25
        numbers [6] 11/4 11/11 office [3]
                                 93/9                        opposed  [1] 52/7
         12/25 33/10 50/25
                                officer   [1]   91/2         opposite   [1] 60/19
         59/14
                                Official [2]     1/23   96/8 oral [2] 15/7 54/21
        numerous [1] 39/20
                                oh [6] 28/3 28/25 29/4 order [6] 23/25 24/21
        nuzzling [1] 13/6
                                 29/12 58/19 80/3             44/7 88/20 93/2 93/25
        O                       old [26]    14/14   16/18    ordered [2] 23/14
        O-M-G [1] 28/3           16/18 21/7 21/9 21/10 83/16
        oath [4] 9/1 44/17       21/10 24/12 24/13 25/2 organization [2] 50/2
         63/4 71/20              28/23 29/19 30/2 30/14 50/4
        object [5] 34/15 37/5 32/10 32/17 54/6 54/20 organizations [1]
         37/9 46/13 94/10        63/21 64/5 64/11 64/19 93/18
        objecting [1] 37/8       68/5 78/24 91/17 91/17 other [37] 16/5 17/8
        objection [10] 7/3      older [13] 14/11 23/15 17/10 20/4 21/2 23/19
         34/2 34/17 35/10 37/11 51/3 51/13 51/22 52/7 29/2 33/22 39/23 43/25
         42/5 45/3 46/8 94/13    55/20 58/1 73/8 73/11 47/19 48/9 48/9 48/11
         95/21                   74/3 74/10 80/2              48/14 49/1 50/21 51/11
        objections [1] 3/21     oldest [1] 89/5               51/23 52/15 56/8 56/23
        obligated [1] 93/1      olds  [1]   56/2              58/16 59/20 60/16 70/7
        obligation [1] 82/12 once [11]        22/5  48/21     76/11 77/6 78/23 78/23
        obviously [10] 8/1 8/3 51/13 56/7 65/4 65/23 79/17 79/18 80/9 83/7
         9/25 11/18 33/15 35/14 69/22 79/23 85/1 89/25 89/21 91/22 93/11
         85/11 86/16 86/17 89/6 90/18                        others [5] 25/12 43/16
        occasion [1] 45/14      ones [5] 17/9 18/25           49/18 82/8 91/19
        occurred [1] 81/18       22/20  33/22   79/1         otherwise   [1] 80/20
        occurring [2] 55/14     online  [18]    17/8  20/2   ought  [2]   4/18 42/22
         55/14                   20/2 20/4 20/7 33/3         out [30] 18/9 26/17
        occurs [1] 87/12         38/11  55/10   57/20         28/19 28/21 31/14
        October [6] 36/9 36/11   58/14  59/21   60/2  60/4    40/20 44/7 45/11 51/1
         36/14 36/25 75/15 94/3  78/16  78/20   78/21   79/3  51/10 57/10 62/24 65/5
        odds [3] 55/16 58/13     80/9                         66/4 66/8 68/13 73/1
         60/7                   only  [13]    7/10  43/25     74/23 76/12 79/14
        off [15] 7/23 8/16       48/18  56/22   61/3  64/15   80/13 80/14 80/16
         26/15 28/23 29/21       67/10 68/5 69/13 70/6 80/24 81/24 82/10
         29/25 34/25 51/14 56/7 73/20 77/12 80/22             82/11 83/25 84/1 90/9
         57/25 58/4 58/5 66/4   open  [21]    11/14  12/4    outrageous   [1] 80/15


                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        115FLSD Docket 01/31/2018 Page 115 of 125
        O                        22/4 22/13 23/4 25/21 period [10] 39/16
                                 43/5                         50/23 51/4 51/17 52/2
        over [28] 6/11 20/17
                                particularly     [1]   56/3 52/14 80/10 84/19
         22/19 24/5 28/20 31/11
                                                 71/6 71/19 91/18 94/18
         40/8 51/4 51/17 52/1 parties [2]
         57/19 57/20 57/24 58/3 pass  [2]    89/16   89/25 permanent [1] 82/10
                                passed   [1]   73/16         permission [3] 4/24
         58/5 58/25 59/3 59/6
                                                  18/10       37/15 63/25
         62/21 64/9 66/8 72/22 passport [2]
                                 18/21                       person  [14] 12/21 48/4
         84/19 87/10 87/22
                                past  [2]    55/18 81/1       48/6 49/4 57/15 59/16
         87/24 91/20 91/21
        overrule [1] 35/9       paste [1] 24/24               69/22 72/20 72/21 83/8
        overruled [1] 37/11     path [1] 21/22                85/1 85/17 88/23 93/8
                                pay  [3]   7/22   92/20      person's  [2] 48/2
        overview [1] 21/17
                                 92/23                        84/13
        overwhelmed [1] 66/1
                                paying [1] 75/22             personal [1] 69/16
        own [7] 20/23 66/22
                                PDF  [1]   26/6              personally [1] 66/22
         70/2 74/6 78/19 78/24
                                PEACOCK   [22]    1/17 2/5 petition [1] 38/14
         91/16
                                 2/7 2/9 3/11 3/13 3/16 pets [1] 75/23
        P                        6/25 8/8 44/12 44/22 phone [15] 4/22 20/7
        P-I-K-E-K [1] 14/24      45/18 61/23 63/5 67/19 20/8 20/9 20/10 20/10
        P-R-O-C-E-E-D-I-N-G-S    70/17 70/25 71/3 71/16 22/2 22/4 22/7 22/13
         [1] 3/1                 77/24 91/1 94/20             22/19 30/2 47/19 62/22
        p.m [2] 24/12 96/2      Peacock's    [2]   70/22      67/7
        page [6] 2/2 28/16       92/5                        phones [5] 3/24 21/24
         36/20 36/21 50/16 57/8 pedophilia [12] 46/21 22/1 24/19 93/24
        pages [3] 1/7 26/8       46/23 47/5 47/15 47/23 photos [4] 17/9 17/10
         28/12                   48/23 49/4 49/14 49/16 21/8 36/23
        painful [1] 69/7         83/8 83/14 85/20            physically [1] 64/7
        pajama [1] 31/5         penalty   [2]    53/18       pick [3] 18/22 18/23
        PALM [6] 1/5 1/16 1/19   80/18                        74/23
         1/24 44/13 96/10       pending [6] 36/12            Pics [1] 19/24
        panic [2] 65/25 68/24    38/14   38/25   39/2  55/12 pictures [2] 60/4 79/7
        panicked [1] 67/9        80/6                        piece [1] 10/12
        papers [1] 78/2         penetration [1]       19/20  Pierce [1] 45/21
        paragraph [2] 91/2      penis [9] 11/18 11/21 Pikek [2] 14/22 14/24
         91/6                    12/11 13/6 13/16 13/17 place [3] 43/7 81/13
        paralyzed [1] 75/19      14/2 15/19 32/17             83/9
        paraphilia [2] 47/1     people [23] 5/1 17/8 placed [1] 93/5
         47/2                    17/11 20/4 20/11 22/14 places [1] 95/2
        paraphilias [1] 47/7     39/23 47/24 50/1 51/13 Plaintiff [1] 1/4
        paraphrasing [1] 79/11 51/20 51/25 63/4 65/18 plan [4] 4/25 5/10
        parents [4] 74/3 74/16 65/19 66/23 80/17              5/13 71/20
         88/13 89/25             82/23   84/18   87/4  87/6  play [9] 14/9 31/16
        part [8] 15/16 37/2      88/11 90/2                   34/7 34/8 39/25 39/25
         37/16 54/19 74/11 83/6 per  [1]   70/22              40/3 40/7 40/12
         83/12 93/21            percent   [11]    35/20      played  [11] 11/14 12/4
        part-time [1] 74/11      51/5  51/17   52/1   52/10   13/7  13/24 14/10 25/17
        partial [1] 37/4         56/2 56/13 56/16 56/17 31/24 33/16 40/10
        participants [1] 40/4 84/19 84/20                     40/13 41/17
        participate [1] 52/17   percentage    [1]    84/12   playing  [5] 25/1 27/22
        participation [1]       performed [1] 85/1            29/6 30/22 34/10
         48/23                  performing    [3]    15/7    plea [3] 3/15 3/21
        particular [6] 5/21      54/21   62/9                 93/24


                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        116FLSD Docket 01/31/2018 Page 116 of 125
        P                       predict [3] 49/6 49/25 problem [4] 74/13
                                 84/12                       74/20 75/13 82/20
        plead [2] 70/5 70/6
                                predicting   [1]    62/11 problems [3] 76/9
        please [11] 3/2 9/5
                                                     93/25 76/22 85/22
         27/8 34/25 45/2 63/11 preliminary [1]
         63/13 67/12 68/1 88/22 prep  [1]   75/23           proceed [2] 8/22 45/2
                                prepare   [1]   63/22       proceeding [2] 80/5
         91/6
        pleasure [1] 4/11       prepared [1] 5/3             91/24
                                prepubescent    [5]   21/12 proceedings [8] 8/2
        pled [2] 81/19 86/24
                                 21/15 46/24 46/25 49/5 35/22 37/25 54/9 55/11
        plenty [1] 21/15
        podium [1] 72/1         present [7] 3/11 5/5         55/17 96/2 96/5
                                 35/9 78/1 78/7 86/5        process [1] 66/6
        point [29] 13/15 16/15
         22/22 33/21 37/24       92/2                       produce [2] 24/18 33/3
         41/20 49/21 50/25 51/2 presentation    [1]   5/3   produced [3] 20/24
         52/25 56/11 56/13      presented [1] 86/3           34/18 35/7
                                presentence    [3]   3/20 productive [1] 77/9
         59/10 59/11 59/13
                                 90/25 93/21                profession [2] 50/2
         62/24 64/7 66/15 66/18
                                                 94/12       62/7
         68/12 68/20 82/17 84/9 preserve [1]
                                pressure   [1]   76/9       professionals  [1]
         84/12 84/23 85/8 85/10
                                pretty  [9]    6/14 27/13 91/25
         91/3 95/16
                                 41/23 42/6 51/9 56/13 program [8] 14/25
        pointed [1] 81/24
                                 82/22 82/25 84/22           21/19 40/8 40/9 85/14
        points [5] 57/24 57/25
                                previously   [2]    31/25    85/16 85/16 85/23
         58/4 58/25 82/2
                                 54/8                       programs [10] 9/17
        polygraph [1] 85/6
        porn [1] 29/6           prey [1] 70/3                9/19 10/18 49/10 49/13
                                preying   [1]   78/20        49/17 49/22 52/18
        pornography [34] 6/5
                                primarily   [2]    20/9      85/13 95/8
         12/20 12/22 12/23 20/5
                                 81/14                      prohibited [1] 93/11
         20/21 20/22 21/3 21/14
                                primary   [2]   46/24       projected [1] 6/11
         22/24 23/6 23/10 23/15
         24/19 32/13 33/2 33/7   46/25                      promised [1] 92/8
         35/16 36/5 38/2 38/3 prior [19] 9/10 9/11 pronounced [1] 94/11
                                 35/21 51/11 51/15          prosecutor [1] 53/6
         38/5 38/6 55/9 55/11
                                 51/23 55/4 55/5 57/7 protect [2] 70/1 91/14
         57/22 58/23 59/17 80/1
                                 57/11 57/11 57/13 58/6 protection [1] 92/6
         91/18 91/20 91/21
                                 58/7 58/20 58/22 60/15 protective [2] 52/24
         91/22 91/22
                                 72/23 89/9                  77/9
        posed [1] 34/2
                                               54/12        proud [1] 85/23
        poses [3] 56/10 56/11 priors [1]
         58/3                   prison [3] 40/20 90/12 provide [2] 81/5 92/6
                                 90/16                      provided [1] 47/17
        possess [1] 93/12
                                Prisons   [4]   49/12       providing [1] 47/13
        possessing [2] 80/1
                                 85/23 92/11 92/16          PSI [1] 95/14
         93/11
                                Prisons'   [2]   49/9       PSR [6] 35/20 36/2
        possession [4] 35/15
                                 52/18                       70/24 70/25 71/7 79/8
         36/6 93/16 93/19
                                                     49/8 PSY.D [1] 44/19
        possibility [1] 92/5 probability [1]
                                probable   [1]   28/1       psyche [1] 38/12
        possible [1] 89/2
                                probably   [9]   5/5 5/8 psychiatrists [1]
        possibly [1] 67/6
                                 7/23 29/22 33/25 42/22 47/12
        post [3] 51/5 60/4
                                 74/5 85/7 95/2             psychological [10]
         79/6
                                probation   [11]    37/18    38/4 38/8 38/9 42/12
        posted [1] 79/9
                                 37/21  38/17   38/19        43/1 45/24 47/10 49/24
        potential [1] 51/4
                                 39/12 39/13 80/10           53/20 87/11
        potentially [1] 52/19
                                 80/10  81/3   91/1  93/9   psychologist  [4] 36/16
        practiced [1] 5/6
                                probation   in  [1]   38/19  55/1  80/7 84/24
        predator [1] 70/2

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        117FLSD Docket 01/31/2018 Page 117 of 125
        P                      range [3] 18/3 18/13 recommended [2] 43/3
                                51/10                        43/14
        psychologist's [1]
                               raping   [1]   29/17         record  [8] 11/1 12/6
         36/19
                               rate [1] 52/1                 21/21 26/9 34/1 55/5
        psychologists [3]
         47/12 84/25 85/19     rather   [1]   91/3           63/14 71/2
                               RAY  [8]   2/3 3/8 5/4       recorded  [2] 78/21
        psychology [2] 44/21
                                8/24 9/2 9/6 41/15           78/22
         44/24
                                53/19                       recording  [13] 11/14
        PTSD [2] 65/5 68/14
                               Ray's  [1]    9/22            12/4 13/7 13/24 14/10
        public [2] 1/18 91/15
        pull [5] 18/4 19/2     reach [1] 51/13               15/22 25/17 31/24
         21/17 24/7 87/22      reaches [1] 85/1              33/16 34/10 40/10
                               read  [17]    4/8  4/18       40/13 79/16
        pulling [3] 17/15 32/2
         68/13                  26/8  26/9   28/13  32/4    recover  [3] 10/21
                                57/10 63/22 72/5 72/12 23/11 38/10
        pulls [1] 31/5
                                72/16 72/17 77/19 78/2 recovered [6] 12/19
        punished [1] 84/2
                                78/11 86/1 86/12             15/22 17/22 23/15 38/1
        punishment [1] 90/15
        purpose [1] 48/25      Reader [1] 22/3               38/6
                               readily   [1]   81/9         recovery  [5] 9/17 9/18
        purposes [4] 4/15 11/1
                               reading   [2]   71/22         9/20 38/5 76/18
         12/6 14/14
                                72/19                       recuperation [1] 75/24
        pursuant [1] 92/24
                               ready [2] 6/1 76/6           red [2] 22/16 22/23
        pussy [4] 27/15 27/20
                               real  [3]    8/13 31/16      redeem [1] 77/8
         27/23 29/7
                                69/10                       redirect [3] 2/9 43/19
        putting [1] 73/25
                               reality [2] 81/12 90/7 62/1
        Q                      really [6] 18/23 29/6 reenter [1] 70/9
        qualifications [1]      29/20 51/10 59/18           refer [2] 26/15 26/16
         9/22                   65/24                       reference [4] 12/17
        qualified [2] 85/18    reason   [1]   30/5           14/11 14/24 29/18
         92/15                 reasonable    [2]   51/1     references  [1] 23/10
        question [6] 27/19      80/22                       refers [1] 65/7
         29/9 56/24 58/9 58/10 reasonableness     [1]       reflect [1] 88/19
         61/24                  94/13                       reflected [1] 50/14
        questioned [1] 73/23 reasons [2]       92/4   92/9  reflects [2] 12/7 46/1
        questions [5] 66/15    reassure [1] 65/20           regain [1] 69/17
         67/16 67/19 70/15     Rebecca   [1]   63/21        regard [4] 86/4 86/6
         71/21                 recall [3]     14/8  15/20    87/8 95/12
        quick [3] 8/14 31/16    43/5                        regarding [2] 45/23
         41/4                  receipt   [2]   79/17   95/6  94/14
        quicker [1] 46/15      receive   [1]   92/15        regardless  [1] 26/21
        quickly [1] 29/14      received [1] 42/25           regards [1] 47/24
        quirks [1] 73/19       receives   [1]    68/18      registration [1] 93/21
        quite [2] 4/8 84/11    recent   [2]   54/18   65/6  regular [1] 68/18
        quote [3] 17/18 32/14 recently [1] 64/9             rehabilitation [1]
         53/16                 recidivism    [4]   37/7      68/17
                                55/16 82/20 83/17           rehash [1] 86/17
        R                      recognize [2] 47/5           reintegration [1]
        R-A-Y [1] 9/6           83/8                         43/10
        R-T's [3] 13/14 14/1 recommend [5] 43/6             related [2] 47/18 69/8
         15/9                   85/14 92/15 94/24           relationship [2] 37/4
        raise [1] 63/11         95/11                        37/16
        raised [2] 74/6 89/5 recommendation [3]             release [15] 51/5
        ran [1] 69/2            3/14 82/18 95/5              51/18 84/15 84/16 85/4


                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        118FLSD Docket 01/31/2018 Page 118 of 125
        R                        23/20 96/8                          52/20 52/25 55/21
                                reports  [1] 4/11                    55/23 55/24 56/10
        release... [10] 86/8
                                representation   [2]                 56/11 56/12 57/22 58/3
         93/2 93/4 93/5 93/8
                                 21/19 22/11                         58/10 58/17 59/15
         93/10 93/14 94/7 94/14
         95/13                  represented   [1] 20/12              87/12
        released [8] 51/2       representing   [1] 21/4             risks [2] 57/3 60/20
                                                   44/22            RMR [2] 1/22 96/8
         52/16 67/9 84/17 85/6 represents [1]
                                request  [2]   45/18                robust [2] 51/11 51/12
         85/9 86/8 93/9
                                 70/22                              rods [2] 75/16 76/24
        relevance [1] 37/5
        relevant [1] 39/19      requested [1] 70/25                 role [2] 73/8 73/12
                                                87/4                roles [1] 74/21
        reliable [4] 48/9 48/9 required [2]
         49/7 62/3               87/19                              room [3] 30/22 79/9
                                rescued [1] 32/10                    96/9
        relied [1] 27/6
                                research [5] 51/10                  rooms [1] 79/7
        relieved [1] 69/5
                                 58/5 59/14 59/15 95/7              rope [1] 69/22
        rely [1] 53/16
                                researched  [1] 50/9                RT [11] 12/10 12/13
        relying [1] 37/2
                                               40/25                 13/6 14/15 15/7 15/18
        remain [2] 49/5 82/24 reserve [1]
                                reserves  [1]   3/22                 15/22 16/2 17/10 18/17
        remained [1] 74/8
                                reside  [1]   69/21                  32/12
        remarried [1] 74/17
                                residential [1] 49/22               run [1] 93/7
        remarry [1] 89/12
                                resolved [1] 34/3                   running [1] 68/23
        remember [1] 89/4
                                               48/19
        remind [3] 41/7 65/2 respond [2]                            S
         66/13                   83/10
                                responsibility [8]                  S-A-M-M-I-E [1] 17/20
        reminder [1] 41/9                                           S-A-M-M-Y [1] 17/19
                                 73/8 76/2 81/20 82/4
        reoffend [1] 52/1                                           sadism [1] 33/24
                                 86/24 87/2 87/7 88/9
        reoffended [1] 84/18                                        sadomasochist [1] 38/2
                                responsive [2] 52/22
        reoffending [4] 51/17                                       sadomasochistic [1]
                                 52/23
         58/13 60/7 85/5                                             34/3
                                responsiveness   [1]
        repetitive [1] 73/21                                        safety [1] 67/9
                                 52/21
        replacement [1] 76/17                                       said [21] 27/9 27/12
                                rest  [4] 31/8 66/12
        replied [23] 27/4                                            27/15 28/18 29/4 29/10
                                 82/24 90/8
         27/19 27/22 28/3 28/5                                       29/13 31/8 31/9 31/12
                                                    92/21
         28/9 28/10 28/25 29/2 restitution [2]                       31/14 32/18 41/20
                                 94/7
         29/8 29/12 29/15 29/20                                      54/14 55/2 67/2 67/8
         29/24 30/10 30/14      restrain  [2] 48/7
                                 48/24                               77/18 80/3 80/8 81/18
         30/21 30/22 30/24 31/7                                     sake [1] 50/22
         31/10 31/11 31/13      restriction [5] 93/16
                                 93/16 93/17 93/19                  salient [1] 51/12
        replies [4] 24/13                                           Sam [2] 14/4 26/25
                                 95/19
         26/19 27/8 30/12                                           Samantha [1] 42/18
                                              43/1
        report [41] 3/14 3/18 result [1]                            same [10] 22/4 30/14
                                reveal  [1]   54/13
         3/21 4/1 4/7 11/3 11/5                                      52/1 59/1 60/8 65/2
                                review  [3]   10/5 22/12
         16/6 25/15 26/7 26/10                                       73/22 73/22 80/12 92/2
         31/19 31/22 36/20       56/21
                                reviewed  [5] 3/20                  Sammie [6] 17/19 17/25
         36/21 37/3 46/1 46/4                                        18/11 29/6 30/3 36/22
                                 22/20 39/20 53/12
         46/7 50/14 50/16 51/21                                     Samsung [2] 14/22 22/1
         51/24 53/11 53/17       56/20
                                                   23/23            sat [1] 81/3
         54/10 54/13 57/8 57/11 right-hand [2]                      satisfactory [1] 48/22
                                 23/24
         58/22 59/24 60/1 60/23                                     save [1] 32/7
         61/4 61/8 61/14 61/15 rights [1] 64/9                      saw [4] 17/6 31/10
                                             45/18 50/5
         86/6 90/25 93/8 93/22 risk [24]                             68/25 69/1
                                 50/5  50/10  50/24 51/4
        REPORTED [1] 1/22                                           say [25] 12/14 14/4
                                 51/16  52/5  52/6 52/7
        reporter [3] 1/23                                            14/5 19/3 21/14 30/5

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        119FLSD Docket 01/31/2018 Page 119 of 125
        S                       SD [4] 10/9 10/10            94/6 94/9 94/11 94/13
                                 10/11  17/24                94/16 94/23
        say... [19] 33/1 39/9
                                seal  [3]   4/12 4/19       sentenced  [2] 66/11
         48/6 55/21 55/24 58/1
                                 6/18                        90/15
         58/3 58/4 60/20 64/4
         73/2 79/11 81/16 81/17 search  [1]    93/20        sentences  [1] 85/25
                                seat  [1]   87/23           sentencing  [9] 1/10
         82/6 86/20 86/21 88/3
         90/4                   seated [1] 3/2               3/3 3/25 11/6 16/8
                                second  [25]    12/9 12/12 25/25 78/11 86/4 92/19
        saying [14] 5/10 19/8
                                 12/12 13/4 13/13 13/25 sentencings [1] 57/11
         19/10 29/24 52/4 56/10
         56/11 56/17 60/12       15/6 15/17 16/11 16/16 separate [8] 14/18
         65/16 79/6 79/10 80/21 17/13 23/18 25/1 32/1 14/21 17/5 22/12 22/14
         82/17                   33/12 34/11 38/20 41/3 26/5 81/11 82/13
                                 51/12 61/23 70/3 72/23 separately [1] 71/3
        says [10] 26/22 26/23
                                 73/3 82/8 94/15            serious [6] 81/16 84/5
         30/19 53/11 53/18 55/5
                                seconds   [2]   24/23        87/14 87/15 87/15
         59/14 59/16 65/17
                                 31/16                       91/12
         95/14
                                                69/4        seriously [1] 92/5
        scared [5] 66/24 68/10 secrets [1]
                                section   [2]   55/5 92/24 served [2] 77/17 92/14
         68/21 68/22 68/24
        scarred [1] 69/13       Secured [1] 10/12           serves [1] 43/13
                                Security [1]     9/8        sessions [3] 68/18
        scary [2] 65/10 65/17
                                seeks [1] 78/4               85/18 85/18
        scheduled [1] 77/2
                                seems  [3]    53/22 81/4 set [2] 32/4 92/18
        school [1] 69/2
                                 86/25                      sets [1] 47/18
        score [12] 51/3 51/7
                                            34/15 35/5      settings [2] 19/1 19/3
         52/6 52/7 52/16 56/5 seen [4]
                                 35/9 79/19                 seven [3] 28/20 28/21
         56/6 57/1 58/18 59/1
                                seized  [1]    10/6          31/12
         60/8 62/13
                                Select [4] 14/21 26/1 several [6] 17/22
        scored [2] 52/6 81/25
                                 26/1 32/22                  21/25 22/9 30/21 30/25
        scoring [5] 57/18
         57/25 59/8 62/15 82/1  Self  [1]   48/12            57/20
        SCOTT [28] 1/6 3/4      Self-stimulation [1]        severe [3] 75/15 76/8
                                 48/12                       85/25
         45/15 72/4 72/20 72/23
                                selfish   [1]   88/11       sex [15] 15/7 32/15
         73/2 73/4 73/6 73/7
                                              4/13  17/8     45/18  49/7 50/10 54/21
         73/11 73/15 73/23 74/1 send [12]
                                 20/15 20/18 20/23           57/11 57/12 62/5 62/5
         74/9 74/19 74/21 75/3
                                 20/23 55/11 57/21 60/3 85/14 92/15 93/18
         75/5 75/25 76/2 76/5
         76/13 76/18 77/2 77/6 79/5 79/7 91/21               93/20 95/8
         77/21 92/10            sending [2] 21/13           sexual [28] 24/18
                                 30/21                       38/10 46/25 47/2 47/7
        Scott's [5] 74/18
                                sense  [3]    23/2 25/14     48/1 48/2 48/5 48/7
         75/19 76/1 76/4 77/15
                                 30/24                       48/14 49/5 49/9 49/12
        screaming [2] 68/11
                                sensibility    [1]   82/19 49/13 49/15 50/3 51/14
         68/13
        screen [8] 6/7 6/13     sent [17] 4/10 12/22         51/15 54/16 55/6 57/20
         6/13 7/19 17/4 19/18    12/23 17/10 21/9 24/25 62/11 79/16 82/9 85/12
         22/6 79/9               25/9 30/25 32/12 32/13 93/19 94/23 95/6
                                 78/22 78/23 79/2 79/9 sexually [6] 10/22
        screens [1] 6/12
                                 91/18 91/21 91/22           20/14 20/15 54/5 64/11
        screws [3] 75/16 75/17
         76/24                  sentence [26] 4/1 70/6 91/16
                                 80/19 80/22 80/22          sexy [1] 29/14
        scroll [3] 18/4 23/1
         24/15                   82/14  84/4   84/5  86/1   shall [7] 43/22 93/5
                                 86/11 86/18 87/1 87/9 93/8 93/10 93/11 93/12
        scrolled [1] 19/18
                                 87/13 87/14 87/15           93/13
        scrolling [2] 23/4
         23/13                   87/15  90/16   92/20  93/1 sheet  [1] 53/18


                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        120FLSD Docket 01/31/2018 Page 120 of 125
        S                        32/10 32/17                 source [1] 47/16
                                skip  [1]    33/17           sources [1] 53/11
        sheets [3] 16/15 17/4
                                Skype  [1]    28/6           SOUTHERN [1] 1/1
         19/4
                                sleeping [4] 28/20           speak [6] 33/2 41/8
        SHELLY [2] 2/14 71/18
                                 30/25   31/2  32/2           63/3 72/16 81/20 87/18
        sheriff [1] 9/12
                                Slow  [1]    40/19           speakers  [1] 40/7
        shoes [1] 24/19
        shopping [1] 75/22      slower [2] 14/23 24/1 speaking [2] 14/8
                                SM920T [1] 22/1               22/21
        short [2] 28/19 79/25
                                small  [2]    10/12 18/23 special [13] 2/3 3/8
        shortened [1] 71/1
        shot [3] 17/3 19/16     smart [2] 3/24 21/24          8/24 9/8 9/11 73/10
         79/9                   smooth [1] 6/1                73/18 74/17 92/23
                                smoothly   [1]    5/6         92/25 93/15 94/8 95/12
        show [26] 6/12 7/1
         10/24 11/4 14/17 16/5  social   [1]   30/7          specialized  [1] 9/13
                                                 70/9 80/18 specific [2] 17/9 66/3
         18/2 18/3 18/5 18/14 society [2]
                                software   [3]    11/8       specifically [2] 43/9
         18/24 23/12 23/16 25/5
                                 21/19 22/3                   90/19
         25/8 27/15 27/24 27/25
                                             76/2            speculative [1] 42/6
         28/1 29/16 33/6 33/9 sole [1]
                                solely   [1]   13/15         spell [4] 8/25 9/5
         33/20 33/24 35/14
                                solicited    [1]   91/20      14/23 23/20
         39/18
                                some [29]     4/17  5/7      spent [1] 59/17
        showed [1] 27/20
                                 5/21 10/10 10/24 12/23 spinal [1] 76/23
        showing [5] 8/5 8/6
                                 17/24 20/23 22/7 23/9 spine [4] 75/15 75/16
         8/9 32/6 73/9
                                 24/19 24/19 25/23 30/5 75/17 76/25
        shows [2] 21/18 87/12
                                 43/11 49/18 51/2 52/25 spoke [1] 25/14
        side [9] 22/8 22/17
                                 58/6 59/15 68/9 77/18 spoken [1] 6/24
         22/17 23/24 23/25 25/5
                                 77/20 84/4 85/12 87/7 spot [1] 28/15
         25/5 77/11 90/3
                                 89/23 90/1 95/7             ST [19] 14/12 16/5
        sidebar [4] 6/6 7/15
                                somebody   [2]    59/18       16/11 16/16 16/18
         7/19 7/20
                                 85/5                         16/21 17/5 17/9 17/9
        signed [1] 64/9
                                                 6/6 6/6      17/10 17/14 18/17
        significant [1] 51/14 somehow [4]
                                 79/23 80/13                  38/24 40/2 40/2 40/18
        significantly [1] 56/7
                                someone   [4]    49/2 73/18 42/20 43/10 45/21
        similar [5] 38/20
                                 74/4 89/24                  ST's [2] 19/17 36/6
         51/20 51/22 51/25
         54/24                  something [15] 5/10          stand [6] 41/2 41/11
                                 6/11 17/18 20/16 22/21 63/10 86/19 88/8 90/13
        since [12] 4/19 9/10
         26/12 32/9 64/22 65/4 28/18 71/22 78/16             standard [6] 47/11
                                 83/15 83/15 83/16            50/1 50/5 62/5 62/7
         74/19 76/11 77/2 77/14
         89/22 92/17             83/19   83/24   84/7  86/5   93/14
                                sometimes    [1]   30/5      standardization  [1]
        single [2] 64/10 85/18
                                                  39/19       51/20
        sister [3] 67/12 69/11 somewhat [1]
                                son  [9]   72/20 72/22       standards  [1] 50/4
         70/7
                                 72/23 72/24 77/8 77/13 standing [2] 25/3
        sit [3] 7/25 82/6
         87/25                   77/20 77/21 88/13            84/22
                                sorry  [14]    9/21   13/2   start  [4] 5/20 27/17
        situation [3] 76/12
                                 13/22 13/23 14/23 24/2 27/19 29/6
         81/21 86/7
                                 42/20 60/25 63/1 77/11 started [4] 74/10 75/5
        situations [2] 83/9
                                 84/20 88/17 90/5 90/18 75/14 76/7
         85/21
        six [11] 29/19 29/19    sort  [4] 21/18 21/18 starting [4] 15/14
         31/21 31/22 31/22       80/17   82/13                15/16 37/24 54/5
                                              8/13 82/14 starts [5] 26/15 26/17
         32/10 32/17 39/9 64/13 sound [3]
         66/9 76/18              86/5                         28/14 31/5 33/12
                                sounds   [2]   60/11   73/19 stashed  [1] 78/22
        six-year-old [3] 29/19

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        121FLSD Docket 01/31/2018 Page 121 of 125
        S                       structural [1] 86/5        sympathize [1] 81/11
                                stuck  [1]   90/3          system [4] 6/9 55/9
        state [8] 37/6 39/14
                                studied  [1]   84/25        79/22 80/20
         42/10 45/7 45/24 63/13
                                studies [1] 85/1
         68/1 91/24
                                study [1] 84/11
                                                           T
        statement [4] 4/1
         63/22 68/4 72/5        stuff [13] 10/9 11/20 T's [3] 13/14 14/1
                                 19/5 19/9 20/19 30/14 15/9
        statements [1] 54/15
                                 35/24 60/3 79/5 79/15 T-I [1] 27/24
        STATES [7] 1/1 1/3                                 T999 [1] 21/20
                                 80/9 80/11 80/12
         1/11 3/3 3/7 95/9 96/9                            table [2] 7/13 7/13
                                               85/8  94/13
        static [14] 50/8 50/11 subject [2]                 tablet [1] 25/3
         50/18 51/1 51/4 51/7 submit [1] 72/9              tablet-type [1] 25/3
         57/1 57/18 59/8 60/8 substance [1] 93/12          take [15] 5/16 28/23
         62/3 62/13 62/15 84/11 subtract [1] 58/25          34/23 41/1 41/11 57/25
                                succeed [1] 20/18
        Static-99 [1] 84/11                                 63/9 68/22 75/20 88/18
                                successful [1] 48/3
        Static-99R [8] 50/8                                 89/22 89/23 89/25 90/7
                                           19/15 69/5
         50/11 50/18 51/1 51/4 such [4]                     92/5
                                 86/22 93/7
         51/7 62/3 62/13                                   taken  [4] 9/20 64/3
                                suck [1] 27/4
        statistical [3] 47/3                                66/4 73/8
         47/5 47/9              sucks [1] 26/17
                                suffer [2]    65/14  90/8  takes  [3] 21/21 75/2
        statutory [1] 91/11                                 83/4
                                suffered [3] 69/12
        stayed [2] 74/15 76/7                              taking [2] 75/23 88/9
                                 70/8 90/7
        steady [1] 76/21                                   talk [3] 14/23 24/1
        stenosis [2] 75/15      suffering [4] 46/18
                                 46/21 47/15 48/23          30/3
         76/23
                                suffers [5] 83/8 83/14 talking [9] 23/2 24/6
        stepdad [1] 89/16                                   25/13 25/19 55/25 56/2
                                 83/16 83/23 84/7
        stepfather [1] 74/18
                                suggest [4] 7/15 81/12 56/4 57/15 58/11
        stepped [1] 45/11                                  talks [1] 54/19
                                 82/21 94/22
        still [12] 7/12 17/3                               tasks [1] 66/6
         19/13 19/15 27/1 29/22 suggested [1] 83/1         taught [1] 64/22
         37/18 38/25 59/11      suicidal [2] 41/20
                                 42/3                      teach [1] 64/20
         59/13 74/16 94/24                                 teaching [1] 73/9
                                               22/7
        stimulation [1] 48/12 summary [1]                  telephone [1] 61/22
                                supervised [10]     85/4
        stipulate [1] 9/21                                 telephonically [1]
                                 85/8 86/8 93/2 93/5
        stipulates [1] 44/20
                                 93/10 93/14 94/7 94/14 44/9
        stirs [1] 31/6                                     tell [13] 5/25 8/24
                                 95/13
        stole [1] 69/18                                     9/5 15/21 40/16 51/19
        stomach [1] 17/15       support [1] 3/25
                                supposed [2] 70/1           56/17 60/11 60/13
        stop [4] 19/3 33/20                                 65/16 66/17 66/20
                                 89/22
         80/4 91/23                                         82/16
        stopped [1] 80/3        suppress [1] 3/23
                                sure [10] 8/23 34/17       telling  [7] 27/1 40/17
        stops [1] 31/6                                      51/12 58/20 59/2 65/6
                                 35/3 35/20 44/3 45/8
        storage [1] 10/13
                                 46/24 51/19 86/5 87/19 85/7
        stores [1] 68/22                                   tells [1] 58/5
                                               75/16
        stories [4] 65/6 65/7 surgery [7]                  ten [10] 21/10 24/13
                                 75/18 75/18 75/24
         65/10 65/12                                        25/2 28/21 28/23 51/10
                                 76/17  76/24  77/1
        storing [1] 33/3                                    62/10 66/16 75/25
        stranger [3] 57/14      surrounding [1] 19/4
                                suspect [1] 12/17           78/16
         58/22 60/16                                       ten-year-old [1] 28/23
                                suspended [1] 34/12
        Street [2] 1/23 96/9                               tension [1] 65/14
        strike [1] 42/22        Sustained [1] 42/6
                                SWORN [4] 9/2 44/19        term [4] 81/5 92/12
        strings [1] 81/15                                   93/5 93/6
                                 63/12 67/25
        strong [1] 81/10                                   terms [12] 4/25 47/12

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        122FLSD Docket 01/31/2018 Page 122 of 125
        T                        90/20                       91/18 92/2
                                they're  [1]    57/10       times  [5] 5/6 20/18
        terms... [10] 49/19
                                thick  [1]   90/3            65/15 76/20 77/14
         50/5 50/10 56/6 58/23
         59/14 62/11 66/10      thin [1] 90/3               title [2] 24/22 93/23
         77/16 93/7             thing  [4]   7/10  39/18    titled [7] 18/20 19/15
                                 67/10 81/24                 22/2 22/4 24/5 26/7
        terrible [3] 69/5
         81/17 84/2             things [23] 6/21 22/9 36/25
                                 24/20 28/22 47/18          today [7] 35/6 66/10
        terribly [1] 69/24
                                 48/17 51/24 52/22           88/5 88/8 90/2 90/9
        terrors [1] 68/11
                                 53/16  55/13   60/18  61/3  90/13
        test [6] 8/13 50/11
         50/18 62/4 62/9 84/12 61/3 66/2 66/12 67/2 toddler [1] 34/12
                                 73/9 76/5 78/18 79/19 toddlers [1] 35/15
        testified [1] 83/6
                                 81/17 86/8 93/2            together [3] 29/21
        testify [3] 44/14
         61/21 87/4             think [39] 4/12 4/16         64/13 74/9
                                 4/18 5/5 5/8 5/9 5/12 told [14] 4/22 40/17
        testimony [3] 5/4
                                 8/6 8/8 18/7 18/23          56/23 57/19 58/14
         48/21 53/8
                                 21/16 28/12 28/13 34/3 59/20 60/14 60/15
        testing [2] 8/20 72/25
                                 39/18 42/22 43/24 67/6 60/16 60/17 60/22 61/7
        text [2] 5/25 41/4
                                 78/14 79/25 80/8 82/5 61/10 69/22
        than [11] 49/18 51/11
         66/25 78/13 82/21 90/7 82/12 83/6 83/12 83/23 too [10] 8/1 14/4
                                 84/5 84/9 84/19 86/3        26/17 29/5 29/8 29/11
         90/12 90/12 90/16
                                 86/8 86/19 86/21 87/7 65/17 66/1 67/13 74/18
         90/17 91/3
                                 87/12 91/1 91/3 95/22 took [6] 18/9 43/7
        that [476]
                                                 5/7 32/19 73/11 75/18 79/9 89/15
        their [19] 47/25 48/1 thinking [3]
                                 64/4                       tool [1] 50/6
         48/5 49/6 52/23 59/21
                                thinks  [2]   65/11 73/20 tools [2] 50/5 84/10
         60/4 67/13 73/7 74/8
                                                 16/14      top [2] 31/5 32/2
         74/15 79/3 82/23 82/25 Thirteen [1]
                                Thirty  [1]   17/13         topic [1] 46/14
         85/19 89/7 89/9 89/17
         95/22                  thought  [5]    69/1  73/14 torn [1] 88/2
                                 73/24 86/22 89/2           total [1] 94/6
        themselves [4] 20/12
                                threat  [4]   36/22 41/18 totally [1] 49/21
         21/5 48/14 48/19
                                 42/16 92/2                 touch [4] 14/4 50/7
        Theoretically [1]
                                threaten [1]     60/2        59/19 95/21
         95/15
                                threatened [1] 79/6         touched [2] 29/22 50/7
        therapy [5] 65/4 65/22
                                three  [6]   27/17 51/8 touching [2] 13/10
         68/16 68/18 77/11
                                 57/24 57/25 58/4 58/25 13/16
        there [115]
        There's [1] 14/21       throughout [4] 37/13 towards [2] 50/21 69/8
                                 65/24 75/2 95/8            track [1] 84/6
        they [55] 5/9 15/14
                                thumbnail   [1]   18/16     trade [2] 59/22 59/22
         18/10 18/22 21/1 21/2
         21/8 21/9 21/9 21/9    thumbnails [3] 18/14 traded [2] 30/13 78/25
                                 19/19 19/20                TRADER [64] 1/6 2/14
         21/11 23/14 34/18 35/7
                                time  [43]   4/17 5/21       3/4 3/11 3/19 5/18
         47/25 48/8 48/10 48/11
         48/13 48/17 49/3 49/6 14/7 23/14 27/9 28/17 11/6 12/13 12/19 12/20
         49/18 49/18 49/21       30/17 32/7 37/19 38/20 13/11 13/14 15/7 15/18
                                 44/1 44/14 46/6 50/25 16/7 16/12 16/14 17/15
         59/17 59/17 59/22 60/3
         60/5 60/18 61/8 62/10 51/15 52/9 52/14 55/15 18/1 20/21 20/21 21/24
                                 59/17 64/4 64/7 65/2        22/25 24/11 26/16
         65/17 67/13 67/13
                                 69/7 69/15 70/12 73/15 36/22 40/5 40/17 41/17
         73/11 74/12 75/21
         78/25 79/5 79/8 80/18 74/2 74/11 74/11 74/12 42/15 42/25 43/11
                                 74/14 74/25 75/13           43/16 45/15 45/19
         80/18 81/18 83/4 83/10
         85/19 85/20 85/21       75/25  76/1  77/12   77/17  45/20 45/23 46/18
         85/22 90/2 90/3 90/4    77/22  79/24   85/7  87/6   47/14 50/11 50/18


                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        123FLSD Docket 01/31/2018 Page 123 of 125
        T                        66/25                       81/21 83/11 88/22 89/1
                                truth  [2]    66/21  88/8    95/23
        TRADER... [23] 63/21
                                try  [1]   6/10             understanding  [5]
         64/9 68/6 68/8 68/17
                                               20/16 56/13 35/21 36/3 64/19 69/15
         68/21 69/8 69/24 71/18 trying [5]
         77/23 81/19 82/1 82/6   56/20   64/20  69/6         85/16
                                tugging   [1]   81/15       understands  [1] 73/21
         83/14 85/6 85/11 86/16
         86/23 87/18 91/16      turn [5] 5/23 7/17          underwear [2] 17/15
                                 7/23 8/9 16/20              19/4
         92/11 94/16 95/17
                                turned   [2]   8/16 27/17 undressing [1] 33/13
        Trader's [11] 3/22
         5/17 12/10 13/6 13/16 turning [1] 25/4             unemotional [1] 82/14
         14/1 36/21 43/10 69/16 Twelve [1] 16/9             unfairly [1] 81/25
         72/4 85/15             Twenty   [3]   13/1  13/3   unforgivable [1] 69/18
                                 13/13                      unfortunate [1] 87/25
        trading [2] 12/20 21/3
                                Twenty-one [2] 13/1         unimaginable [1] 89/1
        trafficked [1] 23/7
                                 13/13                      unimaginably [1] 80/14
        tragedy [1] 69/6
                                twice  [2]    65/23 86/22 uniquely [1] 15/16
        tragic [1] 69/24
                                                  77/14     unit [1] 40/18
        training [4] 9/13 9/17 twilight [1]
                                two  [38]    5/8 5/9 10/22 united [8] 1/1 1/3
         9/18 9/20
                                 12/8 14/16 15/5 22/24 1/11 3/3 3/7 74/16
        transcript [6] 1/10
         12/7 12/7 14/14 42/23 25/23 26/4 26/8 28/12 95/8 96/9
                                 41/8 44/1 54/2 54/6        unity [1] 76/14
         86/2
                                 56/13 57/16 60/17 61/7 unlawful [1] 48/20
        transcription [1] 96/5
                                 61/10 61/11 61/25          unless [3] 5/23 71/20
        transferred [1] 67/7
                                 64/14 64/22 66/15           73/17
        transition [1] 6/1
                                 71/10 72/23 73/1 75/1 unlikely [2] 83/3
        transmitted [3] 20/21
                                 75/6 75/16 75/21 75/21 92/20
         20/22 24/23
                                 78/15 85/16 89/3 91/4 unquote [1] 17/19
        traumatize [1] 70/10
                                 91/17                      unrelated [3] 51/23
        traumatized [1] 65/11
                                two-year   [1]    85/16      57/13 58/22
        traumatizing [1] 79/12
                                                      91/17 until [3] 50/24 68/20
        Treasury [2] 9/16 9/19 two-year-old [1]
                                type  [1]    25/3            77/6
        treat [4] 49/13 49/15
                                typed  [2]    26/23 29/16 up [42] 5/25 7/9 8/5
         81/22 81/22
                                types [2] 51/24 57/2         8/6 8/9 11/7 11/9 18/4
        treated [1] 84/7
                                                             18/11 19/2 19/16 21/17
        treatment [26] 42/25 U
                                                             21/22 21/24 22/5 22/6
         43/3 48/3 48/3 48/17 U.S [3] 1/15 1/18
         48/22 48/25 49/7 49/10 92/24                        22/6 22/10 23/23 24/7
                                                             24/25 29/14 33/12 48/1
         49/12 49/13 50/3 52/21 UFED [1] 22/2
         52/22 52/23 62/6 83/7 unavailable [1] 5/23          57/6 58/24 59/1 65/12
                                                             65/15 65/25 68/11
         85/9 85/12 85/17 86/7 unbeknownst [1] 55/8
                                                             68/20 70/4 71/21 73/7
         92/16 93/17 93/19      under [21] 4/12 4/19         73/17 79/13 82/1 82/14
         94/23 95/6              6/18 21/5 34/2 36/25        84/22 85/17 89/3
        treatments [2] 47/22     44/17 54/18 55/5 55/17 upon [2] 53/16 93/4
         47/24                   56/5 57/4 57/15 61/4 upset [1] 42/2
        trial [2] 86/25 87/4     63/4 64/13 71/19 80/18 us [28] 8/24 9/5 11/4
        trigger [1] 66/2         81/23 81/25 86/13           14/17 16/5 18/2 18/3
        trouble [1] 76/15       underage [1] 22/21           23/12 23/16 25/8 25/23
        truck [2] 75/11 76/6 undergone [1] 68/16
                                                             32/6 33/6 33/9 33/20
        truly [3] 70/9 88/17 underscore [1] 19/16
         90/18                                               33/24 35/14 40/16
                                understand [16] 34/21 45/12 58/5 59/2 76/7
        trust [4] 65/18 66/22 37/12 43/16 53/23
         84/24 84/25                                         76/10 76/11 76/19
                                 56/14 56/20 58/12           77/12 77/13 95/9
        trusted [2] 66/23        64/23 65/1 65/10 74/4

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        124FLSD Docket 01/31/2018 Page 124 of 125
        U                        12/12 12/13 13/3 13/4 28/13 28/19 29/8 30/4
                                 13/7 13/13 13/14 13/24 31/14 31/16 33/20
        use [4] 6/9 10/18
                                 13/25 14/10 14/15 15/6 33/24 34/20 34/24 35/1
         32/16 49/25
                                 15/17 15/24 16/10            35/19 39/18 40/8 41/1
        used [6] 14/25 22/3
         50/1 50/9 56/18 70/2    16/11   16/14   16/14        41/7 41/8 44/16 46/12
                                 16/16 16/18 17/6 17/13 53/23 53/23 57/6 58/9
        user [2] 18/1 23/19
                                 17/14 19/8 24/21 24/22 63/4 65/1 65/19 66/20
        using [6] 11/8 14/2
                                 24/22 24/24 24/24 25/1 67/10 71/19 72/15 78/1
         20/7 20/7 20/10 47/14
                                 25/1 25/9 25/9 25/13         78/7 78/12 83/11 87/19
        usually [3] 27/13
         78/14 78/15             25/16   25/17   25/21        94/24
                                 30/21 30/25 31/1 31/16 wanted [8] 7/24 26/9
        V                        31/18 31/24 32/1 33/11 32/14 32/15 32/16 64/4
        V-A-R-N-E-R [1] 63/2     33/12 33/16 33/18            86/4 90/11
        vagina [8] 15/9 17/16 33/21 34/9 34/10 34/11 wanting [1] 24/18
         17/17 19/17 25/6 25/7 34/16 35/3 79/20              wants [2] 44/5 95/17
         33/18 34/14            videos   [12]    12/8  15/2  was [165]
        vaginal [1] 15/19        16/21 17/1 17/9 17/10 wasn't [7] 19/7 23/11
        vaginas [1] 19/21        21/8 32/12 34/2 35/5         35/1 40/15 55/4 60/25
        value [1] 22/21          47/18   54/19                75/3
        van [1] 68/25           Vids [2]     15/2  15/3      watch [4] 7/9 34/20
        VARNER [6] 2/10 63/2 view [7] 18/6 18/8               88/1 89/19
         63/3 63/12 63/15 67/21  22/9  22/11   24/7   24/21  watching   [2] 29/25
        version [2] 24/8 71/2    82/23                        30/12
        versus [1] 3/4          viewed [1] 11/20             way [16] 6/6 20/14
        vertebrae [1] 76/25     violation    [1]   61/12      24/15 27/1 29/3 48/11
        very [22] 15/15 41/6    violence   [5]    57/13       48/19 66/17 73/12
         47/1 48/3 50/24 54/13 57/13 60/15 61/7 61/10 73/21 73/22 74/10
         62/19 62/24 69/4 69/21 violent [1] 62/11             75/10 83/16 83/22
         72/20 77/4 77/6 78/9   virtually    [1]   74/6       88/17
         79/25 83/23 84/5 85/23 visible [3] 17/3 25/7 ways [4] 48/11 48/14
         85/25 86/16 87/14       75/12                        68/9 73/20
         91/17                  visual   [3]   21/17   21/18 WD [2] 18/10 18/21
        victim [29] 4/1 4/2      22/11                       we [111]
         4/2 12/13 13/6 13/14   voice  [1]    11/21          We'll [1] 34/8
         13/15 14/1 14/12 14/15 volume   [2]   34/22   79/15 we're [2] 28/17 28/20
         15/18 16/2 16/4 16/16 W                             wear [1] 74/23
         17/5 19/7 25/11 32/17                               week [5] 29/17 65/4
                                wait  [3]    29/15 29/16      65/23 65/24 91/2
         36/6 40/2 48/16 52/12
                                 61/23                       weekend  [2] 28/20
         52/13 64/5 64/7 64/8
         78/15 82/9 95/18       waived   [1]   86/24          30/19
                                waiver   [1]   94/19         weighs  [1] 83/13
        victims [27] 19/10
                                wakes  [1]    68/11          weird  [2]   30/15 40/9
         50/22 51/24 52/15
         57/13 57/14 57/14 58/7 Wal  [1]   75/9              well-researched [1]
                                Wal-Mart   [1]    75/9        50/9
         58/15 58/21 58/22
         58/22 58/23 59/3 60/3  walk  [2]    76/19  76/20    wellbeings   [1] 64/16
         60/14 60/16 64/6 78/16 walking   [1]    76/16       went [6]    73/14 74/25
                                Walsh  [1]    93/20           78/20 80/4 86/1 86/9
         78/16 79/10 80/24 82/3
         92/9 95/15 95/16 95/20 want  [58]    4/16  5/21     weren't  [2] 53/25
                                 5/21  6/12   6/17  6/18      81/17
        victims' [3] 5/9 92/17
                                 6/21 7/21 7/22 7/25         WEST [6] 1/5 1/16 1/19
         92/18
                                 8/17  14/4   18/6  18/22     1/24 44/13 96/10
        video [61] 11/13 11/14
                                 23/1 25/8 25/22 27/2 what's [2] 12/8 54/22
         12/3 12/4 12/9 12/9
                                 27/6 27/15 27/25 28/1

                                                  12/7/17
Case 2:17-cr-14047-DMM
       USA vs. SCOTT JOSEPH TRADER Document 56 Entered on
                                                        125FLSD Docket 01/31/2018 Page 125 of 125
        W                        74/10 74/10 75/5        56/6 58/25
                                works [1]  51/19        youth [1] 93/18
        whatever [1] 44/21
                                world [2]  65/21 90/21
        wheat [1] 82/13
                                worse [4] 90/12 90/12
                                                        Z
        wheel [1] 8/9                                   zero [4] 51/3 51/6
                                 90/16 90/17
        wheels [1] 8/10                                  52/15 59/1
                                              29/2
        Whenever [2] 27/2 27/9 wouldn't [4]
                                 55/20 59/8 90/9
        whether [2] 85/5 90/14
                                writing [2] 68/4 72/19
        whichever [1] 18/7
                                wrong [1]  15/21
        while [20] 13/5 21/22
         28/7 29/10 30/13 38/14 X
         39/2 52/18 55/7 55/11 X6 [1] 22/1
         55/17 68/13 69/2 79/21
         80/5 88/6 89/4 91/24 Y
         91/25 93/10            y'all's [1] 62/24
        whole [4] 48/25 53/25 yeah [4] 14/18 29/13
         75/25 78/12             31/12 33/15
        why [6] 7/17 26/8       year [19] 28/23 29/19
         29/20 41/10 64/23       32/8 32/10 32/17 36/11
         90/13                   39/3 52/1 54/20 56/2
        wife [4] 88/14 89/11     63/21 64/11 64/19
         89/11 92/8              75/16 76/17 84/19
        wired [3] 83/17 83/20 85/16 91/17 91/17
         83/22                  Year's [1] 89/19
        wise [1] 69/21          years [44] 21/7 21/9
        wish [5] 87/18 88/13     21/10 21/10 24/13 25/2
         88/14 88/15 88/18       51/4 51/10 51/18 51/22
        withhold [3] 36/8        54/6 57/16 57/20 60/17
         79/24 79/25             64/5 64/13 64/22 66/16
        within [7] 11/5 75/1     66/16 66/25 67/1 68/5
         75/19 84/12 93/7 94/17 72/22 72/23 73/1 73/7
         94/18                   73/14 74/5 75/1 75/5
        without [5] 32/6 70/4 75/10 77/14 78/24 81/1
         88/8 89/4 89/10         81/2 81/5 85/2 85/6
        witnesses [4] 2/2 5/1 86/18 87/10 87/13
         5/9 44/1                89/12 90/15 90/15
        woman [7] 26/12 32/6 yellow [2] 22/16 22/18
         32/9 34/13 59/21 89/11 yep [1] 31/11
         89/13                  yes [115]
        woman's [2] 29/18       yet [1] 92/17
         32/16                  York [5] 74/11 74/15
        won't [9] 7/18 26/25     75/20 76/2 76/5
         30/6 65/16 66/20 80/23 you [360]
         86/17 89/17 89/19      you'd [1] 58/6
        word [1] 14/24          you'll [1] 32/7
        words [4] 49/1 69/10 you're [2] 11/20 30/19
         83/7 88/3              young [7] 21/1 21/6
        work [9] 7/18 66/1       21/8 57/14 65/3 78/23
         66/3 74/12 75/7 75/12 91/17
         75/12 75/22 76/13      younger [1] 12/10
        worked [6] 75/6 75/7 youngest [2] 21/7 89/4
         75/9 75/10 75/10 76/12 yours [1] 7/18
        working [5] 65/19 74/9 yourself [3] 10/16

                                                  12/7/17
